EXHIBIT 3

(New Secured Notes Indenture)1

 

1 The Debtors expressly reserve the right to supplement, modify or amend this document at any time prior to the
Effective Date.

DRAFT
SUB.]ECT TO CHANGE

EXHIBIT 3

 

NEENAH FOUNDRY COMPANY,
as lssuer,
THE GUARANTORS PARTY HERETO,
as Guarantors,
and
WILMINGTON TRUST COMPANY,

as Trustee and Collateral Agent

 

INDENTURE

Dated as of| |, 2010

 

15% Senior Secured Notes due 2015

 

 

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INDENTURE, dated as of | |, 2010, by and among NEENAH FOUNDRY
COMPANY, a Delaware corporation (the “Company”), the guarantors party hereto and
WILMINGTON TRUST COMPANY, as trustee (the “Trustee”) and collateral agent.

RECITALS

WHEREAS, the Company has duly authorized the execution and delivery of this
Indenture to provide for the issuance of` up to 850,000,000 aggregate principal amount (plus any
amounts in respect of PIK Interest) of the Company’s 15% Senior Secured Notes due 2015.

WHEREAS, all things necessary to make this Indenture a valid and legally binding
agreement of the Company, in accordance With its terms, have been done, and the Company has
done all things necessary to make the Notes,_ When executed by the Company and authenticated
and delivered by the Trustee and duly issued by the Company, the valid and legally binding
obligations of the Company as hereinafter provided.

WHEREAS, the Guarantors party hereto have duly authorized the execution and delivery
of this Indenture as guarantors of the Notes.

WHEREAS, all things necessary to make this Indenture a valid agreement of each
Guarantor, in accordance With its tenns, have been done, and each Guarantor has done all things
necessary to make the Note Guaranties, When the Notes are executed by the Company and
authenticated and delivered by the Trustee and duly issued by the Company, the valid and legally
binding obligations of such Guarantor as hereinafter provided.

WHEREAS, this Indenture is subject to, and Will be governed by7 the provisions of the
Trust Indenture Act that are required to be a part of and govern indentures qualified under the
Trust Indenture Act.

WITNESSETH

Each party agrees as follows for the benefit of the other parties and for the equal and
ratable benefit of the Holders (as defined below) of the Notes:

ARTICLE 1
DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01. De/I`.m`tz`ons.

“Acquired Debt” means Debt of a Person existing at the time such Person merges With
or into or becomes a Restricted Subsidiary and not Incun'ed in connection With, or in
contemplation of, the Person merging With or into or becoming a Restricted Subsidiary.

“Act” has the meaning assigned to such term in Section 1.03.

“Afiiliate” means, With respect to any Person, any other Person directly or indirectly
controlling, controlled by, or under direct or indirect common control With, Such Person. For
purposes of this definition, c‘oontrol” (including, With correlative meanings, the terms

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“controlling, controlled by” and “under common control with”) with respect to any Person,
means the possession, directly or indirectly, of the power to direct or cause the direction of the
management and policies of such Person, whether through the ownership of voting securities, by
contract or otherwise

“Agent” means any Registrar, Paying Agent, Collateral Agent or Authenticating Agent.
“Agent Member” means a member of, or a participant in, the Depositary.

“Asset Sale” means any sale, lease, transfer or other disposition (including a Sale and
Leaseback Transaction) of any assets by the Company or any Restricted Subsidiary, including by
means of a merger, consolidation or similar transaction and including any sale or issuance of the
Equity Interests of any Restricted Subsidiary (each of the above referred to as a “disposition”),
provided that the following are not included in the definition of “Asset Sale”:

(1) a disposition to the Company or a Restricted Subsidiary, including the sale or
issuance by the Company or any Restricted Subsidiary of any Equity Interests of any
Restricted Subsidiary to the Company or any Restricted Subsidiary (or, in the case of any
Collateral, only to the Company or a Guarantor, and provided that such Collateral shall
continue to comprise Collateral subject to the Security Docurnents on terms substantially
no less favorable to the holders of the Notes than those in existence immediately prior to
such transfer);

(2) the disposition by the Company or any Restricted Subsidiary in the ordinary
course of business of (i) cash and cash management investments, (ii) inventory and other
assets acquired and held for resale in the ordinary course of business, (iii) darnaged, worn
out or obsolete assets, or (iv) rights granted to others pursuant to leases or licenses;

(3) the sale or discount of accounts receivable arising in the ordinary course of
business in connection with the compromise or collection thereof;

(4) a transaction covered by Section 5.01;
(5) a Restricted Payment permitted under Section 4.07 or a Pennitted Investment;

(6) the grant in the ordinary course of business of any license of patents,
trademarks, registrations therefor and other similar intellectual property;

(7) the issuance of Disqualified or Preferred Stock pursuant to Section 4.06;

(8) the granting of a Lien, other than in connection with a Sale and Leaseback
Transaction, if the Lien is granted in compliance with Section 4.08; and

(9) dispositions of assets in one transaction or a series of related transactions with
an aggregate fair market value of less than $2.5 million.

“Attributable Debt” means, in respect of a Sale and Leaseback Transaction the present
value, discounted at the interest rate implicit in the Sale and Leaseback Transaction, of the total

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obligations of the lessee for rental payments during the remaining term of the lease in the Sale
and Leaseback Transaction.

“Authenticating Agent” refers to a Person engaged to authenticate the Notes in the stead
of the Trustee.

“Average Life” means, with respect to any Debt, the quotient obtained by dividing (i) the
sum of the products of (x) the number of years from the date of determination to the dates of
each successive scheduled principal payment of such Debt and (y) the amount of such principal
payment by (ii) the sum of all Such principal payments.

“Bank Obligations” means (i) all Obligations under the Credit Agreements and (ii) the
Cash Management Obligations and all Obligations under the Hedging Agreements, in each case
(a) owed to the agents and the lenders under the Credit Agreement and their Affiliates and (b)
but excluding any such obligations that are not permitted under this Indenture to be secured with
Liens on the Collateral.

“bankruptcy default” has the meaning assigned to such term in Section 6.01.
“Board of Directors” rneans:
(1) with respect to a corporation, the board of directors of the corporation;

(2) with respect to a partnership, the board of directors of the general partner of
the partnership; and

(3) with respect to any other Person, the board or committee of such Person
serving a similar function. Unless the context otherwise provides, “Board of Directors”
refers to the Board of Directors of the Company.

c‘Board Resolution” means a resolution duly adopted by the Board of Directors which is
certified by the Secretary or an Assistant Secretary of the Company and remains in full force and
effect as of the date of its certification

“Borrowing Base Amount” means, as to the Company and its Restricted Subsidiaries,
the sum of (x) 75% of the value of Inventory plus (y) 85% of the value of Receivables plus (z)
70% of the value of Patterns, in each case as reflected in the most recent quarterly consolidated
financial statements delivered pursuant to Section 4.17 (as determined on a pro forma basis after
giving effect to any Asset Sale or acquisition of any business or assets or the designation of a
Restricted Subsidiary as an Unrestricted Subsidiary occurring after the date of Such quarterly
consolidated financial statements).

“Business Day” means any day except a Saturday, Sunday or other day on which
commercial banks in New York City or in the city where the Corporate Trust Office of the
Trustee is located are authorized or required by law, regulation or executive order to remain
closed.

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“Capital Lease” means, with respect to any Person, any lease of any property which, in
conformity with GAAP, is required to be capitalized on the balance sheet of such Person.

“Capital Stock” means, with respect to any Person, any and all shares of stock of a
corporation, partnership interests or other equivalent interests (however designated, whether
voting or non-voting) in such Person’s equity, entitling the holder to receive a share of the profits
and losses, or a distribution of assets, after liabilities, of such Person.

“Cash Collateral Account” means the account established under a security agreement,
dated the Issue Date, among the Company, the Collateral Agent, and the Guarantors party
thereto, to hold proceeds of Collater‘al, which account is secured by a Lien (subject to the
Intercreditor Agreement) for the benefit of the Noteholders.

“Cash Equivalents’.’ means

(1) United States dollars, or money in other currencies received in the
ordinary course of business,

(2) U.S. Govemment Obligations or certificates representing an ownership
interest in U.S. Government Obligations with maturities not exceeding one year from the
date of acquisition,

(3) (i) demand deposits, (ii) time deposits and certificates of deposit with
maturities of one year or less from the date of acquisition, (iii) bankers’ acceptances with
maturities not exceeding one year from the date of acquisition, and (iv) overnight bank
deposits, in each case with any bank or trust company organized or licensed under the
laws of the United States or any state thereof having capital, surplus and undivided
profits in excess of $5 00 million whose short-term debt is rated “A~2” or higher by S&P
or “P~Z” or higher by Moody’s,

(4) repurchase obligations with a term of not more than seven days for underlying
securities of the type described in clauses (2) and (3) above entered into with any
financial institution meeting the qualifications specified in clause (3) above,

(5) commercial paper rated at least P~l by Moody’s or A-l by S&P and maturing
within six months after the date of acquisition, and

(6) money market funds at least 95% of the assets of which consist of investments
of the type described in clauses (1) through (5) above.

“Cash Management Obligations” means, with respect to any Person, all obligations,
whether now owing or hereafter arising, of such Person in respect of overdrafts and related
liabilities or arising from cash management services (including treasury, depositary, overdraft,
credit or debit card, electronic funds transfer, netting, automatic clearing house transfers of funds
or any similar transactions).

“Casualty Event” means any damage to, or destruction of, any real or personal property
or improvements that constitute Collateral.

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“Casualty Proceeds” means (i) with respect to any Condemnation Event, all awards or
payments received by the Company or any Guarantor by reason of such Condemnation Event,
including all amounts received with respect to any transfer in lieu or anticipation of such
Condemnation Event or in settlement of any proceeding relating to such Condemnation Event,
and (ii) with respect to any Casualty Event, all insurance proceeds or payments with respect to
Collateral which the Company or any Guarantor receives under any insurance policy by reason
of such Casualty Event, plus the amounts of any deductibles under insurance policies with
respect to Collateral and, if the Company or any Guarantor fails to maintain any insurance policy
with respect to Collateral, the amounts which would have been available thereunder with respect
to such Casualty Event had the Company or such Guarantor maintained an insurance policy.

“Certificated Note” means a Note in registered individual form without interest coupons.
“Change of Control” means:

(1) the merger or consolidation of the Company with or into another Person or
the merger of another Person with or into the Company, or the merger of any Person with
or into a Subsidiary of the Company, if Capital Stock of the Company is issued in
connection therewith, or the sale of all or substantially all the assets of the Company to
another Person (in each case, unless such other Person is a Perrnitted Holder), unless
holders of a majority of the aggregate voting power of the Voting Stock of the Company,
as relevant, immediately prior to such transaction, hold securities of the surviving or
transferee Person that represent, immediately after such transaction, at least a majority of
the aggregate voting power of the Voting Stock of the surviving Person;

(2) any “person” or “group” (as such terms are used for purposes of Sections
13(d) and 14(d) of the Exchange Act), other than Permitted Holders, is or becomes the
“beneficial owner” (as such term is used in Rules 13d-3 under the Exchange Act),
directly or indirectly, of more than 50% of the total voting power of the Company;

(3) individuals who on the lssue Date constitute the Board of Directors of the
Company, together with any new directors whose election by the Board of Directors or
whose nomination for election by the stockholders of the Company was approved by a
majority of the directors then still in office who were either directors or whose election or
nomination for election was previously so approved, cease for any reason to constitute a
majority of the Board of Directors of the Company then in office;

(4) Neenah Enterprises ceases to beneficially own7 directly or indirectly, 100% of
the Capital Stock of the Company; provided that if Neenah Enterprises ceases to
beneficially own, directly or indirectly, 100% of the Capital Stock of the Company in
connection with any merger of the Company with or into Neenah Enterprises, such
transaction shall not constitute a Change of Control if holders of all of the aggregate
voting power of the Voting Stock of Neenah Enterprises immediately prior to such
transaction, hold securities of the surviving Person that represent, immediately after such
transaction, all of the aggregate voting power of the Voting Stock of the surviving
Person; or

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(5) the adoption of a plan relating to the liquidation or dissolution of the
Company.

“Chapter 11 Cases” shall mean thejointly administered voluntary cases commenced by
Neenah Enterprises and its subsidiaries on February 3, 2010, under Chapter 11 of the United
States Bankruptcy Code, 11 U.S.C. ss. 101 et seq., as amended, or any successor thereto, and any
rules and regulations promulgated thereunder.

“Code” means the lntemal Revenue Code of 1986.
“Collateral” has the meaning assigned to such term in the Security Agreements.

“Collateral Agent” means Wilrnington Trust Company in its capacity as collateral agent
for the Holders or any collateral agent appointed by the Trustee pursuant to this Indenture and
the Security Documents.

“Collateral Requirement” means the requirement that:

(1) all documents and instruments, including Uniform Commercial Code
financing statements and mortgages, required by law to be filed, registered or recorded to
create the Liens intended to be created by the Security Docurrrents and perfect or record
such Liens as valid Liens with priority set forth in the Security Docurnents free of any
other Liens except for Permitted Liens, shall have been filed, registered or recorded; and

(2) the Collateral Agent shall have received, with respect to each property subject
to a mortgage, counterparts of a mortgage duly executed and delivered by the record
owner of such mortgaged property, a lender’s title insurance policy insuring the Lien of
each mortgage, an existing survey of the mortgaged property and the Opinions of
Counsel required pursuant to Section 4.18§ d [.

“Commission” means the Securities and Exchan ge Commission.

c‘Common Stock” means Capital Stock not entitled to any preference on dividends or
distributions, upon liquidation or otherwise

c‘Company” means the party named as such in the first paragraph of this Indenture or any
successor obligor under this Indenture and the Notes pursuant to Section 5.01.

“Condemnation Event” means any condemnation or other taking or temporary or
permanent requisition of any Collateral, any interest therein or right appurtenant thereto, or any
change of grade affecting any Collateral, as the result of the exercise of any right of
condemnation or eminent domain. A transfer to a governmental authority in lieu or anticipation
of condemnation shall be deemed to be a Condemnation Event.

“Confirmation Order” means that certain order confirming the Plan pursuant to Section
1129 of the Bankruptcy Code entered by the United States Bankruptcy Court for the District of
Delaware on [ ], 2010.

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“Consolidated Debt Ratio” means, as of any date of determination, the ratio of (a)
Consolidated Total Debt of the Company and its Restricted Subsidiaries on the date of
determination to (b) the aggregate amount of EBITDA for the then most recent four fiscal
quarters for which internal financial statements of the Company and its Restricted Subsidiaries
are available in each case with such pro forma adjustments to Consolidated Total.Debt and
EBITDA as are consistent with the pro forma adjustment provisions set forth in Section 1.01
under the definition of Fixed Charge Coverage Ratio.

“Consolidated Net Income” means, for any period, the aggregate net income (or loss) of
the Company and its Restricted Subsidiaries for such period determined on a consolidated basis
in conformity with GAAP, provided that the following (without duplication) will be excluded in
computing Consolidated Net lncome:

(1) the net income (but not loss)'of any Person that is not a Restricted
Subsidiary, except to the extent of the lesser of

(x) the dividends or other distributions actually paid in cash to the
Company or any of its Restricted Subsidiaries (subject to clause (3) below) by
such Person during such period, and

(y) the Company’s pro rata share of such Person’s net income earned
during such period;

(2) any net income (or loss) of any Person acquired in a pooling of interests
transaction for any period prior to the date of such acquisition;

(3) the net income (but not loss) of any Restricted Subsidiary to the extent that the
declaration or payment of dividends or similar distributions by such Restricted Subsidiary
of such net income would not have been permitted for the relevant period by charter or by
any agreement, instrument, judgment, decree, order, statute, rule or governmental
regulation applicable to such Restricted Subsidiary;

(4) any net after-tax gains or losses attributable to Asset Sales;
(5) any net after»tax extraordinary gains or losses;

(6) all deferred financing costs written off and premiums paid or other expenses
incurred directly in connection with any early extinguishment of Debt and any net gain
(loss) from any write-off or forgiveness of Debt; and

(7) the cumulative effect of a change in accounting principles.

“Consolidated Secured Debt Ratio” means, as of any date of determination, the ratio of
(a) Consolidated Total Debt of the Company and its Restricted Subsidiaries on the date of
determination that constitutes Secured Debt to (b) the aggregate amount of EBITDA for the then
most recent four fiscal quarters for which internal financial statements of the Company and its
Restricted Subsidiaries are available in each case with such pro forma adjustments to

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Consolidated Total Debt and EBITDA as are consistent with the pro forma adjustment
provisions set forth in Section 1.01 under the definition of Fixed Charge Coverage Ratio.

“Consolidated Total Debt” rneans, as of any date of deterrnination, an amount equal to
the sum of (1) the aggregate amount of all outstanding Debt of the Company and its Restricted
Subsidiaries (excluding any undrawn letters of credit issued in the ordinary course of business)
and (2) the aggregate amount of all outstanding Disqualified Stock of the Company and its
Restricted Subsidiaries and all Preferred Stock of Restricted Subsidiaries of Company, with the
amount of such Disqualified Stock and Preferred Stock equal to the greater of their respective
voluntary or involuntary liquidation preferences, in each case determined on a consolidated basis
in accordance with GAAP

“Corporate Trust Office” means an office of the Trustee at which the corporate trust
business of the Trustee is administered, which at the date of this Indenture rs located at Rodrrey
Square North, 1100 North l\/Iarket Street, Wilmington, DE 19890 Attention: Corporate Capital
l\/Iarkets.

“Credit Agreements” means, collectively, (i) the Term Credit Agreement, and (ii) the
Revolving Credit Agr'eement.

“Debt” means, with respect to any Person, without duplication, and whether or not
contingent,

(1) all indebtedness of such Person for borrowed money;

(2) all Obligations of such Person evidenced by bonds, debentures, notes or
other similar instruments;

(3) all Obligations of such Person in respect of letters of credit, bankers’
acceptances or other similar instr'uments, excluding Obligations in respect of trade letters
of credit or bankers’ acceptances issued in respect of trade payables to the extent not
drawn upon or presented,or, if drawn upon or presented, the resulting Obligation of the
Person is paid within 10 Business Days;

(4) all Obligations of such Person to pay the deferred and unpaid purchase
price of property or services which are recorded as liabilities under GAAP, excluding
trade payables arising in the ordinary course of business;

(5) all Obligations of such Person as lessee under Capital Leases;

(6) all Debt of other Persons Guaranteed by such Person to the extent so
Guaranteed;

(7) all Debt of other Persons secured by a Lien on any asset of such Person,
whether or not such Debt is assumed by such Person; and

(8) all Obligations of such Person under Hedging Agreements.

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The amount of Debt of any Person will be deemed to be:

(A) with respect to contingent Obligations, the maximum liability upon the
occurrence of the contingency giving rise to the Obligation;

(B) with respect to Debt secured by a Lien on an asset of such Person but not
otherwise the Obligation, contingent or otherwise, of such Person, the lesser of (x) the
fair market value of such asset on the date the Lien attached and (y) the amount of such
Debt; '

(C) with respect to any Debt issued with original issue discount, the face

amount of such Debt less the remaining unamortized portion of the original issue
discount of such Debt;

(D) with respect to any Hedging*Agreement, the net amount payable if such
Hedging Agreement terminated at that time due to default by such Person; and

(E) otherwise, the outstanding principal amount thereof.

“Default” means an event or condition the occurrence of which is, or with the lapse of
time or the giving of notice or both would be, an Event of Default.

“Depositary” means the depositary of each Global Note, which will initially be DTC.

“Disqualified Equity Interests” means Equity Interests that by their terms or upon the
happening of any event are

(l) required to be redeemed or redeemable at the option of the holder prior to
the Stated Maturity of the Notes for consideration other than Qualified Equity lnterests,

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(2) convertible at the option of the holder into Disqualified Equity Interests or
exchangeable for Debt;

provided that Equity Interests will not constitute Disqualified Equity Interests solely because of
provisions giving holders thereof the right to require repurchase or redemption upon an “asset
sale” or “change of control” occurring prior to the Stated Maturity of the Notes if those
provisions

(A) are no more favorable to the holders than Sections 4.12 and 4.13, and

(B) specifically state that repurchase or redemption pursuant thereto will not
be required prior to the Company’s repurchase of the Notes as required by this Indenture.

“Disqualified Stock” means Capital Stock constituting Disqualified Equity lnterests.

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“Domestic Restricted Subsidiary” means any Restricted Subsidiary formed under the
laws of, or 50% or more of the assets of which are located in, the United States of Arnerica or
any jurisdiction thereof.

“DTC” means The Depository Trust Company, a New York corporation, and its
successors.

“DTC Legend” means the legend set forth in Exhibit C attached hereto.
“EBITDA” rneans, for any period, the sum of
(1) Consolidated Net Income, plus

(2) Fixed Charges, to the extent deducted in calculating Consolidated Net lncome,
plus

(3) cash expenses incurred in connection with the restructuring transactions
involved leading up to and including the Chapter 11 Cases or contemplated by the Plan,
to the extent deducted in calculating Consolidated Net lncome, plus

(4) to the extent deducted in calculating Consolidated Net lncome and as
determined on a consolidated basis for the Company and its Restricted Subsidiaries in
conformity with GAAP:

(A) income taxes, other than income taxes or income tax adjustments

(whether positive or negative) attributable to Asset Sales or extraordinary gains or
losses; and

(B) depreciation, amortization and all other non-cash items reducing
Consolidated Net lncome (not including non-cash charges in a period which
reflect cash expenses paid or to be paid in another period), less all non-cash items
increasing Consolidated Net lncome;

provided that, with respect to any Restricted Subsidiary, the items Set forth in (A) and (B) above
will be added only to the extent and in the same proportion that the relevant Restricted

Subsidiary’s net income was included in calculating Consolidated Net lncome.

“Equity Interests” means all Capital Stock and all warrants or options with respect to, or
other rights to purchase, Capital Stock, but excluding Debt convertible into equity.

“Event of Default” has the meaning assigned to such term in Section 6.01.
“Excess Proceeds” has the meaning assigned to such term in Section 4.13.

“Exchange Act” means the Securities Exchange Act of 1934, as amended, or any
successor statute or statutes thereto and the rules and regulations promulgated thereunder.

“expiration date” has the meaning assigned to such term in Section 3.03(b §§ ivj.

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c‘Fixed Charge Coverage Ratio” means, on any date (the “transaction date”), the ratio

(x) the aggregate amount of EBlTDA for the four fiscal quarters immediately
prior to the transaction date for which internal financial statements are available (the
“reference period”) to

(y) the aggregate Fixed Charges during such reference period.
In making the foregoing calculation,

(1) pro forma effect Will be given to any Debt, Disqualified Stock or Preferred
Stock lncurred during or after the reference period to the extent the Debt is outstanding or
is to be lncurred on the transaction date as if the Debt, Disqualified Stock or Preferred
Stock had been lncurred on the first day of the reference period;

(2) pro forma calculations of interest on Debt bearing a floating interest rate will
be made as if the rate in effect on the transaction date (taking into account any Hedging
Agreement applicable to the Debt if the Hedging Agreement has a remaining term of at
least 12 months) had been the applicable rate for the entire reference period;

(3) Fixed Charges related to any Debt, Disqualified Stock or Preferred Stock no
longer outstanding or to be repaid or redeemed on the transaction date, except for
Consolidated Interest Expense accrued during the reference period under a revolving
credit to the extent of the commitment thereunder (or under any successor revolving
credit) in effect on the transaction date, will be excluded;

(4) pro forma effect Will be given to

(A) the creation, designation or redesignation of Restricted and
Unrestricted Subsidiaries,

(B) the acquisition or disposition of companies, divisions or lines of
businesses by the Company and its Restricted Subsidiaries, including any
acquisition or disposition of a company, division or line of business since the
beginning of the reference period by a Person that became a Restricted Subsidiary
after the beginning of the reference period, and

(C) the discontinuation of any discontinued operations but, in the case
of Fixed Charges, only to the extent that the obligations giving rise to the Fixed
Charges will not be obligations of the Company or any Restricted Subsidiary
following the transaction date that have occurred since the beginning of the
reference period as if such events had occurred, and, in the case of any
disposition, the proceeds thereof applied, on the first day of the reference period.
To the extent that pro forma effect is to be given to an acquisition or disposition
of a company, division or line of business, the pro forma calculation will be based
upon the most recent four full fiscal quarters for Which the relevant financial

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information is available and will be calculated in accordance with Regulation S-X
under the Securities Act.

“Fixed Charges” means, for any period, the sum of
(1) Interest Expense for such period; and
(2) the product of

(a) cash and non~cash dividends paid, declared, accrued or
accumulated on any Disqualified or Preferred Stock of the Company or a
Restricted Subsidiar'y, except for dividends payable in the Cornpany’s Qualified
Stock or paid to the Company_ or to a Wholly Owned Restricted Subsidiary, and

(b) a fraction, the numerator of which is one and the denominator of ~
Which is one minus the sum of the currently effective combined federal, state,
local and foreign tax rate applicable to the Company and its Restricted
Subsidiaries

provided that Fixed Charges of a Restricted Subsidiary that is not a Wholly Owned Restricted
Subsidiary will be reduced in proportion to any proportional reduction in respect of such
Restricted Subsidiary’s net income included in calculating Consolidated Net Income.

“GAAP” means generally accepted accounting principles in the United States of America
as in effect as of the lssue Date.

“Global Note” means a Note in registered global form without interest coupons.

“Guarantee” means any obligation, contingent or otherwise, of any Person directly or
indirectly guaranteeing any Debt or other obligation of any other Person and, Without limiting
the generality of the foregoing, any obligation, direct or indirect, contingent or otherwise, of such
Person (i) to purchase or pay (or advance or supply funds for the purchase or payment oD such
Debt or other obligation of such other Person (whether arising by virtue of partnership
arrangements, or by agreement to keep-well, to purchase assets, goods, securities or services, to
take~or-pay, or to maintain financial statement conditions or otherwise) or (ii) entered into for
purposes of assuring in any other manner the obligee of such Debt or other obligation of the
payment thereof or to protect such obligee against loss in respect thereof, in Whole or in part;
provided that the term c‘Guarantee” does not include endorsements for collection or deposit in the
ordinary course of business. The term “Guarantee” used as a verb has a corresponding meaning

“Guarantor” means (i) Neenah Enterprises, (ii) NFC Castings, (iii) each Domestic
Restricted Subsidiary of the Company in existence on the Issue Date, and (iv) each Domestic
Restricted Subsidiary in the future that executes a supplemental indenture in the form of Exhibit
_B_ attached hereto providing for the guaranty of the payment of the Notes, or any successor
obligor under its Note Guaranty pursuant to Section 5.02 in each case unless and until such
Guarantor is released from its Note Guaranty pursuant to this lndenture.

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“Hedging Agreement” means (i) any interest rate swap agreement, interest rate cap
agreement or other agreement designed to protect against fluctuations in interest rates or (ii) any
foreign exchange forward contract, currency swap agreement or other agreement designed to
protect against fluctuations in foreign exchange rates or (iii) any commodity or raw material
futures contract or any other agreement designed to protect against fluctuations in raw material
prrces.

“Holder” or “Noteholder” means the registered holder of any Note.

“Incur” means, with respect to any Debt or Capital Stock, to incur, create, issue, assume
or Guarantee such Debt or Capital Stock. If any Person becomes a Restricted Subsidiary on any
date after the date of this Indenture (including by redesignation of an Unrestricted Subsidiary or
failure of an Unrestricted Subsidiary to meet the qualifications necessary to remain an
Unrestricted Subsidiary), the Debt and Capital Stock of such Person outstanding on such date
will be deemed to have been lncurred by such Person on such date for purposes of Section 4.06,
brrt will not be considered the sale or issuance of Equity Interests for purposes of Section 4.13.
The accretion of original issue discount or payment of interest in kind will not be considered an
lncurrence of Debt.

“Indenture” means this indenture, as amended or supplemented from time to time.

“Initial Notes” means the Notes issued on the Issue Date and any Notes issued in
replacement thereof.

“Intercreditor Agreement” means that certain Intercreditor Agreement dated as of the
Issue Date among the Company, each Guarantor named therein, the Collateral Agent, [TERM
CREDIT AGREEMENT COLLATERAL AGENT], as collateral agent under the Term Credit
Agreement, and [REVOLVER CREDIT AGREEMENT COLLATERAL AGENT], as collateral
agent under the Revolving Credit Agreement, as amended, supplemented or otherwise modified
from time to time.

“Interest Expense” means, for any period, the consolidated interest expense of the
Company and its Restricted Subsidiaries, plus, to the extent not included in such consolidated
interest expense, and to the extent incurred, accrued or payable by the Company or its Restricted
Subsidiaries, Without duplication, (i) interest expense attributable to Sale and Leaseback
Transactions, (ii) amortization of debt discount and debt issuance costs but excluding
amortization of deferred financing charges incurred in respect of the Notes and the Credit
Agreernents on or prior to the Issue Date, (iii) capitalized interest, (iv) non~cash interest expense,
(v) comrnissions, discounts and other fees and charges owed with respect to letters of credit and
bankers’ acceptance financing, (vi) net costs associated with Hedging Agreements (including the
amortization of fees) and (vii) any of the above expenses with respect to Debt of another Person
Guaranteed by the Company or any of its Restricted Subsidiaries, as determined on a
consolidated basis and in accordance with GAAP. Interest Expense of the Company shall not
include any prepayment premiums or amortization of original issue discount or deferred
financing costs, to the extent such amounts are incurred as a result of the prepayment on the date
of this Indenture of any Debt of the Company with the proceeds of the Notes and the Credit
Agreements.

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“Interest Payrnent Date” means each [ and l of each year,

commencing | l.1

“Inventory” means, with respect to the Company and its Restricted Subsidiaries, the
consolidated inventory of the Company, determined at the lower of cost or market in accordance
with GAAP.

“Investment” means

(1) any direct or indirect advance, loan or other extension of credit to another
Per'son,

(2) any capital contribution to another Person, by means of any transfer of cash or
other property or in any other form,

(3) any purchase or acquisition of Equity Interests, bonds, notes or other Debt, or
other instruments or securities issued by another Person, including the receipt of any of
the above as consideration for the disposition of assets or rendering of services, or

(4) any Guarantee of any obligation of another Person.

If the Company or any Restricted Subsidiary (x) sells or otherwise disposes of any Equity
Interests of any direct or indirect Restricted Subsidiary so that, after giving effect to that sale or
disposition, such Person is no longer a Subsidiary of the Company, or (y) designates any
Restricted Subsidiary as an Unrestricted Subsidiary in accordance with Section 4.16, all
remaining Investments of the Company and the Restricted Subsidiaries in such Person shall be
deemed to have been made at such time.

“Issue Date” means the date on which the lnitial Notes are originally authenticated under
this Indenture.

“Lien” means any mortgage, pledge, security interest, encumbrance, lien or charge of any
kind (including any conditional sale or other title retention agreement or Capital Lease).

“Moody’s” means l\/loody’s Investors Service, Inc. and its successors.

“Mortgages” means, collectively, any mortgage, deed of trust or similar instrument
entered into by the Company or any Guarantor from time to time on or after the Issue Date to
provide a security interest for the benefit of the Trustee and the Holders of the Notes.

“Neenah Enterprises” means Neenah Enterprises, lnc., a Delaware corporation.

“Net Cash Proceeds” means, with respect to any Asset Sale, the proceeds of such Asset
Sale in the form of cash (including (i) payments in respect of deferred payment obligations to the
extent corresponding to, principal, but not interest, when received in the form of cash, and (ii)
proceeds from the conversion of other consideration received when converted to cash), net of

 

l [Note: Payment schedule to be determined based on Issue Date.]

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(1) brokerage commissions and other fees and expenses related to such Asset
Sale, including fees and expenses of counsel, accountants and investment bankers;

(2) provisions for taxes as a result of such Asset Sale taking into account the
consolidated results of operations of the Company and its Restricted Subsidiaries;

(3) payments required to be made to holders of minority interests in Restricted
Subsidiaries as a result of such Asset Sale or to repay Debt outstanding at the time of
such Asset Sale that is secured by a Lien on the property or assets sold; and

(4) appropriate amounts to be provided as a reserve against liabilities associated
with such Asset Sale, including pension and other post-employment benefit liabilities,
liabilities related to envirornnental matters and indemnification obligations associated v
with Such Asset Sale, with any subsequent'reduction of the reserve other than by '
payments made and charged against the reserved amount to be deemed a receipt of cash.

“NFC Castings” means NFC Castings, Inc., a Delaware corporation.

“Non~Recourse Debt” means Debt as to which (i) neither the Company nor any
Restricted Subsidiary provides any Guarantee and as to which the lenders have been notified in
writing that they will not have any recourse to the Stock or assets of the Company or any
Restricted Subsidiary and (ii) no default thereunder would, as such, constitute a default under
any Debt of the Company or any Restricted Subsidiary.

“Notes” means up to $50,000,000 in aggregate principal amount of the Company’s 15 %
Senior Secured Notes due 2015 , originally issued on the Issue Date, which amount may be
increased to reflect the payments of PIK Interest, as amended or supplemented from time to time,
substantially in the form set forth in Exhibit A attached hereto. For purposes of this Indenture,
all references to “principal amount” of the Notes shall include any increase in the principal
amount of the Notes as a result of the payment of PlK Interest.

“Note Custodian” means the Trustee, as custodian with respect to the Notes in global
form, or any successor entity thereto.

“Note Guaranty” means the guaranty of the Notes by a Guarantor pursuant to this
Indenture.

“Obligations” means, with respect to any Debt, all obligations (whether in existence on
the Issue Date or arising afterwards, absolute or contingent, direct or indirect) for or in respect of
principal (when due, upon acceleration, upon redemption, upon mandatory repayment or
repurchase pursuant to a mandatory offer to purchase, or otlrerwise), premium, interest, penalties,
fees, indemnification, reimbursement and other amounts payable and liabilities with respect to
such Debt, including all interest accrued or accruing after the commencement of any bankruptcy,
insolvency or reorganization or similar case or proceeding at the contract rate (including, without
limitation, any contract rate applicable upon default) specified in the relevant documentation,
whether or not the claim for Such interest is allowed as a claim in such case or proceeding

“Offer to Purchase” has the meaning assigned to such term in Section 3.03.

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“Officer” means the chairman of the Board of Directors, the president or chief executive
officer, any vice president, the chief financial officer, the treasurer or any assistant treasurer, or
the secretary or any assistant secretary, of the Company.

“Officers’ Certificate” means a certificate signed in the name of the Company (i) by the
chairman of the Board of Directors, the president or chief executive officer or a vice president
and (ii) by the chief financial officer, the treasurer or any assistant treasurer or the secretary or
any assistant secretary.

“Opinion of Counsel” means a written opinion signed by legal counsel, who may be an
employee of or counsel to the Company.

“Patterns” means, with respect to the Company and its Restricted Subsidiaries, the
consolidated casting patterns and core boxes of the Company, determined at the lower of cost or
market in accordance with GAAP.

“Paying Agent” refers to a Person engaged to perform the obligations of the Trustee in
respect of payments made or funds held hereunder in respect of the Notes.

“Permitted Asset Swap” means any transfer of properties or assets by the Company or a
Restricted Subsidiary in which at least 90% of the consideration received by the transferor
consists of properties or assets (other than cash or Caslr Equivalents or other current assets) that
will be used in a Permitted Business; provided that (i) the aggregate fair market value of the
property or assets being transferred by the Company or a Restricted Subsidiary is not greater
than the aggregate fair market value of the property or assets received (as determined in good
faith by the Board of Directors of the Company) by the Company or such Restricted Subsidiary
in such exchange and (ii) any cash received must be applied in accordance with Section 4.13.

“Permitted Bank Debt” has the meaning assigned to such term in Section 4.06§b)§i§.

c‘Permitted Business” means any of the businesses in which the Company and its
Restricted Subsidiaries are engaged on the Issue Date, and any business reasonably related,
incidental, complementary or ancillary thereto.

“Permitted Debt” has the meaning assigned to such term in Section 4.06§ b ).
“Permitted Holders” means any of the following:

(l) any Holder of over 20% of the Capital Stock of Neenah Enterprises as of the
Issue Date;

(2) any Affiliate of any Person specified in clause (1); and

(3) any Person both the Capital Stock and the Voting Stock of which (or in the
case of a trust, the beneficial interests in wlrich) are owned 80% by Persons specified in
clauses (l) and (2).

“Permitted Investments” rneans:

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(1) any Investrnent in the Company or in a Restricted Subsidiary of the Company
that is engaged in a Permitted Business;

(2) any lnvestment in Cash Equivalents;

(3) any Investrnent by the Company or any Subsidiary of the Company in a
Person, if as a result of such Investment,

(A) such Person becomes a Restricted Subsidiary of the Company
engaged in a Permitted Business, or

(B) such Person is merged or consolidated with or into, or transfers or
conveys substantially all its assets to, or is liquidated into, the Company or a
Restricted Subsidiary engaged in a Permitted Business; _

(4) Investments received as non-cash consideration in an Asset Sale (other than in
connection with a Permitted Asset Swap) made pursuant to and in compliance with
Section 4.13;

(5) Hedging Agreements otherwise permitted under this lndenture;

(6) (i) receivables owing to the Company or any Restricted Subsidiary if created
or acquired in the ordinary course of business, (ii) Cash Equivalents, (iii) endorsements
for collection or deposit in the ordinary course of business, and (iv) securities,
instruments or other obligations received in compromise or settlement of Debts created in
the ordinary course of business, or by reason of a composition or readjustment of Debts
or reorganization of another Person, or in satisfaction of claims or judgments;

(7) payroll, travel and other loans or advances to, or Guarantees issued to support
the obligations of`, officers and employees, in each case in the ordinary course of
business, not in excess of $1 .0 million outstanding at any time;

(8) extensions of credit to customers and suppliers in the ordinary course of
business; and `

(9) in addition to Investments listed above, Investments in Persons engaged in
Permitted Businesses in an aggregate amount, taken together with all other lnvestments
made in reliance on this clause (9), not to exceed $10.0 million (net of, with respect to the
lnvestment in any particular Person made pursuant to this clause, the cash return thereon
received after the Issue Date as a result of any sale for cash, repayment, redemption,
liquidating distribution or other cash realization (not included in Consolidated Net
Income) not to exceed the amount of such Investrnents in such Person made after the
Issue Date in reliance on this clause).

“Permitted Liens” means

(l) Liens existing on the Issue Date not otherwise constituting Permitted
Liens;

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(2) Liens securing the Notes, any Note Guaranties and other Obligations under
this Indenture and the Security Documents;

(3) Liens on the Collateral securing:

(i) (a) Obligations under or with respect to Permitted Bank Debt of
the Company or any Guarantor that is permitted to be incurred pursuant to Section
4.06§ b §§ i ), (b) Obligations under or with respect to Hedging Agreements owed to
any lenders under the Credit Agreernerrts or their affiliates so long as such
Hedging Agreernents relate to Permitted Bank Debt referred to in clause (a), the
Notes or any other Permitted Debt and (c) Cash Managernent Obligations owed to
any lenders under the Credit Agreements or their affiliates; and

(ii) any other Debt of the Company or any Guarantor incurred pursuant
to Section 4.06 to finance an acquisition of a new business or assets; provided,
however, that, (a) at the time of lncurrence and after giving pro forma effect
thereto, the Consolidated Secured Debt Ratio would be no greater than 3.00 to
1.00;

(4) pledges or deposits under worker’s compensation laws, unemployment
insurance laws or similar legislation, or good faith deposits in connection with bids,
tenders, contracts or leases, or to secure public or statutory obligations, surety bonds,
customs duties and the like, or for the payment of rent, in each case lncurred in the
ordinary course of business and not securing Debt;

(5) Liens imposed by law, such as car'riers’, vendors’, warehousemen’s and
mechanics’ liens, in each case for sums not yet due or being contested in good faith and
by appropriate proceedings;

(6) Liens in respect of taxes and other governmental assessments and charges
which are not yet due or which are being contested in good faith and by appropriate
proceedings;

(7) Liens securing reimbursement obligations with respect to letters of credit that
encumber documents and other property relating to such letters of credit and the proceeds
thereof;

(8) minor survey exceptions, minor encumbrances, easements or reservations of,
or rights of others for, licenses, rights of way, sewers, electric lines, telegraph and
telephone lines and other similar purposes, or zoning or other restrictions as to the use of
real property, not interfering in any material respect with the conduct of the business of
the Company and its Restricted Subsidiaries;

(9) licenses or leases or subleases as licensor, lessor or sublessor of any of its
property, including intellectual property, in the ordinary course of business;

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(10) customary Liens in favor of trustees and escrow agents, and netting and
setoff rights, banker’s liens and the like in favor of financial institutions and
counterparties to financial obligations and instrurnents, including Hedging Agreements;

(l l) Liens on assets pursuant to merger agreements, stock or asset purchase
agreements and similar agreements in respect of the disposition of such assets;

(12) options, put and call arrangements, rights of first refusal and similar rights
relating to Investments in joint ventures, partnerships and the like;

(13) judgment liens, and Liens securing appeal bonds or letters of credit issued
in support of or in lieu of appeal bonds, so long as no Event of Default then exists under

Section 6.01§§1;

(14) Liens incurred in the ordinary course of business not securing Debt and ~ v
not in the aggregate materially detracting from the value of the properties or their use in
the operation of the business of the Company and its Restricted Subsidiaries;

(15) Liens (including the interest of a lessor under a Capital Lease) on property
that secure Debt lncurred for the purpose of financing all or any part of the purchase price
or cost of construction or improvement of such property and which attach within 365
days after the date of such purchase or the completion of construction or improvement;
provided that at the time of the lncurrence of any such Lien, the aggregate principal
amount of the Obligations secured by such Lien shall not exceed the cost of such

property;

(16) Liens on property of a Person at the time such Person becomes a
Restricted Subsidiary of the Company, provided such Liens were not created in
contemplation thereof and do not extend to any other property of the Company or any
Restricted Subsidiary;

(17) Liens on property at the time the Company or any of the Restricted
Subsidiaries acquires such property, including any acquisition by means of a merger or
consolidation with or into the Company or a Restricted Subsidiary of such Person,
provided (i) such Liens were not created in contemplation thereof, (ii) do not extend to
any other property of the Company or any Restricted Subsidiary, (iii) such property is to
be used for a Permitted Business purpose, and (iv) at the time of the lncurrence of any
such Lien, the aggregate principal amount of the Obligations secured by such Lien shall
not exceed the cost of the property (or portions thereof) so acquired;

(18) Liens securing Debt or other Obligations of the Company or a Restricted
Subsidiary to the Company or a Wholly Owned Restricted Subsidiary;

(19) Liens securing Hedging Agreements so long as such Hedging Agreements
relate to Debt (other than Hedging Agreements) that is, and is permitted to be under this
Indenture, secured by a Lien on the same property securing such Hedging Agreements;

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(20) extensions, renewals or replacements of any Liens referred to in clauses
(1), (2), (3), (10), (15), (16) or (17) in connection with the refinancing of the Obligations
secured thereby, provided that (i) such Lien does not extend to any other property, and
(ii) except as contemplated by the definition of “Permitted Refinancin g Debt”, the
amount secured by such Lien is not increased; and

(21) other Liens securing obligations in an aggregate amount not exceeding
$500,000.

“Permitted Refinancing Debt” has the meaning assigned to such term in Section

4.06§ b §§ iv §.

“Person” means an individual, a corporation, a partnership, a limited liability company,
an association a trust or an other entit includin a overnment or olitical subdivision or an
l 3
agency or instrumentality thereof

“PIK Interest” means interest paid on the Notes in the form of increasing the
outstanding principal amount of the Notes or issuing additional Notes.

“Plan” means that certain Joint Plan of Reorganization filed by Neenah Enterprises and
its affiliates on April 27, 2010 in the United States Bankruptcy Court for the District of
Delaware, as amended or supplemented from time to time prior to entry of the Confirmation
Order, including any exhibits, supplements, annexes, appendices and schedules thereto, as
confirmed by such Bankruptcy Court pursuant to the Confirmation Order.

“Preferred Stock” means, with respect to any Person, any and all Capital Stock which is
preferred as to the payment of dividends or distributions, upon liquidation or otherwise, over
another class of Capital Stock of such Person.

“Priority Liens” means all Liens on the Collateral that secure the Bank Obligations.

“principal” of any Debt means the principal amount of such Debt, (or if such Debt was
issued with original issue discount, the face amount of such Debt less the remaining unamortized
portion of the original issue discount of such Debt), together with, unless the context otherwise
indicates, any premium then payable on such Debt.

“ urchase amount” has the rneanin assioned to such term in Section 3.03 ii .
b
“purchase date” has the meaning assigned to such term in Section 3.03§ b)§iv).

c‘Qualified Equity Interests” means all Equity Interests of a Person other than
Disqualified Equity Interests.

“Qualified Stock” means all Capital Stock of a Person other than Disqualified Stock.

“Receivables” means the consolidated trade receivables of the Company, net of
allowance for doubtful accounts, as determined in accordance with GAAP.

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“ret`rnance” has the meaning assigned to such term in Section 4.06§b)§ iv ).
“Register” has the meaning assigned to such term in Section 2.09.
“Registrar” means a Person engaged to maintain the Register.

“Regular Re.cord Date” for the interest payable on any Interest Payrnent Date means the
[ or l (whether or not a Business Day) next preceding such Interest
Payrnent Date.2

 

“Related Party Transaction” has the meaning assigned to such term in Section 4.14.

“Responsible Ofi`rcer” means, when used with respect to the Trustee or the Collateral
Agent, any officer within the corporate trust department of the Trustee or the Collateral Agent,
including any vice president, assistant vice president, assistant secretary, assistant treasurer, trust
officer or any other officer of the Trustee or the Collateral Agent who customarily performs
functions similar to those performed by the Persons who at the time shall be such officers,
respectively, or to whom any corporate trust matter is referred because of such Person’s
knowledge of and familiarity with the particular subject and who shall have direct responsibility
for the administration of this Indenture.

“Restricted Payment” has the meaning assigned to such term in Section 4.07.

“Restricted Subsidiary” means any Subsidiary of the Company which at the time of
determination is not an Unrestricted Subsidiary.

“Revolving Credit Agreement” means that certain [REVOLVING CREDIT
AGREEMENT] dated as of the Issue Date, among the Company, the guarantors party thereto,
the lenders party thereto and [REVOLVING CREDIT AGREEMENT AGENT], as agent,
together with any related documents (including any security documents and guarantee
agreements), as amended, supplemented or otherwise modified from time to time.

“S&P” means Standard & Poor’s Ratings Group, a division of l\/chraw Hill, Inc., and its
successors.

“Sale and Leaseback Transaction” means, with respect to any Person, an an'angement
whereby such Person enters into a lease of property previously transferred by such Person to the
lessor.

“Secured Debt” means any Debt secured by a Lien.

“Securities Act” means the Securities Act of 1933, as amended, or any successor statute
or statutes thereto and the rules and regulations promulgated thereunder.

 

[Note: Payrnent schedule to be determined based on Issue Date.]

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“Security Agreements” means the security documents granting a security interest in any
assets of any Person to secure the Obligations under the Notes and the Note Guaranties as such
documents may be amended, restated, supplemented or otherwise modified from time to time.

“Security Documents” means (i) the Intercreditor Agreements, and (ii) the Security
Agreements.

“Significant Restricted Subsidiary” means any Restricted Subsidiary that would be a
“significant subsidiary” as defined in Article 1, Rule 1~02 (w)(l) or (2) of Regulation S~X
promulgated under the Securities Act, as such regulation is in effect on the date of this Indenture.

“Stated Maturity” means (i) with respect to any Debt, the date specified as the fixed
date on which the final installment of principal of such Debt is due and payable or_(ii) with
respect to any scheduled installment of principal of or interest on any Debt, the date specified as
the fixed date on which such installment is due and payable as set forth in the documentation
governing such Debt, not including any contingent obligation to repay, redeem or repurchase
prior to the regularly scheduled date for payment.

“Subordinated Debt” means any Debt of the Company or any Guarantor which is
subordinated in right of payment to the Notes or the Note Guaranty, as applicable, pursuant to a
written agreement to that effect.

“Subsidiary” means with respect to any Person, any corporation, association or other
business entity of which more than 50% of the outstanding Voting Stock is owned, directly or
indirectly, by, or, in the case of a partnership, the sole general partner or the managing partner or
the only general partners of which are, such Person and one or more Subsidiaries of such Person
(or a combination thereof). Unless otherwise specified, “Subsidiary” means a Subsidiary of the
Company.

“Tangible Assets” means the total amount of assets of the Company and its Restricted
Subsidiaries (less applicable depreciation, depletion, amortization and other valuation reserves),
after deducting therefrom all goodwill, trade names, tradernarks, patents, unamortized debt
discount and expense and other like intangibles, all as (i) set forth on the most recent balance
sheet of the Company and its Restricted Subsidiaries delivered pursuant to Section 4.17, (ii)
determined in accordance with GAAP and (iii) calculated on a pro forma basis after giving effect
to any Asset Sale or acquisition of any business or assets or the designation of a Restricted
Subsidiary as an Unrestricted Subsidiary occurring after the date of such balance sheet.

“Term Credit Agreement” means that certain [TERl\/l CREDIT AGREEMENT] dated
as of the issue Date, among the Company, the guarantors party thereto, the lenders party thereto
and [TERM CREDI'I` AGREEMENT AGENT], as agent, together with any related documents
(including any security documents and guarantee agreements), as amended, supplemented or
otherwise modified from time to time.

“Trust Indenture Act” means the Trust Indenture Act of 1939, as amended, or any
successor statute or statutes thereto and the rules and regulations promulgated thereunder.

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“Trustee” means the party named as such in the first paragraph of this Indenture or any
successor trustee under this Indenture pursuant to Article 7.

“U.S. Government Obligations” means obligations issued or directly and fully
guaranteed or insured by the United States of Arnerica or by any agent or instrumentality thereof,
provided that the full faith and credit of the United States of Arnerica is pledged in support
thereof.

“Unrestricted Subsidiary” means any Subsidiary of the Company that at the time of
determination has previously been designated, and continues to be, an Unrestricted Subsidiary in
accordance with Section 4.16.

. “Voting Stock” means, with respect to any _Person, Capital Stock of any class or kind
ordinarily having the power to vote for the election of directors, managers or other voting
members of the governing body of such Person.

“Wholly Owned” means, with respect to any Restricted Subsidiary, a Restricted
Subsidiary all of the outstanding Capital Stock of which (other than any director’s qualifying
shares) is owned by the Company and one or more Wholly Owned Restricted Subsidiaries (or a
combination thereof).

Section 1.02. Rules of Construcr‘ion. Unless the context otherwise requires or except as
otherwise expressly provided,

(a) an accounting term not otherwise defined has the meaning assigned to it in
accordance with GAAP;

(b) “herein,” “hereof” and other words of similar import refer to this Indenture as a
whole and not to any particular Section, Article or other subdivision;

(c) all references to Sections or Articles or Exhibits refer to Sections or Articles or
Exhibits of or to this Indenture unless otherwise indicated;

(d) references to agreements or instruments, or to statutes or regulations, are to such
agreements or instruments, or statutes or regulations, as amended from time to time (or to
successor statutes and regulations); and

(e) in the event that a transaction meets the criteria of more than one category of
permitted transactions or listed exceptions the Company may classify such transaction as it, in its
sole discretion, determines.

Section 1.03. Acls of Holders.

(a) Any request, demand, authorization, direction, notice, consent, waiver or other
action provided by this Indenture to be given or taken by Holders may be embodied in and
evidenced by one or more instruments of substantially similar tenor signed by such Holders in
person or by an agent duly appointed in writing; and, except as herein otherwise expressly
provided, such action shall become effective when such instrument or instruments are delivered

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to the Trustee and, where it is hereby expressly required, to the Company. Such instrument or
instruments (and the action embodied therein and evidenced thereby) are herein sometimes
referred to as the c‘Act” of Holders signing such instrument or instruments. Proof of execution of
any such instrument or of a writing appointing any such agent shall be sufficient for any purpose
of this Indenture and conclusive in favor of the Trustee and the Company, if made in the manner
provided in this Section 1.03.

(b) The fact and date of the execution by any Person of any such instrument or
writing may be proved by the affidavit of a witness of such execution or by a certificate of a
notary public or other officer authorized by law to take acknowledgments of deeds, certifying
that the individual signing such instrument or writing acknowledged to such officer the execution
thereof. erere such execution is by a signer acting in a capacity other than such signer’s
individual capacity, such certificate or'affidavit»sh_all also constitute sufficient proof of such
si gner"s authority. The fact and date of the execution of any such instrument or writing, or the
authority of the Person executing the same, may also be proved in any other rrranner which the
Trustee deems sufficient

(c) The ownership of Certificated Notes shall be proved by the Register.

(d) Any request, demand, authorization, direction, notice, consent, waiver or other
Act of the Holder of any Note shall bind every future Holder of the same Note and the Holder of
every Note issued upon the registration of transfer thereof or in exchange therefor or in lieu
thereof in respect of anything done, omitted or suffered to be done by the Trustee or the
Company in reliance thereon, whether or not notation of such action is made upon such Note.

(e) If the Company shall solicit from the Holders any request, demand, authorization,
direction, notice, consent, waiver or other Act, the Company may, at its option, by or pursuant to
a Board Resolution, fix in advance a record date for the determination of Holders entitled to give
such request, demand, authorization, direction, notice, consent, waiver or other Act, but the
Company shall have no obligation to do so. If such a record date is fixed, such request, dernand,
authorization, direction, notice, consent, waiver or other Act may be given before or after such
record date, but only the Holders of record at the close of business on such record date shall be
deemed to be Holders for the purposes of determining whether Holders of the requisite
proportion of outstanding Notes have authorized or agreed or consented to such request, demand,
authorization, dir‘ection, notice, consent, waiver or other Act, and for that purpose the
outstanding Notes shall be computed as of such record date; provided that no such authorization,
agreement or consent by the Holders on such record date shall be deemed effective unless it shall
become effective pursuant to the provisions of this Indenture not later than six months after the
record date.

ARTICLE 2
THE NOTES

Section 2.01. Form, Dating and Denomirzar'iorzs,' Legends. (a) The Notes and the
Trustee’s certificate of authentication will be substantially in the form attached as Exhibit A.
The terms and provisions contained in the form of the Notes annexed as Exhibit A constitute,
and are hereby expressly made, a part of this Indenture. The Notes may have notations, legends

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or endorsements required by law, rules of or agreements with national securities exchanges to
which the Company is subject, or usage. Each Note will be dated the date of its authentication
The Notes will be issued in integral rnultiples of $1.00 (in each case with a minimum
denomination of at least $1.00). l

(b) Each Global Note, whether or not an Irritial Note, will bear the DTC Legend.

Section 2.02. Execution and Arrl‘henl'icat'ion. (a) An Officer shall execute the Notes for
the Company by facsimile or manual signature in the name and on behalf of the Cornpany. If an
Officer whose signature is on a Note no longer holds that office at the time the Note is
authenticated, the Note will still be valid.

(b) A Note will not be valid until the Trustee manually signs the certificate of
authentication on the Note. The signature shall be conclusive evidence that the Note has been
authenticated under this Indenture.

(c) At any time and from time to time after the execution and delivery of this
lndenture, the Company may deliver a written order signed by an Officer along with Notes
executed by the Company to the Trustee for authentication Such written order of the Company
shall Specify the amount of Notes to be authenticated and the date on which the Initial Notes are
to be authenticated Tlre Trustee shall authenticate and deliver the Initial Notes for original issue
in the aggregate principal amount of $50,000,000. The Initial Notes Shall be issued initially in
the form of one or more Global Notes substantially in the form set forth in Exhibit A. The
Trustee shall authenticate and deliver any additional Notes (or increases in the principal amount
of any Notes) as a result of a payment of PIK Interest, for an aggregate principal amount
specified in an authentication order for such additional Notes (or increases in the principal
amount of any Notes) issued or increased hereunder, for original issue upon receipt of an
authentication order.

(d) On any Interest Payrnent Date on which the Company pays PIK Interest with
respect to a Global Note in accordance with the terms of the Notes, the Company shall cause the
principal amount of the Global Note to be increased by an amount equal to the PIK lnterest
payable, rounded up to the nearest $l .00, for the relevant interest period on the principal amount
of such Global Note as of the relevant record date for such Interest Payrnent Date, to the credit of
the Holders on such record date, pro rata in accordance with their interests, and an adjustment
shall be made on the books and records of the Trustee (if it is then the Note Custodian for such
Global Note) with respect to such Global Note, by the Trustee or the Note Custodian, to reflect
such increase On any lnterest Payrnent Date on which the Company pays PIK lnterest by
issuing additional Notes, the principal amount of any such Notes issued to any Holder, for the
relevant interest period as of the relevant record date for such Interest Payrnent Date, shall be
rounded up to the nearest $1.00. Each additional Note shall be an additional obligation of the
Company and the Guarantors and Shall be governed by, and entitled to the benefits of, this
Indenture and shall be subject to the terms of this Indenture (including the Note Guaranties),
shall rank pari passu with and be subject to the same terms (including the rate of interest from
time to time payable thereon)»as all other Notes (except, as the case may be, with respect to the
issuance date and aggregate principal amount), and shall have the benefit of the Liens securing
the Notes.

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Section 2.03. Regisirar, Paying A gent and Authenticating Agent,' Paying Agent to Hold
Money in Trust. (a) The Company may appoint one or more Registrars and one or more Paying
Agents, and the Trustee may appoint an Authenticating Agent, in which case each reference in
this Indenture to the Trustee in respect of the obligations of the Trustee to be performed by that
Agent will be deemed to be references to the Agent. The Company may act as Registrar or
(except for purposes of Article 8) Paying Agent. In each case the Company and the Trustee shall
enter into an appropriate agreement with the Agent implementing the provisions of this Indenture
relating to the obligations of the Trustee to be performed by the Agent and the related rights.
The Company initially appoints the Trustee as Registrar and Paying Agent.

(b) The Company Will require each Paying Agent other than the Trustee to agree in
writing that the Paying Agent will hold in trust for the benefit of the Holders or the Trustee all
money held by the Paying Agent for the payment of principal of and interest on the Notes and
will promptly notify the Trustee of any default by the Company in making any such payment
The Company at any time may require a Paying Agent to pay all money held by it to the Trustee
and account for any funds disbursed, and the Trustee may at any time during the continuance of
any payment default, upon written request to a Paying Agent, require the Paying Agent to pay all
money held by it to the Trustee and to account for any funds disbursed Upon doing so, the
Paying Agent will have no frrrther liability for the money so paid over to the Trustee.

Section 2.04. Replacernent Nol'es. If a mutilated Note is surrendered to the Trustee or if
a Holder claims that its Note has been lost, destroyed or Wrongfully taken, the Company shall
issue and the Trustee shall authenticate a replacement Note of like tenor and principal amount
and bearing a number not contemporaneously outstanding Every replacement Note is an
additional obligation of the Company and entitled to the benefits of this lndenture. If required by
the Trustee or the Company, an indemnity must be furnished that is sufficient in the judgment of
both the Trustee and the Company to protect the Company and the Trustee from any loss they
may suffer if a Note is replaced The Company may charge the Holder for the expenses of the
Company and the Trustee in replacing a Note. In case the mutilated, lost, destroyed or
wrongfully taken Note has become or is about to becorrre due and payable, the Company in its
discretion may pay the Note instead of issuing a replacement Note.

Section 2.05. Oulstanding Not'es. (a) Notes outstanding at any time are all Notes that
have been authenticated by the Trustee except for

(i) Notes cancelled by the Trustee or delivered to it for cancellation;

(ii) any Note which has been replaced pursuant to Section 2.04 unless and
until the Trustee and the Company receive proof satisfactory to them that the replaced
Note is held by a bona_/ide purchaser; and

(iii) on or after the maturity date or any redemption date or date for purchase of
the Notes pursuant to an Offer to Purchase, those Notes payable or to be redeemed or
purchased on that date for Which the Trustee (or Paying Agent, other than the Company
or an Affiliate of the Company) holds money sufficient to pay all amounts then due.

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(b) A Note does not cease to be outstanding because the Company or one of its
Affiliates holds the Note, provided that in determining whether the Holders of the requisite
principal amount of the outstanding Notes have given or taken any request, demand,
authorization, direction, notice, consent, waiver or other action hereunder, Notes owned by the
Company or any Affiliate of the Company will be disregarded and deemed not to be outstanding,
(it being understood that in determining whether the Trustee is protected in relying upon any
such request, demand, authorization, direction, notice, consent, waiver or other action, only
Notes which the Trustee knows to be so owned will be so disregarded). Notes so owned which
have been pledged in good faith may be regarded as outstanding if the pledgee establishes to the
satisfaction of the Trustee the pledgee’s right so to act with respect to such Notes and that the
pledgee is not the Company or any Affiliate of the Company.

Section 2.06. Temporary Notes. Until definitive Notes are ready for delivery, the
Company may prepare and the Trustee shall authenticate temporary Notes. Temporary Notes
will be substantially in the form of definitive Notes but may have insertions, substitutions,
omissions and other variations determined to be appropriate by the Officer executing the
temporary Notes, as evidenced by the execution of the temporary Notes. If temporary Notes are
issued, the Company will cause definitive Notes to be prepared without unreasonable delay.
After the preparation of definitive Notes, the temporary Notes Will be exchangeable for definitive
Notes upon surrender of the temporary Notes at the office or agency of the Company designated
for the purpose pursuant to Section 4.02, without charge to the Holder. Uporr surrender for
cancellation of any temporary Notes the Company will execute and the Trustee shall authenticate
and deliver in exchange therefor a like principal amount of definitive Notes of authorized
denominations. Until so exchanged the temporary Notes will be entitled to the same benefits
under this Indenture as definitive Notes.

Section 2.07. Cancellal’ion. The Company at any time may deliver to the Trustee for
cancellation any Notes previously authenticated and delivered hereunder which the Company
may have acquired in any manner whatsoever, and may deliver to the Trustee for cancellation
any Notes previously authenticated hereunder which the Company has not issued and sold Any
Registrar or the Paying Agent will forward to the Trustee any Notes surrendered to it for transfer,
exchange or payment. The Trustee shall cancel all Notes surrendered for transfer, exchange,
payment or cancellation and dispose of them in accordance with its normal procedures or the
written instructions of the Company. The Company may not issue new Notes to replace Notes it
has paid in full or delivered to the Trustee for cancellation

Section 2.08. CUSIP and CINS Nrr/nbers. The Company in issuing the Notes may use
“CUSlP” and “CfNS” numbers, and the Trustee shall use CUSIP numbers or ClNS numbers in
notices of redemption or exchange or in Offers to Purchase as a convenience to Holders7 the
notice to state that no representation is made as to the correctness of such numbers either as
printed on the Notes or as contained in any notice of redemption or exchange or Offer to
Purchase. The Company will promptly notify the Trustee of any change in the CUSIP or ClNS
numbers.

Section 2.09. Regisiraiion, Transfer and Exchange (a) The Notes will be issued in
registered form only, without coupons, and the Company shall cause the Trustee to maintain a
register (the “Register”) of the Notes, for registering the record ownership of the Notes by the

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Holders and transfers and exchanges of the Notes. Each Holder of a Note agrees to indemniB/
the Company and the Trustee against any liability that may result from the transfer, exchange or
assignment of such Holder’s Note in violation of any provision of this Indenture and/or
applicable United States Federal or state securities law. The Trustee shall have no obligation or
duty to monitor, determine or inquire as to compliance with any restrictions on transfer imposed
under this Indenture or under applicable law with respect to any transfer of any interest in any
Note (including any transfers between or among depositary participants or beneficial owners of
interests in any Global Note) other than to require delivery of such certificates and other
documentation or evidence as are expressly required by, and to do so if and when expressly
required by, the terms of, this Indenture, and to examine the same to determine substantial
compliance as to form with the express requirements hereof.

(b) (i) Each Global Note will be registered in the name of the Depositary or its
nominee and, so long as DTC is serving as the Depositary thereof, will bear the DTC Legend.

(ii) Each Global Note will be delivered to the Trustee as custodian for the
Depositary. Transfers of a Global Note (but not a beneficial interest therein) will be
limited to transfers thereof in Whole, but not in part, to the Depositary, its successors or
their respective nominees, except (l) as set forth in Section 2.09§bj§ iv[ and (2) transfers
of portions thereof in the form of Certificated Notes may be made upon request of an
Agent Member (for itself or on behalf of a beneficial owner) by written notice given to
the Trustee by or on behalf of the Depositary in accordance with customary procedures of
the Depositary and in compliance with this Section 2.09 and Section 2.10.

(iii) Agent l\/[embers will have no rights under this Indentrrre with respect to
any Global Note held on their behalf by the Depositary, and the Depositary may be
treated by the Company, the Trustee and any agent of the Company or the Trustee as the
absolute owner and Holder of such Global Note for all purposes whatsoever.
Notwithstanding the foregoing, the Depositary or its nominee may grant proxies and
otherwise authorize any Person (including any Agent l\/[ember and any Person that holds
a beneficial interest in a Global Note through an Agent l\/lember) to take any action which
a Holder is entitled to take under this Indenture or the Notes, and nothing herein will
impair, as between the Depositary and its Agent Members, the operation of customary
practices governing the exercise of the rights of a holder of any security.

(iv) lf (x) the Depositary notifies the Company that it is unwilling or unable to
continue as Depositary for a Global Note and a successor depositary is not appointed by
the Company within 90 days of the notice or (y) an Event of Default has occurred and is
continuing and the Trustee has received a request from the Depositary, the Trustee shall
promptly exchange each beneficial interest in the Global Note for one or more
Certificated Notes in authorized denominations having an equal aggregate principal
amount registered in the name of the owner of such beneficial interest, as identified to the
Trustee by the Depositary, and thereupon the Global Note will be deemed canceled

(c) Each Certificated Note will be registered in the name of the holder thereof or its
nominee.

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(d) A Holder may transfer a Note (or a beneficial interest therein) to another Person
or exchange a Note (or a beneficial interest therein) for another Note or Notes of any authorized
denomination by presenting to the Trustee a written request therefor stating the name of the
proposed transferee or requesting such an exchange, accompanied by any certification, opinion
or other document required by Section 2.10. The Trustee shall promptly register any transfer or
exchange that meets the requirements of this Section 2.09 by noting the same in the Register
maintained by the Trustee for the purpose; provided that:

(x) no transfer or exchange will be effective until it is registered in such
Register; and

(y) the Trustee shall not be required (i) to issue, register the transfer of.or
exchange any Note for a period of 15 days before a selection of Notes to be redeemed or
purchased pursuant to an Offer to Purchase, (-ii) to register the transfer of or exchange any
Note so selected for redemption or purchase in whole or in part, except, in the case of a
partial redemption or purchase, that portion of any Note not being redeemed or
purchased, or (iii) if a redemption or a purchase pursuant to an Offer to Purchase is to
occur after a Regular Record Date but on or before the corresponding Interest Payrnent
Date, to register the transfer of or exchange any Note on or after the Regular Record Date
and before the date of redemption or purchase. Prior to the registration of any transfer‘,
the Company, the Trustee and their agents will treat the Person in whose name the Note
is registered as the owner and Holder thereof for all purposes (whether or not the Note is
overdue), and will not be affected by notice to the contrary.

From time to time the Company will execute and the Trustee shall authenticate additional
Notes as necessary in order to permit the registration of a transfer or exchange in accordance
with this Section 2.09.

No service charge will be imposed in comrection with any transfer or exchange of any
Note, but the Company may require payment of a sum sufficient to cover any transfer tax or
similar governmental charge payable in connection therewith (other than a transfer tax or other
similar governmental charge payable upon exchange pursuant to Section 2.09§ b)§ iv )).

(e) (i) Global Nol'e to Global Note. If a beneficial interest in a Global Note is
transferred or exchanged for a beneficial interest in another Global Note, the Trustee shall (x)
record a decrease in the principal amount of the Global Note being transferred or exchanged
equal to the principal amount of such transfer or exchange and (y) record a like increase in the
principal amount of the other Global Note. Any beneficial interest in one Global Note that is
transferred to a Person who takes delivery in the form of an interest in another Global Note, or
exchanged for an interest in another Global Note, will, upon transfer or exchange, cease to be an
interest in such Global Note and become an interest in the other Global Note and, accordingly,
will thereafter be subject to all transfer and exchange restrictions, if any, and other procedures
applicable to beneficial interests in such other Global Note for as long as it remains such an
interest.

(ii) Global Note to Certificated Noie. If a beneficial interest in a Global Note

is transferred or exchanged for a Certificated No'te, the Trustee shall (x) record a decrease

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in the principal amount of such Global Note equal to the principal amount of such
transfer or exchange and (y) deliver one or more new Certificated Notes in authorized
denominations having an equal aggregate principal amount to the transferee (in the case
of a transfer) or the owner of such beneficial interest (in the case of an exchange),
registered in the name of such transferee or owner, as applicable.

(iii) Certificated Note io Global Note. lf a Certificated Note is transferred or
exchanged for a beneficial interest in a Global Note, the Trustee shall (x) cancel such
Certificated Note, (y) record an increase in the principal amount of such Global Note
equal to the principal amount of such transfer or exchange and (z) in the event that such
transfer or exchange involves less than the entire principal amount of the canceled
Certificated Note, deliver to the Holder thereof one or more new Certificated Notes in
authorized denominations having an aggregate principal amount equal to the
untransferred or unexchanged portion of the canceled Certificated Note, registered in the
name of the Holder thereof.

(iv) Certificated Note to Certificated Note. If a Certificated Note is transferred
or exchanged for another Certificated Note, the Trustee shall (x) cancel the Certificated
Note being transferred or exchanged, (y) deliver one or more new Certificated Notes in
authorized denominations having an aggregate principal amount equal to the principal
amount of such transfer or exchange to the transferee (in the case of a transfer) or the
Holder of the canceled Certificated Note (in the case of an exchange), registered in the
name of such transferee or Holder, as applicable, and (z) if such transfer or exchange
involves less than the entire principal amount of the canceled Certificated Note, deliver to
the Holder thereof one or more Certificated Notes in authorized denominations having an
aggregate principal amount equal to the untransferred or unexchanged portion of the
canceled Certificated Note, registered in the name of the Holder thereof.

Section 2.10. Restricl'ions on Transfer and Exchange. The transfer or exchange of any
Note (or' a beneficial interest therein) may only be made in accordance with this Section 2.10 and
Section 2.09 and, in the case of a Global Note (or a beneficial interest therein), the applicable
rules and procedures of the Depositary. The Trustee shall refuse to register any requested
transfer or exchange that does not comply with the preceding sentence. The Trustee shall retain
copies of all documents received in connection with the transfer or exchange of a Note (or a
beneficial interest therein), and the Company will have the right to inspect and make copies
thereof at any reasonable time upon written notice to the Trustee.

ARTICLE 3
REDEMPTION; OFFER TO PURCHASE

Section 3.01. Optional Redeniption. At any time and from time to time on or after the
Issue Date, the Company may redeem the Notes, in whole or in part, at a redemption price equal
to the percentage of principal amount set forth below plus accrued and unpaid interest thereon, to

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the applicable redemption date, if redeemed during the twelve-month period beginning on

| _]3 of the years indicated below.

 

Year Percentage
2010 1 01%
201 1 and thereafter 100%

Section 3.02. Merhod and E]jfecr of Redeniption. (a) If the Company elects to redeem
Notes, it must notify the Trustee of the redemption date and the principal amount of Notes to be
redeemed by delivering an Officers’ Certificate at least 60 days before the redemption date
(unless a shorter period is satisfactory to the Trustee). If fewer than all of the Notes are being
redeemed, the Officers’ Certificate must also specify a record date not less than 15 days after the
date of the notice of redemption is given to the Trustee, and the Notes will be redeemed pro rata,
in integral rnultiples of $1.00 (in each case with a minimum denomination of at least $1.00). The
Trustee shall notify the Company promptly of the Notes or portions of Notes to be called for
redemption Notice of redemption must be sent by the Company or at the Company’s request, by
the Trustee in the name and at the expense of the Company, to Holders whose Notes are to be
redeemed at least 30 days but not more than 60 days before the redemption date.

(b) The notice of redemption will identify the Notes to be redeemed and will include
or state the following:

(i) the redemption date;

(ii) the redemption price, including the portion thereof representing any
accrued and unpaid interest;

(iii) the place or places where Notes are to be surrendered for redemption;

(iv) Notes called for redemption must be so surrendered in order to collect the
redemption price;

(v) on the redemption date the redemption price will become due and payable
on Notes called for redemption, and interest on Notes called for redemption will cease to
accrue on and after the redemption date;

(vi) if any Note is redeemed in part, on and after the redemption date, upon
surrender of such Note, new Notes equal in principal amount to the unredeerned portion
will be issued; and

(vii) if any Note contains a CUSIP or CTNS number, no representation is being
made as to the correctness of the CUSIP or CINS number either as printed on the Notes
or as contained in the notice of redemption and that the Holder should rely only on the
other identification numbers printed on the Notes.

 

3 [Insert month and day of Issue Date.]

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(c) Once notice of redemption is sent to the Holders, Notes called for redemption
become due and payable at the redemption price on the redemption date, and upon surrender of
the Notes called for redemption, the Company shall redeem such Notes at the redemption price.
Commencing on the redemption date, Notes redeemed will cease to accrue interest. Upon
surrender of any Note redeemed in part, the Holder will receive a new Note equal in principal
amount to the unredeemed portion of the surrendered Note.

Section 3.03. Ojer to Purchase. (a) An “Offer to Purchase” means an offer by the
Company to purchase Notes as required by this Indenture. An Offer to Purchase must be made
by written offer (for purposes of this Section 3.03, the “offer”) sent to the Holders. The
Company will notify the Trustee at least 15 days (or such shorter period as is acceptable to the
Trustee) prior to sending the offer to Holders of its obligation to make an Offer to Purchase, and
the offer will be sent by the Company or, at the Company’s request, by the Trustee in the name
and at the expense of the Company.. '

(b) The offer must include or state the following as to the terms of the Offer to
Purchase:

(i) the provision of this Indenture pursuant to which the Offer to Purchase is
being made;

(ii) the aggregate principal amount of the outstanding Notes offered to be
purchased by the Company pursuant to the Offer to Purchase (including, if less than
100%, the manner by which such amount has been determined pursuant to this lndenture)
(the “purchase amount”);

(iii) the purchase price, including the portion thereof representing accrued and
unpaid interest;

(iv) an expiration date (the “expiration date”) not less than 30 days or more
than 60 days after the date of the offer, and a settlement date for purchase (the “purchase
date”) not more than five Business Days after the expiration date;

(v) information concerning the business of the Company and its Subsidiaries
which the Company in good faith believes will enable the Holders to make an informed
decision with respect to the Offer to Purchase, at a minimum to include

(A) the most recent annual and quarterly financial statements and
“Management’s Discussion and Analysis of Financial Condition and Results of
Operations” for the Company,

(B) a description of material developments in the Company’s business
subsequent to the date of the latest of the financial statements (including a
description of the events requiring the Company to make the Offer to Purchase),
and

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(C) if applicable, appropriate pro forma financial information
concerning the Offer to Purchase and the events requiring the Company to make
the Offer to Purchase;

(vi) a Holder may tender all or any portion of its Notes, subject to the
requirement that any portion of a Note tendered must be in an integral multiple of $1.00
(in each case with a minimum denomination of at least $1.00);

(vii) the place or places where Notes are to be surrendered for tender pursuant
' to the Offer to Purchase;

(viii) each Holder electing to tender a Note pursuant to the offer will be required
to surrender such Note at the place or places specified in the offer prior to the close of
business on the expiration date (such Note being, if the Company or the Trustee so
requi.res, duly endorsed or accompanied by a duly executed written instrument of
transfer);

(ix) interest on any Note not tendered, or tendered but not purchased by the
Company pursuant to the Offer to Purchase, will continue to accrue;

(x) on the purchase date the purchase price will become due and payable on
each Note accepted for purchase, and interest on Notes purchased will cease to accrue on
and after the purchase date;

(xi) Holders are entitled to withdraw Notes tendered by giving notice, which
must be received by the Company or the Trustee not later than the close of business on
the expiration date, setting forth the name of the Holder, the principal amount of the
tendered Notes, the certificate number of the tendered Notes and a statement that the
Holder is withdrawing all or a portion of the tender;

(xii) (A) if Notes in an aggregate principal amount less than or equal to the
purchase amount are duly tendered and not withdrawn pursuant to the Offer to Purchase,
the Company will purchase all such Notes, and (B) if the Offer to Purchase is for less
than all of the outstanding Notes and Notes in an aggregate principal amount in excess of
the purchase amount are tendered and not withdrawn pursuant to the offer, the Company
will purchase Notes having an aggregate principal amount equal to the purchase amount
on a pro rata basis, with adjustments so that only Notes in integral rnultiples of $1 .00 (in
each case with a minimum denomination of at least $1.00) will be purchased;

(xiii) if any Note is purchased in part, new Notes equal in principal amount to
the unpurchased portion of the Note will be issued; and

(xiv) if any Note contains a CUSlP or CINS number, no representation is being
made as to the correctness of the CUSIP or CI_NS number either as printed on the Notes
or as contained in the offer and that the Holder should rely only on the other
identification numbers printed orr the Notes.

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(c) On or prior to the purchase date, the Company Will accept tendered Notes for
purchase as required by the Offer to Purchase and deliver to the Trustee all Notes so accepted
together with an Officers’ Certificate specifying which Notes have been accepted for purchase.
On the purchase date the purchase price will become due and payable on each Note accepted for
purchase, and interest on Notes purchased will cease to accrue on and after the purchase date.
The Trustee shall promptly return to Holders any Notes not accepted for purchase and send to
Holders new Notes equal in principal amount to any unpurchased portion of any Notes accepted
for purchase in part.

(d) The Company will comply with Rule 14e-1 under the Exchange Act and all other
applicable laws in making any Offer to Purchase, and the above procedures will be deemed
modified as necessary to permit such compliance.

ARTICLE 4
COVENANTS

Section 4.01. Payrnent of Notes. (a) The Company agrees to pay the principal of and
interest on the Notes on the dates and in the manner provided in the Notes and this lndenture.
Not later than 10:00 A.M. (New York City time) on the due date of any principal of or cash
interest on any Notes, or any redemption or purchase price of the Notes, the Company will
deposit with the Trustee (or Paying Agent) money in immediately available funds sufficient to
pay such amounts, provided that if the Company or any Affiliate of the Company is acting as
Paying Agent, it will, on or before each due date, segregate and hold in a separate trust fund for
the benefit of the Holders a sum of money sufficient to pay such amounts until paid to such
Holders or otherwise disposed of as provided in this Indenture. In each case the Company will
promptly notify the Trustee of its compliance with this paragraph

(b) An installment of principal or cash interest will be considered paid on the date due
if the Trustee (or Paying Agent, other than the Company or any Affiliate of the Company) holds
on that date money designated for and sufficient to pay the installment An installment of PlK
Interest shall be considered paid on the due date if on that date the outstanding principal amount
of the Notes has been increased, or additional Notes have been issued, in an amount equal to
such P]K Interest. If the Company or any Affiliate of the Company acts as Paying Agent, an
installment of principal or interest will be considered paid on the due date only if paid to the
Holders.

(c) The Company agrees to pay interest on overdue principal, and, to the extent
lawful, overdue installments of interest at the rate per annum specified in the Notes.

(d) Payrnents in respect of the Notes represented by the Global Notes are to be made
by wire transfer of immediately available funds to the accounts specified by the Holders of the
Global Notes. With respect to Certificated Notes, the Company will make all payments by wire
transfer of immediately available funds to the accounts specified by the Holders thereof or, if no
such account is specified, by mailing a check to each Holder’s registered address.

Section 4.02. Maintenance of Ojj‘ice or Agency. The Company will maintain in the

United States of America, an office or agency where Notes may be surrendered for registration

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of transfer or exchange or for presentation for payment and where notices and demands to or
upon the Company in respect of the Notes and this Indenture may be served The Company
hereby initially designates the Corporate Trust Office of the Trustee as such office of the
Company. The Company will give prompt written notice to the Trustee of the location, and any
change in the location, of such office or agency. If at any time the Corrrparry fails to maintain
any such required office or agency or fails to furnish the Trustee with the address thereof, such
presentations, surrenders, notices and demands rrray be made or served to the Trustee.

The Company may also from time to time designate one or more other offices or agencies
Where the Notes may be surrendered or presented for any of Such purposes and may from time to
time rescind such designations. The Company shall give prompt written notice to the Trustee of
any such designation or rescission and of any change in the location of any Such other office or
agency.

Section 4.03. Existence. The Company will do or cause to be done all things necessary
to preserve and keep in full force and effect its existence and the existence of each of its
Restricted Subsidiaries in accordance with their respective organizational documents, and the
material rights, licenses and franchises of the Company and each Restricted Subsidiary, provided
that the Company is not required to preserve any such right, license or franchise, or the existence
of any Restricted Subsidiary, if the maintenance or preservation thereof is no longer desirable in
the conduct of the business of the Company and its Restricted Subsidiaries taken as a whole; and
provided further that this Section 4.03 does not prohibit any transaction otherwise permitted by
Section 4.13 or Article 5.

Section 4.04. Payrnent of T axes and other Claiins. The Company will pay or discharge,
and cause each of its Subsidiaries to pay or discharge before the same become delinquent (i) all
material taxes, assessments and governmental charges levied or imposed upon the Company or
any Subsidiary or its income or profits or property, and (ii) all material lawful claims for labor,
materials and supplies that, if unpaid, might by law becorrre a Lien upon the property of the
Company or any Subsidiary, other than any such tax, assessment, charge or claim the amount,
applicability or validity of which is being contested in good faith by appropriate proceedings and
for which adequate reserves have been established

Section 4.05. Mainl'enance ofProperties and Insurance. (a) The Company will cause
all properties used or useful in the conduct of its business or the business of any of its Restricted
Subsidiaries to be maintained and kept in good condition, repair and working order as in the
judgment of the Company may be necessary so that the business of the Company and its
Restricted Subsidiaries may be properly and advantageously conducted at all times; provided that
nothing in this Section 4.05 prevents the Company or any Restricted Subsidiary from
discontinuing the use, operation or maintenance of any of such properties or disposing of any of
them, if such discontinuance or disposal is, in the judgment of the Company, desirable in the
conduct of the business of the Company and its Restricted Subsidiaries taken as a Whole.

(b) The Company will provide or cause to be provided, for itself and its Restricted
Subsidiaries, insurance (including appropriate self-insurance) against loss or damage of the kinds
customarily insured against by corporations similarly situated and owning like properties,
including, but not limited to, products liability insurance and public liability insurance, with

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reputable insurers, in such amounts, with such deductibles and by such methods as are customary
for corporations similarly situated in the industry in which the Company and its Restricted
Subsidiaries are then conducting business.

Section 4.06. Liinitar‘ion on Debt and Disqualified or Preferred Stock. (a) The
Company:

(i) will not, and will not permit any of its Restricted Subsidiaries to, lncur any
Debt; and

(ii) will not, and will not permit any Restricted Subsidiary to, lncur any
Disqualified Stock, and will not permit any of its Restricted Subsidiaries to lncur any
Preferred Stock (other than Disqualified or Preferred Stock of Restricted Subsidiaries
held by the Company or a Wholly Owned Restricted Subsidiary, so long as it is so held);

provided that the Company or any Guarantor may lncur Debt or Disqualified Stock if, on the
date of the Incurrence, after giving effect to the lncurrence and the receipt and application of the
proceeds therefrom, the Fixed Charge Coverage Ratio is not less than 2.00 to 1.00.

(b) Notwithstanding the foregoing, the Company and, to the extent provided below,
any Restricted Subsidiary may lncur the following (“Permitted Debt”):

(i) Debt (“Permitted Bank Debt”) of the Company pursuant to the Credit
Agreements; provided that the aggregate principal amount of such Debt at any time
outstanding does not exceed (a) the greater of (x) $[@] million, and (y) the Borrowing
Base Arnount, plus (b) $60 million, and Guarantees of such Debt by any Restricted
Subsidiary;

(ii) Debt of the Company or any Restricted Subsidiary to the Company or any
Restricted Subsidiary so long as such Debt continues to be owed to the Company or a
Restricted Subsidiary and which, if the obligor is the Company or a Guarantor, is
subordinated in right of payment to the Notes;

(iii) Debt of the Company pursuant to the Notes and Debt of any Guarantor
pursuant to a Note Guaran'q/ of the Notes in an aggregate principal amount not to exceed
$50 million plus the amount of any PIK Interest;

(iv) Debt (“Permitted Refinancing Debt”) constituting an extension or
renewal of, replacement of, or substitution for, or issued in exchange for‘, or the net
proceeds of which are used to repay, redeem, repurchase, refinance or refund, including
by way of defeasance (all of the above, for purposes of this clause, “refinance”) then
outstanding Debt in an amount not to exceed the principal amount of the Debt so
refinanced, plus premiums, fees and expenses; provided that

(A) in case the Debt to be refinanced is subordinated in right of
payment to the Notes, the new Debt, by its terms or by the terms of any agreement
or instrument pursuant to which it is outstanding, is expressly made subordinate in

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right of payment to the Notes at least to the extent that the Debt to be refinanced
is subordinated to the Notes,

(B) the Average Life of the new Debt is at least equal to the remaining
Average Life of the Debt to be refinanced,

(C) in no event may Debt of the Company be refinanced pursuant to
this clause by means of any Debt of any Restricted Subsidiary that is not a
Guarantor, and in no event may Debt of a Guarantor be refinanced pursuant to
this clause by means of any Debt of any Restricted Subsidiary that is not a
Guarantor, and

(D) Debt lncurred pursuant to clauses (i), (ii), (xi) and (xii) may not be
refinanced pursuant to this clause;

(v) Hedging Agreements of the Company or any Restricted Subsidiary
entered into in the ordinary course of business for the purpose of limiting risks associated
with the business of the Company and its Restricted Subsidiaries and not for speculation;

(vi) Debt of the Company or any Restricted Subsidiary with respect to letters
of credit and bankers’ acceptances issued in the ordinary course of business and not
supporting Debt, including letters of credit supporting performance, surety or appeal
bonds or indemnification adjustment of purchase price or similar obligations incurred in
connection with the acquisition or disposition of any business or assets;

(vii) Acquired Debt, provided that after giving effect to the lncurrence thereof,
the Company could lncur at least $1.00 of Debt under Section 4.06§ a[;

(viii) Debt of the Company or any Restricted Subsidiary outstanding on the
Issue Date (and, for purposes of clause (iv)(D), not otherwise constituting Permitted
Debt);

(ix) Debt of the Company or any Restricted Subsidiary, which may include
Capital Leases, lncurred on or after the Issue Date no later than 180 days after the date of
purchase or completion of construction or improvement of property for the purpose of
financing all or any part of the purchase price or cost of construction or improvement,
provided that the aggregate outstanding principal amount of any Debt Irrcurred pursuant
to this clause (ix) may not exceed (a) the greater of (i) 3100 million or (ii) 3% of
Tangible Assets (measured at the time of lncurrence of any such Debt), in each case less
(b) the aggregate outstanding amount of Permitted Refinancing Debt lncurred to
refinance Debt lncurred pursuant to this clause (ix);

(x) Debt of the Company or any Guarantor consisting of Guarantees of Debt
of the Company or any Guar'antor lncurred under any other clause of this covenant;

(xi) Debt of the Company or a Restricted Subsidiary owed to any Person in
connection with liability insurance provided by such Person to the Company or such

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Restricted Subsidiary, pursuant to reimbursement or indemnification obligations to such
Person, in each case incurred in the ordinary course of business;

(xii) Debt in respect of performance bonds; and

(xiii) other Debt of the Company or any Restricted Subsidiary lncurred on or
after the Issue Date not otherwise permitted in an aggregate principal amount at any time
outstanding not to exceed $15.0 million

For' purposes of determining compliance with this covenant, in the event that an item of
Debt meets the criteria of more than one of the categories of Permitted Debt described in clauses
(i) through (xiii) above or is entitled to be lncurred pursuant to paragraph (a) of this Section 4.06,
the Company Shall, in its sole discretion, classify or reclassify, or later divide, classify or
reclassify, such item of Debt in any manner that complies with this Section 4.06; provided that
all Debt under the Credit Agreements outstanding on the Issue Date shall be deemed to have
been lncurred pursuant to clause (i) and the Company shall not be permitted to reclassify all or
any portion of such Debt under the Credit Agreements outstanding on the lssue Date.

Notwithstanding anything contained herein, neither the Company nor any Guarantor may
lncur any Debt that is subordinate in right of payment to other Debt of the Company or the
Guarantor unless such Debt is also subordinate in right of payment to the Notes or the relevant
Note Guaranty on substantially identical terms.

Section 4.07. Li)niial'ion on Restricted Payinenis. (a) The Company will not, and will
not permit any Restricted Subsidiary to, directly or indirectly (the payments and other actions
described in the following clauses being collectively “Restricted Payments”):

(i) declare or pay any dividend or make any distribution on its Equity
Interests (other than dividends or distributions paid in the Company’s Qualified Equity
lnterests) held by Persons other than the Company or any of its Wholly Owned Restricted
Subsidiaries;

(ii) purchase, redeem or otherwise acquire or retire for value any Equity
Interests of the Company or any Restricted Subsidiary held by Persons other than the
Company or any of its Wholly Owned Restricted Subsidiaries;

(iii) repay, redeem, repurchase, defease or otherwise acquire or retire for value,
or make any payment on or with respect to, any Subordinated Debt except a payment of
interest (including (a) any portion of interest that may be satisfied by deferring payment

of such amount to a later date and (b) the cash payment at or prior to maturity of any
amount previously deferred pursuant to clause (a)) or principal at Stated Maturity; or

(iv) make any Irrvestrnent other than a Permitted Investment;
unless, at the time of, and after giving effect to, the proposed Restricted Payrnent:

(l) no Default has occurred and is continuing; and

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(2) the Company could lncur at least $1.00 of Debt under the Fixed Charge
Coverage Ratio test set forth in Section 4.06§ar.

The amount expended in any Restricted Payment, if other than in cash, will be deemed to
be the fair market value of the relevant non-cash assets, as determined in good faith by the Board
of Directors, whose determination will be conclusive and evidenced by a Board Resolution.

(b) The foregoing will not prohibit:

(i) the payment of any dividend within 60 days after the date of declaration
thereof if, at the date of declaration, such payment would comply with paragraph (a);

(ii) dividends or distributions by a Restricted Subsidiary payable, on a pro rata
basis or on a basis more favorable to the Company, to all holders of any class of Capital
Stock of such Restricted Subsidiary a majority of which is held, directly or indirectly
through Restricted Subsidiaries, by the Company;

(iii) the repayment, redemption, repurchase, defeasance or other acquisition or
retirement for value of Subordinated Debt with the proceeds of, or in exchange for,
Permitted Refinancing Debt;

(iv) the purchase, redemption or other acquisition or retirement for value of
Equity Interests of the Company or any Restricted Subsidiary in exchange for, or out of
the proceeds of a substantially concun'ent offering of, Qualified Equity Interests of the
Company or of a cash contribution to the common equity of the Company;

(v) the repayment, redemption, repurchase, defeasance or other acquisition or
retirement of Subordinated Debt of the Company in exchange for, or out of the proceeds
of7 a substantially concurrent offering of, Qualified Equity Interests of the Company or of
a cash contribution to the common equity of the Company;

(vi) any Investrnent made in exchange for, or out of the net cash proceeds of, a
substantially concurrent offering of Qualified Equity Interests of the Company or of a
cash contribution to the common equity of the Company;

(vii) the pur'chase, redemption or other acquisition or retirement for value of
Equity Interests of the Company or Neenah Enterprises held by officers, directors or
employees or former officers, directors or employees (or their estates or beneficiaries
under their estates), upon death, disability, retirement, severance or termination of
employment or pursuant to any agreement under which the Equity Interests were issued;
provided that the aggregate cash consideration paid therefor after the Issue Date does not
exceed an aggregate amount of $l,000,000 in any fiscal year (with unused amounts in
any fiscal year being permitted to be carried over for the two succeeding fiscal years);

(viii) the payment of cash dividends on any Disqualified Stock of the Company
or a Restricted Subsidiary or Preferred Stock of a Restricted Subsidiary lncurred after the
Issue Date in compliance with Section 4.06;

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(ix) the repurchase of any Subordinated Debt at a purchase price not greater
than 101% of the principal amount thereof in the event of (x) a change of control
pursuant to a provision no more favorable to the holders thereof than Section 4.12 or (y)
an Asset Sale pursuant to a provision no more favorable to the holders thereof than
Section 4.13, provided that, in each case, prior to the repurchase the Company has made
an Offer to Purchase and repurchased all Notes issued under this Indenture that were
validly tendered for payment in connection With the Offer to Purchase;

(x) [the payment of a dividend or distribution by the Company and its
Subsidiaries, directly or indirectly, to Neenah Enterprises in an amount sufficient to
permit Neenah Enterprises to pay its consolidated, combined or unitary United States
federal, state and local tax liabilities relating to the business of the Company and its
Subsidiaries, provided that Neenah Enterprises applies the amount of such dividend or
distribution for such purpose at approximately such time;]4

(xi) payments by the Company to NFC Castings or Neenah Enterprises not to
exceed an amount necessary to permit NFC Castings or Neenah Enterprises to (A) make
payments in respect to its indemnification obligations owing to directors, officers, or
other Persons under NFC Castings’ or Neenah Enterprises’ charter or by-laws or pursuant
to written agreements with any such Person, (B) make payments in respect of its other
operational expenses (other than taxes) incurred in the ordinary course of business to the
extent related to acting as a holding company for the Company, or (C) make payments in
respect of indemnification obligations and costs and expenses incurred by Neenah
Enterprises in connection with any offering of common stock of Neenah Enterprises;

(xii) the making of any distribution or payment required to be made on or after
the Issue Date pursuant to the Plan and Confirmation Order; and

(xiii) any other Restricted Payrnent, which together With all other Restricted
Payrnents made pursuant to this clause (xii) on or after the lssue Date, does not exceed
$l0.0 million; and

provided that, in the case of clauses (vi), (vii), (viii), (xi) or (xiii), no Default has occurred and is
continuing or would occur as a result thereof.

(c) Proceeds of the issuance of Qualified Equity Interests will be included under
clause (iii) of paragraph (a) only to the extent they are not applied as described in clause (iv), (v)
or (vi) of paragraph (b). Restricted Payrnents permitted pursuant to clause (iii), (iv), (v), (vi) or
(x) of paragraph (b) will not be included in making the calculations under clause (iii) of
paragraph (a).

(d) Not later than the date of making any Restricted Payrnent, the Company shall
deliver to the Trustee an Officers’ Certificate stating that the Restricted Payrnent is permitted and
setting forth the basis upon which the calculations required by the covenant were calculated,

 

4 [Note: Tax structure to be confirmed.]

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which calculations may be based on the Company’s latest available financial statements,
delivered, or required to be delivered pursuant to Section 4.17.

Section 4.08. Limiiation on Liens. The Company will not, and will not permit any
Restricted Subsidiary to, directly or indirectly, incur or permit to exist any Lien of any nature
whatsoever on any of its properties or assets, whether owned at the Issue Date or thereafter
acquir'ed, other than Permitted Liens.

Section 4.09. Li)nii'ation on Sale and Leaseback Transacl'ions. The Company will not,
and will not permit any Restricted Subsidiary to, enter into any Sale and Leaseback Transaction
with respect to any property or asset unless

(a) the Company or the Restricted Subsidiary would be entitled to

(i) \ lncur Debt in an amount equal to the Attributable Debt with respect to
such Sale and Leaseback Transaction pursuant to Section 4.06, and

(ii) create a Lien on such property or asset securing such Attributable Debt
pursuant to Section 4.08,

in which case, the corresponding Debt and Lien will be deemed lncurred pursuant to those
provisions, and

(b) the Company complies with Section 4.13 in respect of such transaction

Section 4.10. Limitation on Dividend and Other Paymenl' Restrictions A]j”ecting
Restricted Subsidiaries, (a) Except as provided in paragraph (b), the Company will not, and will
not permit any Restricted Subsidiary to, create or otherwise cause or permit to exist or become
effective any consensual encumbrance or restriction of any kind on the ability of any Restricted
Subsidiary to

(i) pay dividends or make any other distributions on any Equity Interests of
the Restricted Subsidiary owned by the Company or any other Restricted Subsidiary,

(ii) pay any Debt or other obligation owed to the Company or any other
Restricted Subsidiary,

(iii) ' make loans or advances to the Company or any other Restricted
Subsidiary, or

(iv) transfer any of its property or assets to the Company or any other
Restricted Subsidiary.

(b) The provisions of paragraph (a) do not apply to any encumbrances or restrictions

(i) existing on the Issue Date in the Credit Agreements, this lndenture, the
Security Docurnents or any other agreements in effect on the Issue Date, and any
extensions, renewals, replacements or refinancirrgs of any of the foregoing; provided that

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the encumbrances and restrictions in the extension, renewal, replacement or refinancing
are, taken as a whole, no less favorable in any material respect to the Noteholders than
the encumbrances or restrictions being extended, renewed, replaced or refinanced;

(ii) existing under or by reason of applicable law;
(iii) existing

(A) with respect to any Person, or to the property or assets of any
Person, at the time the Person is acquired by the Company or any Restricted
Subsidiary, or

(B) with respect to any Unrestricted Subsidiary at the time it i_s
designated or is deemed to become a Restricted Subsidiary,

which encumbrances or restrictions (1) are not applicable to any other Person or the
property or assets of any other Person and (2) were not put in place in anticipation of
such event and any extensions, renewals, replacements or refinancings of any of the
foregoing, provided the encumbrances and restrictions in the extension, renewal,
replacement or refinancing are, taken as a whole, no less favorable in any material respect
to the Noteholders than the encumbrances or restrictions being extended, renewed,
replaced or refinanced;

(iv) of the type described in clause (a)(iv) arising or agreed to in the ordinary
course of business (A) that restrict in a customary manner the subletting, assignment or
transfer of any property or asset that is subject to a lease or license or (B) by virtue of any
Lien on, or agreement to transfer, option or similar right with respect to any property or
assets of, the Company or any Restricted Subsidiary;

(v) with respect to a Restricted Subsidiary and imposed pursuant to an
agreement that has been entered into for the sale or disposition of all or substantially all
of the Capital Stock of, or property and assets of, the Restricted Subsidiary that is
permitted by Section 4.13;

(vi) contained in the terms governing any Permitted Refinancing Debt, which
terms are, taken as a whole, no less favorable in any material respect to the Noteholders
than those contained in the agreements governing the Debt being refinanced; or

(vii) required pursuant to this Indenture

Section 4.11. Guaranries by Restricted Subsidiaries. lf the Company or any of its
Restricted Subsidiaries acquires or creates a Wholly Owned Dorrrestic Restricted Subsidiary after
the date of this Indenture or acquires or creates any other Restricted Subsidiary and such
Restricted Subsidiary guarantees any other Debt of the Company, the new Restricted Subsidiary
must provide a Note Guaranty and become a party to the Security Docurnents (and pledge its
assets to the extent they would constitute Collateral pursuant to Section l l.01§b [).

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A Restricted Subsidiary required to provide a Note Guaranty shall execute a
supplemental indenture substantially in the form of Exhibit B, and deliver an Opinion of Counsel '
to the Trustee to the effect that the supplemental indenture has been duly authorized, executed
and delivered by the Restricted Subsidiary and constitutes a valid and binding obligation of the
Restricted Subsidiary, enforceable against the Restricted Subsidiary in accordance with its terms
(subject to customary exceptions).

Section 4.12. Reparchase of Notes Upon a Change of Conlrol. Not later than 30 days
following a Change of Control, the Company will make an Offer to Purchase all outstanding
Notes at a purchase price equal to 101% of the principal amount plus accrued and unpaid interest
to the date of pur'chase.

Section 4.13. Limiiaiion on Asset Sales. The Company will not, and will not permit any
Restricted Subsidiary to, make any Asset Sale unless the following conditions are metz

(a) The Asset Sale is for fair market value, as determined in good faith by the Board
of Directors.

(b) At least 75% of the consideration received by the Company or such Restricted
Subsidiary consists of cash received at closing (except in the case of a Permitted Asset Swap).

For purposes of this clause (b): the assumption by the purchaser of Debt or other obligations
(other than Subordinated Debt) of the Company or a Restricted Subsidiary pursuant to a
customary novation agreement, and instruments or securities received from the purchaser that are
promptly, but in any event within 60 days of the closing, converted by the Company to cash, to
the extent of the cash actually so received, shall be considered cash received at closing

(c) Within 365 days after the receipt of any Net Cash Proceeds from an Asset Sale,
the Net Cash Proceeds may be used

(i) to repay Debt under the Credit Agreements in each case owing to a Person
other than the Company or any Restricted Subsidiary, or

(ii) to acquire all or substantially all of the assets of a Permitted Business, or a
majority of the Voting Stock of another Person that thereupon becomes a Restricted
Subsidiary engaged in a Permitted Business, or to make capital expenditures or otherwise
acquire long-term assets that are to be used in a Permitted Business; provided that a
binding commitment shall be treated as a permitted application of the Net Cash Proceeds
from the date of such commitment if (x) such acquisition or capital expenditure is
consummated within 545 days after receipt by the Company or any Restricted Subsidiary
of the Net Cash Proceeds of any Asset Sale and (y) if such acquisition or capital
expenditure is not consummated within the period set forth in subclause (x), the Net Cash
Proceeds not so applied will be deemed to be Excess Proceeds (as defined below).

(d) The Net Cash Proceeds of an Asset Sale not applied pursuant to clause (c) within
the time periods specified therein constitute “Excess Proceeds”. Excess Proceeds of less than
$l0.0 million will be carried forward and accumulated Subject to the Intercreditor Agreement,

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when accumulated Excess Proceeds equal or exceed $10.0 million, the Company must, within 30
days, make an Offer to Purchase Notes having a principal amount equal to

(i) accumulated Excess Proceeds, multiplied by

(ii) a fraction (x) the numerator of which is equal to the outstanding principal
amount of the Notes and (y) the denominator of which is equal to the outstanding
principal amount of the Notes and all pari passu Debt that is also secured by Collateral
on the same basis as the Notes and similarly required to be repaid, redeemed or tendered
for in connection with the Asset Sale,

rounded down to the nearest $1.00. The purchase price for the Notes will be 100% of the
principal amount plus accrued and unpaid interest to the date of purchas,e. Uporr completion of
the Offer to Purchase, Excess Proceeds will be reset at zero, and any Excess Proceeds remaining
after consummation of the Offer to Purchase may be used for any purpose not otherwise
prohibited by this Indenture.

Section 4.14. Lilnitaiion on Transaci'ions with A]j‘iliar‘es. (a) The Company will not,
and will not permit any Restricted Subsidiary to, directly or indirectly, enter into, renew or
extend any transaction or arrangement including the purchase, sale, lease or exchange of
property or assets, or the rendering of any service with any Affiliate of the Company or any
Restricted Subsidiary (a “Related Party Transaction”), except upon fair and reasonable terms
no less favorable to the Company or the Restricted Subsidiary than could be obtained in a
comparable arm’s-length transaction with a Person that is not an Affiliate of the Company.

(b) Any Related Party Transaction or series of Related Party Transactions with an
aggregate value in excess of $5.0 million must first be approved by a majority of the Board of
Directors who are disinterested in the subject matter of the transaction pursuant to a Board
Resolution delivered to the Trustee. Prior to entering into any Related Party Transaction or
series of Related Party Transactions with an aggregate value in excess of $15.0 million, the
Company must, in addition, obtain and deliver to the Trustee a favorable written opinion from a
nationally recognized investment banking firm as to the fairness of the transaction to the
Company and its Restricted Subsidiaries from a financial point of view.

(c) The foregoing paragraphs do not apply to:

(i) any transaction between the Company and any of its Restricted
Subsidiaries or between Restricted Subsidiaries of the Company and any merger of the
Company and any direct or indirect parent of the Company; provided, however, that such
parent shall have no material liabilities and no material assets other than cash, Cash
Equivalents and the Capital Stock of the Company or intermediate parent companies
(which themselves have no other material assets or liabilities) and such merger is
otherwise in compliance with the terms of this lrrdenture and effected for a bona fide
business purpose;

(ii) any reasonable fees, advances and compensation (including incentive
compensation) provided to, and indemnity provided on behalf of, officers, directors and

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employees of NFC Castings, Neenah Enterprises, the Company and its Restricted
Subsidiaries as determined in good faith by the Board of Directors of the Company;

(iii) any Restricted Payrnents of a type described in paragraphs (a)(i) and (a)(ii)
under Section 4.07 if permitted by that covenant;

(iv) transactions or payments pursuant to any employee, officer or director
compensation or benefit plans or arrangements entered into in the ordinary course of
busirress;

(v) transactions pursuant to any contract or agreement in effect on the date of
this lndenture, as amended, modified or replaced from time to time So long as the
amended, modified or new agreements, taken as a Whole, are no less favorable to the
Company and its Restricted Subsidiaries than those in effect on the date of this Indenture;

(vi) payment of principal of, and interest on, the Notes held by Affiliates;
(vii) Debt permitted pursuant to paragraph (b)(ii) under Section 4.06;

(viii) non-exclusive licenses of intellectual property among the Company and
the Restricted Subsidiaries or among the Restricted Subsidiaries; or

(ix) any transaction or series of related transactions With any customer or
supplier in the ordinary course of business that are on terms no less favorable than could
be obtained in a comparable arm’s-length transaction with a Person that is not an Affiliate
of the Company, which transaction or series of transactions, if their aggregate value
exceeds $5.0 million, are approved by a majority of the Board of Directors Who are
disinterested in the subject matter thereof.

Section 4.15. Line of Business. The Company will not, and will not permit any of its
Restricted Subsidiaries, to engage in any business other than a Permitted Business, except to an
extent that so doing would not be material to the Company and its Restricted Subsidiaries, taken
as a whole.

Section 4.16. Designaiion of Restricted and Unrestricted Subsidiaries, (a) The Board
of Directors may designate any Subsidiary (including a newly acquired or created Subsidiary),
other than any entity that owns or operates the facilities that are owned or operated on the Issue
Date by the Company (but only With respect to the manufacturing facilities located in Neenah,
Wisconsin), Dalton Corporation or Deeter Foundry, Inc., to be an Unrestricted Subsidiary if it
meets the following qualifications and the designation would not cause a Default.

(i) Such Subsidiary does not own any Capital Stock of the Company or any
Restricted Subsidiary or hold any Debt of, or any Lien on any property of, the Company
or any Restricted Subsidiary.

(ii) At the time of designation, the designation would be permitted under
Section 4.07.

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(iii) To the extent the Debt of the Subsidiary is not Non-Recourse Debt, any
Guarantee or other credit support thereof by the Company or any Restricted Subsidiary is
permitted under Sections 4.06 and 4.07.

(iv) The Subsidiary is not party to any transaction or an'angement with the
Company or any Restricted Subsidiary that would not be permitted under Section 4.14.

(v) Neither the Company nor any Restricted Subsidiary has any obligation to
subscribe for additional Equity Interests of the Subsidiary or to maintain or preserve its
financial condition or cause it to achieve specified levels of operating results, except to
the extent permitted by Sections 4.06 and _4_.(_)_7_.

Once so designated the Subsidiary will remain an Urnestricted Subsidiary, subject to paragraph

(b).

(b) (i) A Subsidiary previously designated an Unrestricted Subsidiary which fails
to meet the qualifications set forth in paragraph (a) will be deemed to become at that time a
Restricted Subsidiary, subject to the consequences set forth in paragraph (d).

(ii) The Board of Directors may designate an Unrestricted Subsidiary to be a
Restricted Subsidiary if the designation would not cause a Default.

(c) Upon a Restricted Subsidiary becoming an Urnestricted Subsidiary,

(i) all existing Investments of the Company and the Restricted Subsidiaries
therein (valued at the Company’s proportional share of the fair market value of its assets
less liabilities) will be deemed made at that time;

(ii) all existing Capital Stock or Debt of the Company or a Restricted
Subsidiary held by it will be deemed lncurred at that time, and all Liens on property of
the Company or a Restricted Subsidiary held by it will be deemed incurred at that time;

(iii) all existing transactions between it and the Company or any Restricted
Subsidiary will be deemed entered into at that time;

(iv) it is released at that time from its Note Guaranty, if any, and any Liens
granted by such Restricted Subsidiary will also be released; and

(v) it will cease to be subject to the provisions of this Indentrrre as a Restricted
Subsidiary.

(d) Upon an Unrestricted Subsidiary becoming, or being deemed to become, a
Restricted Subsidiar'y,

(i) all of its Debt and Disqualified or Preferred Stock will be deemed lncurred
at that time for purposes of Section 4.06, but will not be considered the sale or issuance
of Equity Interests for purposes of Section 4.13;

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(ii) Investments therein previously charged under Section 4.07 will be credited
thereunder;

(iii) it may be required to issue a Note Guaranty pursuant to Section 4.11 and
pledge its assets as Collateral for the Notes; and

(iv) it will thenceforward be subject to the provisions of this Indenture as a
Restricted Subsidiary.

(e) Any designation by the Board of Directors of a Subsidiary as a Restricted
Subsidiary or Unrestricted Subsidiary shall be evidenced to the Trustee by promptly filing with
the Trustee a copy of the Board Resolution giving effect to the designation and an Officers’
Certificate certifying that the designation complied with the foregoing provisions.

Section 4. 17 Financial Repor is (a) Whether or not the Company rs subject to the
reporting requirements of Section 13 or 15(d) of the Exchange Act, the Company shall use its
commercially reasonable efforts to disseminate quarterly unaudited and annual audited
consolidated statements of operations and cash flows and a consolidated balance sheet as of the
end of the applicable period, in each case, including related notes and a brief narrative discussion
and analysis of such financial information, through the Pink Sheets New Service, or by other
means reasonably designed to make such information available as determined by the Board of
Directors, until such time as either the Company or Neenah Enterprises becomes a reporting
company under the Exchange Act. In accordance with the foregoing7 the Company will use its
commercially reasonable efforts to make such quarterly financial information available no later
than forty-five (45) calendar days after the end of each of the first three fiscal quarters, and
annual financial information available no later than ninety (90) calendar days after the end of the
fourth fiscal quarter, of each fiscal year, provided that no such report shall be due for periods
ending prior to the Issue Date.

(b) For' so long as any of the Notes remain outstanding and constitute “restricted
securities” under Rule 144, the Company will furnish to the Holders of the Notes and prospective
investor's, upon their request, the information required to be delivered pursuant to Rule
144A(d)(4) under the Securities Act.

(c) All obligors on the Notes will comply with Section 314(a) of the Trust Indenture
Act.

(d) Delivery of these reports and information to the Trustee is for informational
purposes only and the Trustee’s receipt of them shall not constitute constructive notice of any
information contained therein or determinable from information contained therein, including the
Company’s compliance with any of its covenants hereunder (as to which the Trustee is entitled
to rely exclusively on Officers’ Certificates).

Section 4.18. Reporl'S To Trusi'ee.

(a) The Company shall deliver to the Trustee within 120 days after the end of each
fiscal year a certificate from the principal executive, financial or accounting officer of the
Company stating that the officer has conducted or supervised a review of the activities of the

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Company and its Restricted Subsidiaries and their performance under this Indenture and that,
based upon such review, the Company has fulfilled its obligations hereunder or‘, if there has been
a Default, specifying the Default and its nature and status.

(b) The Company Shall deliver to the Trustee, as soon as possible and in any event
within 30 days after the Company becomes aware or should reasonably become aware of the
occurrence of a Default, an Officers’ Certificate setting forth the details of the Default, and the
action which the Company proposes to take with respect thereto.

(c) The Company shall deliver to the Trustee within 120 days after the end of each
fiscal year of the Company a written statement by the Company’s independent public
accountants stating whether', in connection with their audit examination, any Default has come to
their attention and, if such a Default has come to their attention, specifying the nature and period
of the existence thereof; provided, however, that if the Company’s independent public
accountants are unable to provide such written statement due to the existence of a rule, regulation
or policy prohibiting such accountants from delivering such written statement, then the Company
shall not be required to provide such written statement to the Trustee; and

(d) The Company shall deliver to the Trustee, within 120 days after the end of each
fiscal year, beginning with the fiscal year ending September 30, 2010, a written Opirrion of
Counsel as to the continued perfection of the liens of the Security Docurnents on the Collateral,
to the extent required by Section 314(b)(2) of the Trust Indenture Act.

Section 4.19. lmpairnreni' OfSecuriiy lnr‘eresi; Fz¢riher Assrrrances,' Collateral
Inspeciions and Reporis,' Cosi's and Indeinni]‘icaiion.

(a) Neitlrer the Company nor any of its Restricted Subsidiaries will take any action,
or knowingly or negligently omit to take any action, which action or omission might or would
have the result of materially impairing the security interest with respect to the Collateral for the
benefit of the Trustee and the Noteholders in contravention of the provisions of this Indenture.

(b) The Company and each of its Restricted Subsidiaries will make, execute, endorse,
acknowledge, file, record, register and/or deliver such agreements, documents, instruments, and
further assurances (including, without limitation, Uniform Commercial Code financing
statements, mortgages, deeds of trust, vouchers, invoices7 schedules, confirmatory assignments,
conveyances, transfer endorsements, powers of attorney, certificates, real property surveys,
reports, landlord waivers, bailee agreements and control agreements), and take such other
actions, as may be required under applicable law or as the Trustee or the Collateral Agent may
deem reasonably appropriate or advisable to cause the Collateral Requirement to be and remain
satisfied and otherwise to create, perfect, preserve or protect the security interest in the Collateral
of the secured parties under the Security Documents, all at the Company’s expense.

(c) Upon request of the Trustee or the Collateral Agent at any time after an Event of
Default has occurred and is continuing, the Company shall,` and shall cause its Restricted
Subsidiaries to, (i) permit the Trustee or the Collateral Agent or any advisor, auditor, consultant,
attorney or representative acting for the Trustee or the Collateral Agent, upon reasonable notice
to the Company and during normal business hours, to visit and inspect any of the property of the

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Company and its Restricted Subsidiaries, to review, make extracts from and copy the books and
records of the Company and its Restricted Subsidiaries relating to any such property, and to
discuss any matter pertaining to any such property with the officers and employees of the
Company and its Restricted Subsidiaries, and (ii) deliver to the Trustee or the Collateral Agent
such reports, including valuations, relating to any such property or any Lien thereon as the
Trustee or such Collateral Agent may request.

(d) The Company shall bear and pay all legal expenses, collateral audit and valuation
costs, filing fees, insurance premiums and other costs associated with the performance of the
obligations of the Company and its Restricted Subsidiaries set forth in this Section 4.19 and also
shall pay, or promptly reimburse the Trustee and the Collateral Agent for, all costs and expenses
incurred by thc Trustee or the Collateral Agent in connection therewith, including all reasonable
fees and charges of any advisors, auditors7 consultants, attorneys or representatives acting for the
Trustee or for the Collateral Agent.

ARTICLE 5
CONSOLIDATION, MERGER OR SALE OF ASSETS

Section 5.01. Consolidaiion, Merger or Sale of Asseis by the Company,' No Lease ofAll
or Srrbsl'antially All Assets. (a) The Company will not

(i) consolidate with or merge with or into any Person, or

(ii) sell, convey, transfer, or otherwise dispose of all or substantially all of its
assets as an entirety or substantially an entirety, in one transaction or a series of related
transactions, to any Person, or

(iii) permit any Person to merge with or into the Company unless

(A) either (x) the Company is the continuing Person or (y) the
resulting, surviving or transferee Person is a corporation organized and validly
existing under the laws of the United States of America or any jurisdiction thereof
and expressly assumes by supplemental indenture allof the obligations of the
Company under this Indenture, the Notes, and the Security Documents;

(B) immediately after giving effect to the transaction, no Default has
occurred and is continuing;

(C) immediately after giving effect to the transaction on a pro forma
basis, the Company or the resulting surviving or transferee Person could lncur at
least $1.00 of Debt pursuant to the Fixed Charge Coverage Ratio test set forth

under Section 4.06ta); and

(D) the Company delivers to the Trustee an Officers’ Certificate and an
Opinion of Counsel, each stating that the consolidation, merger or transfer and the
supplemental indenture (if any) comply with this Indenture;

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provided, that clauses (B) and (C) do not apply (i) to the consolidation or merger of the Company
with or into a Wholly Owned Restricted Subsidiary or the consolidation or merger of a Wholly
Owned Restricted Subsidiary with or into the Cornpany, (ii) if, in the good faith determination of
the Board of Directors of the Cornpany, whose determination is evidenced by a Board
Resolution, the Solc purpose of the transaction is to change the jurisdiction of incorporation of
the Company or (iii) to any merger of the Company and any direct or indirect parent of the
Company, provided farther, in the case of this clarrse (iii), that such parent shall have no material
liabilities and no material assets other than cash, Cash Equivalents and the Capital Stock of the
Company or intermediate parent companies (which themselves have no other material assets or
liabilities) and such merger is otherwise in compliance with the terms of this Indenture and
effected for a bona fide business purpose.

(b) The Company shall not lease all or substantially all of its assets, whether in one
transaction or a series of transactions, to one or more other Persons.

(c) Upon the consummation of any transaction effected in accordance with these
provisions, if the Company is not the continuing Person, the resulting, surviving or transferee
Person will succeed to, and be substituted for, and may exercise every right and power of, the
Company under this lndenture, the Notes and the Security Documents with the same effect as if
such successor Person had been named as the Company in this Indenture. Upon such
substitution, unless the successor is one or more of the Company’s Subsidiaries, the Company
will be released from its obligations under this Indenture, the Notes, and the Security
Documents.

Section 5.02. Consolidaiion, Merger or Sale of Assers by a Guarantor. No Guarantor
may

(i) consolidate with or merge with or into any Person, or

(ii) sell, convey, transfer or dispose of, all or substantially all its assets as an
entirety or substantially as an entirety, in one transaction or a series of related
transactions, to any Person, or

(iii) permit any Person to merge with or into the Guarantor unless

(A) the other Person is the Company or any Wholly Owned Restricted
Subsidiary that is a Guarantor or becomes a Guarantor concurrently with the
transaction; or

(B) (1) either (x) the Guarantor is the continuing Person or (y) the
resulting, surviving or transferee Person expressly assumes by supplemental
indenture all of the obligations of the Guarantor under its Note Guaranty, and the
Security Documents; and

(2) immediately after giving effect to the transaction, no
Default has occurred and is continuing; or

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(C) the transaction constitutes a sale or other disposition (including by
way of consolidation or merger) of the Guarantor or the sale or disposition of all
or substantially all the assets of the Guarantor (in each case other than to the
Company or a Domestic Restricted Subsidiary) otherwise permitted by this'
Indenture

ARTICLE 6
DEFAULT AND REMEDIES

Section 6.01. Evenis of Default. An “Event of Default” occurs if

(a) the Company defaults in the payment of the principal of any Note when the same
becomes due and payable at maturity, upon acceleration or redemption, or otherwise (other than
pursuant to an Offer to Purchase);

(b) the Company defaults in the payment of interest on any Note when the same
becomes due and payable, and the default continues for a period of 30 days;

(c) the Company fails to make an Offer to Purchase and thereafter accepts and pays
for Notes tendered when and as required pursuant to Section 4.12 or Section 4.13, or the
Company or any Guarantor fails to comply with Article 5;

 

(d) the Company defaults in the performance of or breaches any other covenant or
agreement of the Company in this Indenture, under the Notes or in the Security Documents and
the default or breach continues for a period of 60 consecutive days after written notice to the
Company by the Trustee or to the Company and the Trustee by the Holders of 25% or more in
aggregate principal amount of the Notes;

(e) there occurs with respect to any Debt of the Company or any of its Significant
Restricted Subsidiaries having an outstanding principal amount of $15.0 million or more in the
aggregate for all such Debt of all such Persons (i) an event of default that results in such Debt
being due and payable prior to its scheduled maturity or (ii) failure to make a principal payment
when due and such defaulted payment is not made, waived or extended within the applicable
grace period;

(f) one or more final judgments or orders for the payment of money are rendered
against the Company or any of its Significant Restricted Subsidiaries and are not paid or
discharged, and there is a period of 60 consecutive days following entry of the finaljudgrnent or
order that causes the aggregate amount for all such final judgments or orders outstanding and not
paid or discharged against all such Persons to exceed 815.0 million (in excess of amounts which
the Company’s insurance carriers have agreed to pay under applicable policies) during which a
stay of enforcement, by reason of a pending appeal or otherwise, is not in effect;

(g) an involuntary case or other proceeding is commenced against the Company or
any Significant Restricted Subsidiary with respect to it or its debts under any bankruptcy,
insolvency or other similar law now or hereafter in effect seeking the appointment of a trustee,
receiver, liquidator, custodian or other similar official of it or any substantial part of its property,
and such involuntary case or other proceeding remains undisrnissed and unstayed for a period of

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60 days; or an order for relief is entered against the Company or any Significant Restricted
Subsidiary under the federal bankruptcy laws as now or hereafter in effect;

(h) the Company or any of its Significant Restricted Subsidiaries (i) commences a
voluntary case under any applicable bankruptcy, insolvency or other similar law now or hereafter
in effect, or consents to the entry of an order for relief in an involuntary case under any such law,
(ii) consents to the appointment of or taking possession by a receiver, liquidator, assignee,
custodian, trustee, sequestrator or similar official of the Company or any of its Significant
Restricted Subsidiaries or for all or substantially all of the property and assets of the Company or
any of its Significant Restricted Subsidiaries or (iii) effects any general assignment for the
benefit of creditors (an event of default specified in clause (g) or (h) a “bankruptcy default”);

(i) - ,any Note Guaranty ceases to be in full force and effect, other than in accordance
the terms of this lndenture, or a Guarantor' denies or disaffirrns its obligations under its Note
Guaranty; or

(j) the Liens created by the Security Documents shall at any time not constitute a
valid and perfected Lien on any material portion of the Collateral intended to be covered thereby
(to the extent perfection by filing, registration, recordation or possession is required by this
Indenture or the Security Documents), or, except for expiration in accordance with its terms or
amendment, rnodification, waiver, termination or release in accordance with the terms of this
Indenture, any of the Security Documents shall for whatever reason be terminated or cease to be
in full force and effect, if in either case, such default continues for 30 days after notice, or the
enforceability thereof shall be contested by the Company or any Guarantor.

Section 6.02. Acceleration. (a) lf an Event of Default, other than a bankruptcy default
with respect to the Company, occurs and is continuing under this lndenture, the Trustee or the
Holders of at least 25% in aggregate principal amount of the Notes then outstanding, by written
notice to the Company (and to the Trustee if the notice is given by the Holders), may, and the
Trustee at the request of such Holders shall, declare the principal of and accrued and unpaid
interest on all the Notes to be immediately due and payable. Upon a declaration of acceleration,
such principal and interest will become immediately due and payable. lf a bankruptcy default
occurs with respect to the Company, the principal of and accrued and unpaid interest on the
Notes then outstanding will become immediately due and payable without any declaration or
other act on the part of the Trustee or any Holder‘.

(b) The Holders of a majority in principal amount of the outstanding Notes by written
notice to the Company and to the Trustee may waive all past defaults and rescind and annul a
declaration of acceleration and its consequences if

(i) all existing Events of Default, other than the nonpayment of the principal
of, premium, if any, and interest on the Notes that have become due solely by the
declaration of acceleration, have been cured or waived, and

(ii) the rescission Would not conflict with any judgment or decree of a court of
competentjurisdiction

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Section 6.03. Or‘her Reinedies. If an Event of Default occurs and is continuing, the
Trustee may pursue, in its own name or as trustee of an express trust, any available remedy by
proceeding at law or in equity to collect the payment of principal of and interest on the Notes or
to enforce the performance of any provision of the Notes or this lndenture. The Trustee may
maintain a proceeding even if it does not possess any of the Notes or does not produce any of
them in the proceeding, and any recovery or‘judgment shall, after provision for the payment of
the reasonable compensation, expenses, disbursements and advances of the Trustee, its agents
and counsel, be for the ratable benefit of the Holders of the Notes. A delay or omission by the
Trustee or any Holder in exercising any right or remedy accruing upon an Event of Default shall
not impair the right or remedy or constitute a waiver of or acquiescence in the Event of Default.
All remedies are cumulative to the extent permitted by law.

Section 6.04. Waiver ofPasi Defaults. Except as otherwise provided in Sections 6.02,
6.9_7 and 9£_2_, the Holders of a majority in principal amount of the outstanding Notes may, by
written notice to the Trustee, waive any existing Default or Event of Default and its
consequences, except (i) a Default in the payment of the principal of or interest on any Notes, (ii)
a Default arising from the failure to redeem or purchase any Note when required pursuant to this
Indenture, or (iii) a Default in respect of a provision that under Section 9.02 cannot be amended
without the consent of each Holder affected Upon such waiver, the Default will cease to exist,
and any Event of Default arising therefrom will be deemed to have been cured, but no such
waiver will extend to any subsequent or other Default or impair any right consequent thereon

Section 6.05. Con).‘rol by Ma/`oriiy. The Holders of a majority in aggregate principal
amount of the outstanding Notes may direct the time, method and place of conducting any
proceeding for any remedy available to the Trustee or exercising any trust or power conferred on
the Trustee. However, the Trustee may refuse to follow any direction that conflicts with
applicable law or this Indenture, that may subject the Trustee to personal liability, or that the
Trustee determines in good faith may be unduly prejudicial to the rights of Holders of Notes not
joining in the giving of such direction, and may take any other action it deems proper that is not
inconsistent with any such direction received from Holders of Notes.

Section 6.06. Lirnitation on Sail'S. A Holder may not institute any proceeding, judicial
or otherwise, with respect to this Indenture or the Notes, or for the appointment of a receiver or
trustee, or for any other remedy under this Indenture or the Notes, unless:

(a) the Holder has previously given to the Trustee written notice of a continuing
Event of Default;

(b) Holders of at least 25% in aggregate principal amount of outstanding Notes have
made written request to the Trustee to institute proceedings in respect of the Event of Default in
its own name as Trustee under this Indenture;

(c) such Holders have offered to the Trustee indemnity reasonably satisfactory to the
Trustee against any costs, liabilities or expenses to be incurred in compliance with such request;

(d) the Trustee for 60 days after its receipt of such notice, request and offer of

indemnity has failed to institute any such proceeding; and

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(e) during such 60-day period, the Holders of a majority in aggregate principal
amount of the outstanding Notes have not given the Trustee a written direction that is
inconsistent with such written request.

Section 6.07. Righis of Holders to Receive Payineni. Notwithstanding anything to the
contrary contained herein or in the Notes, the right of a Holder of a Note to receive payment of
principal of or interest on its Note on or after the Stated Maturities thereof, or to bring suit for the
enforcement of any such payment on or after such respective dates, may not be impaired or
affected without the consent of that Holder.

Section 6.08. Colleci'ion Suit by Trustee. If an Event of Default in payment of principal
or interest specified in clause (a) or (b) of Section 6.01 occurs and is continuing, the Trustee may
recover judgment in its own name and as trustee of an express trust for the whole amount of
principal and accrued and unpaid interest remaining unpaid, together with interest on overdue
principal and, to the extent lawful, overdue installments of interest, in each case at the rate
specified in the Notes, and such further amount as is sufficient to cover the costs and expenses of
collection, including the reasonable compensation, expenses, disbursements and advances of the
Trustee, its agents and counsel and any other amounts due the Trustee hereunder.

Section 6.09. Trustee May File Proofs of Claim. The Trustee may file proofs of claim
and other papers or documents as may be necessary or advisable in order to have the claims of
the Trustee (including any claim for the compensation, expenses, disbursements and advances of
the Trustee, its agents and counsel, and any other amounts due the Trustee hereunder) and the
Holders allowed in any judicial proceedings relating to the Company or any Guar'antor or their
respective creditors or property, and is entitled and empowered to collect, receive and distribute
any money, securities or other property payable or deliverable upon conversion or exchange of
the Notes or upon any such claims. Any custodian, receiver, assignee, trustee, liquidator,
sequestrator or other similar official in any such judicial proceeding is hereby authorized by each
Holder to make such payments to the Trustee and, if the Trustee consents to the making of such
payments directly to the Holders7 to pay to the Trustee any amount due to it for the reasonable
compensation, expenses, disbursements and advances of the Trustee, its agent and counsel, and
any other amounts due the Trustee hereunder. Nothing in this Indenture will be deemed to
empower the Trustee to authorize or consent to, or accept or adopt on behalf of any Holder, any
plan of reorganization, arrangement, adjustment or composition affecting the Notes or the rights
of any Holder thereof, or to authorize the Trustee to vote in respect of the claim of any Holder in
any such proceeding

Section 6.10. Priorities. 1f the Trustee collects any money pursuant to this Article 6 or
receives any money from the Collateral Agent upon foreclosure and sale of any Collateral, it
shall pay out the money in the following order:

First: to the Trustee for all amounts due hereunder;

Second: to Holders for amounts then due and unpaid for principal of and interest
on the Notes, ratably, without preference or priority of any kind, according to the
amounts due and payable on the Notes for principal and interest; and

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Third: to the Company or as a court of competent jurisdiction may direct.

The Trustee, upon written notice to the Company, may fix a record date and payment
date for any payment to Holders pursuant to this Section 6.10.

Section 6.11. Restorarion of Righls and Remedies. If the Trustee or any Holder has
instituted a proceeding to enforce any right or remedy under this Indenture and the proceeding
has been discontinued or abandoned for any reason, or has been determined adversely to the
Trustee or to the Holder, then, subject to any determination in the proceeding, the Company, any
Guarantors, the Trustee and the Holders shall be restored severally and respectively to their _
former positions hereunder and thereafter all rights and remedies of the Company, any
Guarantors, the Trustee and the Holders shall continue as though no such proceeding had been
instituted

Section 6.12. Underl'aking for Cosr‘s. In any suit for the enforcement of any right or
remedy under this Indenture or in any suit against the Trustee for any action taken or omitted by
it as Trustee, a court may require any party litigant in such suit (other than the Trustee) to file an
undertaking to pay the costs of the suit, and the court may assess reasonable costs, including
reasonable attorneys fees and expenses, against any party litigant (other than the Trustee) in the
suit having due regard to the merits and good faith of the claims or defenses made by the party
litigant. This Section 6.12 does not apply to a suit by a Holder to enforce payment of principal
of or interest on any Note on the respective due dates, or a suit by Holders of more than 10% in
principal amount of the outstanding Notes.

Section 6.13. Righis and Remedies Cunmlaiive. No right or remedy conferred or
reserved to the Trustee or to the Holders under this Indenture is intended to be exclusive of any
other right or remedy, and all such rights and remedies are, to the extent permitted by law,
cumulative and in addition to every other right and remedy hereunder or now or hereafter
existing at law or in equity or otherwise. The assertion or exercise of any right or remedy
hereunder, or otherwise, will not prevent the concurrent assertion or exercise of any other right
or remedy.

Section 6.14. Delay or Omission Noi‘ Waiver. No delay or omission of the Trustee or of
any Holder to exercise any right or remedy accruing upon any Event of Default shall impair any
such right or remedy or constitute a waiver of any such Event of Default or an acquiescence
therein Every right and remedy given by this Article 6 or by law to the Trustee or to the Holders
may be exercised from time to time, and as often as may be deemed expedient, by the Trustee or
by the Holders, as the case may be.

Section 6.15. Waiver of Stay, Extension or Usrrry Laws. The Company and each
Guarantor covenants, to the extent that it may lawfully do so, that it will not at any time insist
upon, or plead, or in any manner whatsoever claim or take the benefit or advantage of, any stay
or extension law or any usury law or other law that would prohibit or forgive the Company or the
Guarantor from paying all or any portion of the principal of, or interest on the Notes as
contemplated herein, wherever enacted, now or at any time hereafter in force, or that may affect
the covenants or the performance of this Indenture. The Company and each Guarantor hereby
expressly waives, to the extent that it may lawfully do so, all benefit or advantage of any such

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law and covenants that it will not hinder, delay or impede the execution of any power herein
granted to the Trustee, but will suffer and permit the execution of every such power as though no
such law had been enacted

ARTICLE 7
THE TRUSTEE

Section 7.01. General. (a) The duties and responsibilities of the Trustee are as provided
by the Trust lrrdenture Act and as set forth herein Whether or not expressly so provided, every
provision of this Indenture relating to the condrrct or affecting the liability of or affording
protection to the Trustee is subject to this Article 7.

(b) Except during the continuance of an Event of Default, the Trustee need perform
only those duties that are specifically set forth in this Indenture and no others, and no implied
covenants or obligations will be read into this Indenture against the Trustee. ln case an Event of
Default has occurred and is continuing the Trustee shall exercise those rights and powers vested
in it by this lndenture, and use the same degree of care and skill in its exercise, as a prudent man
would exercise or use under the circumstances in the conduct of his own affairs.

(c) No provision of this Indenture shall be construed to relieve the Trustee from
liability for its own negligent action, its own negligent failure to act or its own willful
misconduct

Section 7.02. Ceriain Righis of Trusi'ee. Subject to Sections 315(a) through (d) of the
Trust Indenture Act:

(a) The Trustee may conclusively rely, and shall be fully protected in acting or
refraining from acting, upon any resolution, certificate, statement, instrument, opinion, report,
notice, request, direction, consent, order, bond, debenture, note, other evidence of indebtedness
or other paper or document believed by it to be genuine and to have been signed or presented by
the proper Person. The Trustee need not investigate any fact or matter stated in the document,
but the Trustee, in its sole discretion, may make such further inquiry or investigation into such
facts or matters as it may see fit and in the case of any document which is specifically required to
be furnished to the Trustee pursuant to any provision hereof, the Trustee shall examine the
document to determine whether it conforms to the requirements of this Indenture (but need not
confirm or investigate the accuracy of mathematical calculations or other facts stated therein).

(b) Before the Trustee acts or refrains from acting, it may require an Officers’
Certificate or an Opinion of Counsel conforming to Section 12.05, or both. The Trustee shall not
be liable for any action it takes or omits to take in good faith in reliance on the certificate or
opinion

(c) The Trustee may act through its attorneys and agents and will not be responsible
for the misconduct or negligence of any agent appointed with due care.

(d) The Trustee shall be under no obligation to exercise any of the rights or powers
vested in it by this Indenture at the request or direction of any of the Holders, unless such
Holders have offered to the Trustee security or indemnity reasonably satisfactory to it against the

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costs, expenses and liabilities that might be incurred by it in compliance with such request or
direction

(e) The Trustee shall not be liable for any action it takes or omits to take in good faith
that it believes to be authorized or within its rights or powers or for any action it takes or omits to
take in accordance with the direction of the Holders in accordance with Section 6.05 relating to
the time, method and place of conducting any proceeding for any remedy available to the
Trustee, or exercising any trust or power conferred upon the Trustee, under this Indenture.

(f) The Trustee may consult with counsel of its own selection, and the advice of such
counsel or any Opinion of Counsel shall be frrll and complete authorization and protection from
liability in respect of any action taken, suffered or omitted by it hereunder in good faith and in
reliance thereon v ' ' ' '

(g) No provision of this Indenture shall require the Trustee to expend or risk its own
funds or otherwise incur any financial liability in the performance of its duties hereunder, or in
the exercise of its rights or powers, unless it receives indemnity satisfactory to it against any loss,
liability or expense.

(h) In no event shall the Trustee be responsible or liable for special, indirect or
consequential loss or damage of any kind whatsoever (including, but not limited to, loss of
pr'ofit) irrespective of whether the Trustee has been advised of the likelihood of such loss or
damage and regardless of the form of action

(i) The Trustee shall not be deemed to have notice of any Default or Event of Default
unless a Responsible Officer of the Trustee has actual knowledge thereof or unless written notice
of any event which is in fact such a default is received by the Trustee in accordance with Section
12.03, and such notice references the Notes and this Indenture.

 

(j) The rights, privileges, protections, immunities and benefits given to the Trustee,
including, without limitation, its right to be indemnified, are extended to, and shall be
enforceable by, the Trustee in each of its capacities hereunder, and each agent, custodian and
other Person employed to act hereunder.

(k) The Trustee may request that the Company deliver an Officers’ Certificate setting
forth the names of individuals and/or titles of officers authorized at such time to take specified
actions pursuant to this Indenture, which Officers’ Certificate may be Signed by any Person
specified as so authorized in any such certificate previously delivered and not superceded

Section 7.03. Individaal Rights of Trustee. The Trustee, in its individual or any other
capacity, may become the owner or pledgee of Notes and may otherwise deal with the Company
or its Affiliates with the same rights it would have if it were not the Trustee. Any Agent may do
the same with like rights. However, the Trustee is subject to Sections 310(b) and 311 of the
Trust hrdenture Act. For purposes of Section 311(b)(4) and (6) of the Trust Indenture Act:

(a) “cash transaction” means any transaction in which full payment for goods or
securities sold is made within seven days after delivery of the goods or securities in currency or
in checks or other orders drawn upon banks or bankers and payable upon demand; and

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(b) “self-liquidating paper” means any draft, bill of exchange, acceptance or
obligation Which is made, drawn, negotiated or incurred for the purpose of financing the
purchase, processing, manufacturing, shipment, storage or sale of goods, Wares or merchandise
and which is secured by documents evidencing title to, possession of, or a lien upon, the goods,
wares or merchandise or the receivables or proceeds arising from the sale of the goods, wares or
merchandise previously constituting the security, provided the security is received by the Trustee
simultaneously With the creation of the creditor relationship arising from the making, drawing,
negotiating or incurring of the draft, bill of exchange, acceptance or obligation

Section 7.04. Trustee ’s Disclaimer. The Trustee (a) shall not be responsible for and
makes no representation as to the validity or adequacy of this Indenture, the Security Documents
or the Notes, (b) shall not be accountable for the Company’s use or application of the proceeds
from the Notes, and (c) shall not be responsible for any statement in the Notes other than its
certificate of authentication

Section 7.05. Notice of Default. lf any Default occurs and is continuing and is known to
the Trustee, the Trustee shall mail to Holders a notice of the Default within 90 days after it
occurs, unless the Default has been cured; provided that, except in the case of a Default in the
payment of the principal of or interest on any Note, the Trustee may withhold the notice if and so
long as a committee of its Responsible Officers in good faith determines that withholding the
notice is in the interest of the Holders. Notice to Holders under this Section 7.05 will be given in
the manner and to the extent provided in Section 313(c) of the Trust Indenture Act.

Section 7.06. Reporr's by Trustee to Holders. Within 60 days after each May 15,
begimring with May 15, 2011, the Trustee shall mail to each Holder, as provided in Section
313(c) of the Trust Indenture Act, a brief report dated as of such May 15, if required by Section
v313(a) of the Trust Indenture Act, and file such reports with each stock exchange upon which the
Notes are listed and with the Commission as required by Section 313(d) of the Trust Indenture
Act. The Company shall promptly notify the Trustee when the Notes are listed on any stock
exchange or delisted therefrom.

Section 7.07. Compensation and Indeniniiy. (a) The Company shall pay to the Trustee
from time to time such reasonable compensation for its acceptance of this Indenture and the
rendering by it of the services required hereunder as shall be as agreed upon in writing between
the Company and the Trustee. The compensation of the Trustee shall not be limited by any law
on compensation of a trustee of an express trust. The Company shall reimburse the Trustee
promptly upon request for all reasonable out-of-pocket expenses, disbursements, advances and
expenses incurred or made by or on behalf of the Trustee in addition to the compensation for its
services, including the reasonable compensation disbursements and expenses of the Trustee’s
attorneys, accountants, experts and such other professionals as the Trustee deems necessary,
advisable or appropriate

(b) The Company and the Guarantors shalljointly and severally indemnify the
Trustee for, and hold it harmless against, any loss, claim, damage, liability or expense incurred
by it without negligence or bad faith on its part arising out of or in connection with the
acceptance or administration of this Indenture and its duties under this Indenture and the Notes,
including the reasonable costs and expenses of enforcing this Indenture or any Guarantee against

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the Company or a Guarantor and defending itself against or investigating any claim (whether
asserted by the Company, any Guarantor, any Holder or any other Person) or liability and of
complying with any process served upon it or any of its officers in connection with the exercise
or performance of any of its powers or duties under this Indenture and the Notes. The Trustee
shall notify the Company promptly of any claim for which it may seek indemnity. Failure by the
Trustee to so notify the Company shall not relieve the Company of its obligations hereunder.
The Company shall defend any claim or threatened claim asserted against the Trustee for which
the Trustee may seek indemnity, and the Trustee shall cooperate in the defense. The Trustee
may have separate counsel and the Company shall pay the reasonable fees and expenses of such
counsel. The obligations of the Company under this Section 7.07 shall survive the resignation or
removal of the Trustee, the satisfaction and discharge of this Indenture and the termination of
this Indenture. ' '

(c) To secure the Company’s payment obligations in this Section 7.07, the Trustee
shall have a Lien prior to the Notes orr all money or property held or collected by the Trustee, in
its capacity as Trustee, except money or property held in trust to pay principal of, or interest on,
particular Notes. Such Lien shall survive the resignation or removal of the Trustee, the
satisfaction and discharge of this Indenture and the termination of this Indenture. When the
Trustee incurs expenses or renders services after an Event of Default specified in Section 6.01(g)
or (h) occurs, the expenses and the compensation for the services (including the fees and
expenses of its agents and counsel) are intended to constitute expenses of administration under
any bankruptcy law.

Section 7.08. Replacernent of T rusiee. (a)(i) The Trustee may resign at any time by
written notice to the Company.

(ii) The Holders of a majority in principal amount of the outstanding Notes
may remove the Trustee by written notice to the Trustee and the Company.

(iii) If the Trustee is no longer eligible under Section 7.10 or in the
circumstances described in Section 310(b) of the Trust Indenture Act, any Holder that
satisfies the requirements of Section 310(b) of the Trust Indenture Act may petition any
court of competent jurisdiction for the removal of the Trustee and the appointment of a
successor trustee.

(iv) The Company may remove the Trustee if: (A) the Trustee is no longer
eligible under Section 7.10; (B) the Trustee is adjudged bankrupt or insolvent; (C) a
receiver or other public officer takes charge of the Trustee or its property; or (D) the
Trustee becomes incapable of acting

A resignation or removal of the Trustee and appointment of a successor trustee will become
effective only upon the successor trustee’s acceptance of appointment as provided in this Section
7.08.

(b) If the Trustee has been removed by the Holders, Holders of a majority in principal
amount of the Notes may appoint a successor trustee with the consent of the Company.
Otherwise, if the Trustee resigns or is removed, or if a vacancy exists in the office of Trustee for

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any r'eason, the Company Will promptly appoint a successor trustee. If the successor trustee does
not deliver its written acceptance within 30 days after the retiring trustee resigns or is removed,
the retiring trustee, the Company or the Holders of a majority in principal amount of the
outstanding Notes may petition at the expense of the Company any court of competent
jurisdiction for the appointment of a successor Trustee.

(c) A successor trustee shall deliver a written acceptance of its appointment to the
retiring trustee and to the Company. Thereupon, (i) the retiring Trustee shall transfer, upon
payment of its fees and expenses hereunder, all property held by it as Trustee to the successor
trustee, subject to the Lien provided for in Section 7.07, (ii) the resignation or removal of the
retiring Trustee shall become effective, and (iii) the successor trustee shall have all the rights,
powers and duties of the Trustee under this Indenture. Upon request of any successor trustee, the
Company Will execute any and all instruments for fully and vesting in and confirming to the
successor trustee all such rights, powers and trusts. The Company will give notice of any
resignation and any removal of the Trustee and each appointment of a successor trustee to all
Holders, and include in the notice the name of the successor trustee and the address of its
Corporate Trust Office.

(d) Notwithstanding replacement of the Trustee pursuant to this Section 7.08, the
Company’S obligations under Section 7.07 will continue for the benefit of the retiring Trustee.

(e) The Trustee agrees to give the notices provided for in, and otherwise comply
with, Section 310(b) of the Trust Indenture Act.

Section 7.09. Successor Trustee by Merger. If the Trustee consolidates with, merges or
converts into, or transfers all or substantially all of its corporate trust business to, another Person
that is eligible under Section 7.10, the successor Person, without any further act, shall be the
successor trustee With the same effect as if the successor trustee had been named as the Trustee
in this Indenture.

Section 7.10. Eligibiliiy. This Indenture must always have a Trustee that satisfies the
requirements of Section 310(a) of the Trust Indenture Act and has a combined capital and
surplus of at least $25,000,000 as set forth in its most recent published annual report of
condition b

Section 7.11. Money Held in Trust. The Trustee shall not be liable for interest on any
money received by it except as it may agree with the Company. Money held in trust by the
Trustee need not be segregated from other funds except to the extent required by law and except
for money held in trust under Article 8.

Section 7.12. Collateral Agent. (a) The Trustee is hereby appointed to act as the
Collateral Agent under the Security Documents, with such powers, rights and obligations as are
expressly delegated to the Collateral Agent by the terms of this Indenture and by the Security
Documents. The Trustee may, from time to time, appoint another financial institution to act as
Collateral Agent so long as such institution meets the requirements of Section 7.10. The
Collateral Agent, acting in its capacity as such, shall have only such duties with respect to the
Collateral as are set forth in this Indenture and the Security Documents to which the Collateral

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Agent is a party, and no implied covenants, functions, responsibilities, duties, obligations or
liabilities shall be read into this Indenture or the Security Documents or otherwise shall exist on
the part of the Collateral Agent.

(b) Subject to the appointment and acceptance of a successor Collateral Agent as
provided in this Section 7.12§ b), the Collateral Agent (if other than the Trustee) may resign at
any time by notifying the Trustee and the Company. Upon any such resignation the Trustee
shall have the right to appoint a successor Collateral Agent. If no successor shall have been so
appointed by the Trustee and shall have accepted such appointment within 30 days after the
retiring Collateral Agent gives notice of its resignation then the retiring Collateral Agent may,
on behalf of the Holders and the Trustee, appoint a successor Collateral Agent which shall meet
the eligibility requirements of Section 7.10 and shall accept and comply in all material respects
with the Security Documents, including, without limitation the maintenance of an office and the
Cash Collateral Account in the State of New York. Upon a successor’s acceptance of its
appointment as Collateral Agent hereunder, such successor shall succeed to and become vested
with all the rights, power's, privileges and duties of the retiring Collateral Agent hereunder and
under the Security Documents, and the retiring Collateral Agent shall be discharged from its
duties and obligations hereunder and under the Security Docurnerrts. If the Trustee shall be
acting at any time as the Collateral Agent, then it will be deemed to have resigned as Collateral
Agent upon its replacement as Trustee pursuant to Section 7.08, and the successor Trustee shall
select (or may act as) the replacement Collateral Agent.

(c) At all times when the Trustee is not itself the Collateral Agent, the Company will
deliver to the Trustee copies of all Security Documents delivered to the Collateral Agent and
copies of all documents delivered to the Collateral Agent pursuant to the Security Docrrrnerrts.

(d) The Collateral Agent may perform its duties under this Indenture and the Security
Documents to which the Collateral Agent is a party by or through receivers, agents, attorneys-in-
fact and employees The Collateral Agent may consult with and employ legal counsel, and shall
be entitled to act or refrain from acting upon and shall be fully authorized and protected in
taking, or refraining from taking, action in reliance upon any advice or opinion given by legal
counsel.

(e) The Collateral Agent shall be entitled to rely, and shall be fully protected in
relying, upon any note, wr'iting, resolution consent, certificate, affidavit, letter, certification
statement, notice or other communication document or conversation (including those by
telephone or e-mail) believed by it to be genuine and correct and to have been si gned, sent or
made by the proper Person and upon the advice and statements of legal counsel (including
without limitation counsel to the Company or any Guarantor). The Collateral Agent shall not be
bound to make any investigation into the facts or matters stated in any resolution certificate,
statement, instrument, opinion report, notice, request, direction consent, order, bond, debenture
or other paper or document. The Collateral Agent shall have no liability for failing or refusing to
take any action under this lrrdenture or the Security Documents unless it shall first receive such
advice, direction instruction or concurrence of the Holders as is required hereunder; and the
Collateral Agent has the right to seek instructions from the Holders before acting or electing not
to act rrnder this Indenture and/or the Security Documents. The Collateral Agent shall in all
cases have no liability in acting, or refraining from acting, under this Indenture and the Security

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Documents in accordance with a direction or instruction from Holders representing the requisite
principal amount of the outstanding Notes necessary to give such direction or instruction and
such direction or instruction and any action taken or failure to act pursuant thereto shall be
binding upon all the Holders.

(f) The Collateral Agent shall not be deemed to have knowledge of any Default or
Event of Default unless a Responsible Officer of the Collateral Agent has received written notice
from the Company or the Holders of a majority in principal amount of the outstanding Notes
specifying the occurrence and nature thereof and stating that such notice is a “notice of default”.
The Collateral Agent shall take such action with respect to any Default or Event of Default as
shall be directed by Holders of a majority in principal amount of the outstanding Notes.

(g) The Collateral Agent shall not be liable for any action taken or omitted to be
taken by it in connection with this Indenture or any Security Document or instrument referred to
or provided for herein or therein except to the extent that any of the foregoing are found by a
final, nonappealable decision of a court of competentjurisdiction to have resulted from its own
gross negligence or willful misconduct The Collateral Agent does not assume any responsibility
for any failure or delay in performance or any breach by the Company or any Guarantor of any
obligations under this Indenture and the Security Documents. The Collateral Agent shall not be
responsible to the Holders or any other Person for any recitals, statements, information
representations or warranties contained in any Security Documents or in any certificate, report,
statement or other document referred to or provided for in or received by the Collateral Agent
under or in connection with, this Indenture or any Security Document; the execution validity,
genuineness, effectiveness or enforceability of any Security Document; the genuineness,
enforceability, collectibility, value, sufficiency, location or existence of any Collater'al, or the
validity, effectiveness, enforceability, sufficiency, extent, perfection or priority of any Lien
therein; the validity, enforceability or collectibility of any Obligations; the assets, liabilities,
financial condition results of operations, business, creditworthiness or legal status of the
Company or any Guarantor; or for any failure of the Company or any Guarantor to perform its
obligations under this Indenture and the Security Docurnents. The Collateral Agent shall have
no obligation to any Holder or any other Person to ascertain or inquire into the existence of any
Default or Event of Default, the observance or performance by the Company or any Guarantor of
any terms of this lnderrture and the Security Documents, or the satisfaction of any conditions
precedent contained in any Security Documents. The Collateral Agent shall not be required to
initiate or conduct any litigation or collection or other proceeding under this Indenture and the
Security Documents without the express written direction of Holders of a majority in principal
amount of the outstanding Notes. The Collateral Agent shall have the right at any time to seek
instructions from the Holders of a majority in principal amount of the outstanding Notes with
respect to the administration of the Security Docurnents.

(h) No provision of this Indenture or the Security Documents shall require the
Collateral Agent to expend or risk its own funds or otherwise incur any financial liability in the
performance of any of its duties hereunder or thereunder or in the exercise of any of its rights or
powers unless the Collateral Agent shall have received indemnity satisfactory to the Collateral
Agent against potential costs and liabilities incurred by the Collateral Agent relating thereto.
Notwithstanding anything to the contrary contained in this Indenture or any of the Security
Documents, in the event the Collateral Agent is entitled or required to commence an action to

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foreclose or otherwise exercise its remedies to acquire control or possession of the Collater'al, the
Collateral Agent shall not be required to commence any such action or exercise any such remedy
if the Collateral Agent has determined that the Collateral Agent may incur personal liability as
the result of the presence at, or release orr or from, the Collater‘al, of any hazardous substances
unless the Collateral Agent has received security or indemnity in an amount and in a form all
satisfactory to the Collateral Agent in its sole discretion protecting the Collateral Agent from all
such liability. The Collateral Agent shall at any time be entitled to cease taking any action
described above if it no longer reasonably deems any indemnity, security or undertaking from
the Company or the Holders to be sufficient Without limiting the for‘egoing, the Collateral
Agent shall not be required to take any enforcement or other type of action under any account
control agreement (including without limitation the sending of a notice of exclusive control or
other similar action) unless the Collateral Agent shall have received indemnity satisfactory to the
Collateral Agent against potential costs and liabilities incurred by the Collateral Agent relating
thereto.

(i) The parties hereto and the Holders hereby agree and acknowledge that the
Collateral Agent shall not assume, be responsible for or otherwise be obligated for any liabilities,
claims, causes of action suits, losses, allegations, requests, demands, penalties, fines,
settlements, damages (including foreseeable and unforeseeable), judgments, expenses and costs
(including but not limited to, any remediation corrective action response, removal or remedial
action or investigation operations and maintenance or monitoring costs, for personal injury or
property damages, real or personal) of any kind whatsoever, pursuant to any environmental law
as a result of this Indenture, the Security Documents or any actions authorized pursuant hereto or
thereto; provided, however, the Collateral Agent may not be relieved from liabilities for its own
gross negligence or willful misconduct as determined by a final order of a court of competent
jurisdiction Further, the parties hereto and the Holders hereby agree and acknowledge that in
the exercise of its rights under this Indenture and the Security Documents, the Collateral Agent
may hold or obtain indicia of ownership primarily to protect the security interest of the Collateral
Agent in the Collateral, including without limitation the properties under the Mortgages, and that
any such actions taken by the Collateral Agent to hold or obtain indicia of ownership shall not be
construed as or otherwise constitute any participation in the management of such Collateral,
including without limitation the properties under the l\/lor'tgages, as those terms are defined in
Section 101(20)(E) of the Comprehensive Envir'onmental Response, Compensation and Liability
Act 42 U.S.C. §§ 9601 et seq., as amended

(j) This Article 7 and the Security Documents (other than the intercreditor
Agreement) will be subject to the terms, limitations and conditions set forth in any Intercreditor
Agreement, except as to such terms, limitations and conditions that relate to the r'ights, duties and
immunities of the Trustee and the Collateral Agent, which shall be subject to the terms hereof.

ARTICLE 8
DEFEASANC`E AND DISCHARGE

Section 8.01. Discharge of Company ’S Obligations. (a) Subject to paragraph (b)7 the
Company’s obligations under the Notes, this Indenture and the Security Documents to which it is
a party7 and each Guarantor’s obligations under its Note Guaranty and the Security Documents to

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‘which it is a party, will terminate, and the Collateral shall be released from the Liens thereunder,
if:

(i) all Notes previously authenticated and delivered (other than (A) destroyed,
lost or stolen Notes that have been replaced or (B) Notes that are paid pursuant to Section
4_.(£ or (C) Notes for whose payment money or U.S. Government Obligations have been
held in trust and then repaid to the Company pursuant to Section 8.05) have been
delivered to the Trustee for cancellation and the Company has paid all sums payable by it
hereunder; or

(ii) (A) the Notes mature within sixty days, or all of them are to be called'for
redemption within sixty days under arrangements satisfactory to the Trustee for giving
the notice of redemption

(B) the Company irrevocably deposits in trust with the Trustee, as trust
funds solely for the benefit of the Holders, money or U.S. Government
Obligations or a combination thereof sufficient, in the opinion of a nationally
recognized firm of independent public accountants expressed in a written
certificate delivered to the Trustee, without consideration of any reinvestment, to
pay principal of and interest on the Notes to maturity or redemption as the case
may be, and to pay all other sums payable by it hereunder,

(C) no Default has occurred and is continuing on the date of the
deposit,

(D) the deposit will not result in a breach or violation of, or constitute a
default under, this Indenture or any other agreement or instrument to Which the
Company is a party or by which it is bound, and

(E) the Company delivers to the Trustee an Officers’ Certificate and an
Opinion of Counsel, in each case stating that all conditions precedent provided for
herein relating to the satisfaction and discharge of this Indenture have been
complied with.

(b) After satisfying the conditions in clause(a)(i), only the Company’s obligations
under Section 7.07 will survive. After satisfying the conditions in clause (a)(ii), only the
Company’s obligations in Article 2 and Sections 4.01, 4.02, 7.07, 7.08, 8.05 and 8.06 will
survive. ln either case, the Trustee upon written request will acknowledge in writing the
discharge of the Company’s obligations under the Notes, this Indenture and the Security
Documents other than the surviving obligations.

Section 8.02. Legal Defeasance. After the 123rd day following the deposit referred to
in clause (a) of this Section 8.02, the Company will be deemed to have paid and will be
discharged from its obligations in respect of the Notes, the Security Documents to which it is a
party and this Indenture, other than its obligations in Article 2 and Sections 4.01, 4.02, 7.07,
ZQ§, 8_.0_5 and §;_(E, and each Guarantor’s obligations under its Note Guaranty and the Security
Documents to which it is a party will terminate, and the Collateral shall be released from the
Liens thereunder, provided the following conditions have been satisfied:

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(a) The Company has irrevocably deposited in trust with the Trustee, as trust funds
solely for the benefit of the Holders, money or U.S. Government Obligations or a combination
thereof sufficient, in the opinion of a nationally recognized firm of independent public
accountants expressed in a written certificate thereof delivered to the Trustee, without
consideration of any rcinvestment, to pay principal of and interest on the Notes to maturity or
redemption as the case may be, provided that any redemption before maturity has been
irrevocably provided for under arrangements satisfactory to the Trustee.

(b) No Defarrlt has occurred and is continuing on the date of the deposit or occurs at
any time during the 123-day period following the deposit

(c) The deposit will not result in a breach or violation of, or constitute a Default
under, this Indenture or any other agreement or instrument to which the Company is a party or by
which it is bound

(d) The Company has delivered to the Trustee

(i) either (x) a ruling received from the lnternal Revenue Service to the effect
that the Holders will not recognize income, gain or loss for federal income tax purposes
as a result of the defeasance and will be subject to federal income tax on the same amount
and in the same manner and at the same times as would otherwise have been the case or
(y) an Opinion of Counsel, based on a change in law after the date of this Indenture, to
the same effect as the ruling described in clause (x), and

(ii) an Opinion of Counsel to the effect that (A) the creation of the defeasance
trust does not violate the Investrnent Company Act of 1940, (B) the Holders have a valid
first priority security interest in the trust funds (subject to customary exceptions), and (C)
after the passage of 123 days following the deposit, the trust funds will not be subject to
the effect of Section 547 of the United States Bankruptcy Code or Section 15 of the New
York Debtor and Creditor Law.

(e) If the Notes are listed on a national securities exchange, the Company has
delivered to the Trustee an Opinion of Counsel to the effect that the deposit and defeasance will
not cause the Notes to be delisted

(f) The Company has delivered to the Trustee an Officers’ Certificate and an Opinion
of Counsel, in each case stating that all conditions precedent provided for herein relating to the
defeasance have been complied with.

Prior to the end of the 123-day period, none of the Company’s obligations under this
Indenture will be discharged Thereafter, the Trustee, upon Written request, will acknowledge in
writing the discharge of the Company’s obligations under the Notes and this Indenture except for
the surviving obligations specified above.

Section 8.03. Covenani' Defeasance. After the 123r‘d day following the deposit referred
to in clause (a) of Section 8.02, the Company’s obligations set forth in the Security Documents to
which it is a party and in Sections 4.06 through 4_._1_7_, inclusive and clauses (C) and (D) of
Section 5.01tai of this lndenture, and each Guarantor’s obligations under its Note Guaranty and

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the Security Documents to which it is a party, will terminate, and clauses (c), (d), (e), (f`), (i) and
(j) of Section 6.01 of this lnderrture will no longer constitute Events of Default, provided the
following conditions have been satisfied:

(a) The Company has complied with clauses (a), (b), (c), (d)(ii), (e) and (f`) of Section
8.02; and

(b) the Company has delivered to the Trustee an Opinion of Counsel to the effect that
the Holders will not recognize income, gain or loss for federal income tax purposes as a result of
the defeasance and will be subject to federal income tax on the same amount and in the same
manner and at the same times as would otherwise have been the case.

Except as specifically stated above7 none of the Company’s obligations under this
Indenture will be discharged

Section 8.04, Application of T rust Money. Subject to Section 8.05, the Trustee shall
hold in trust the money or U.S. Government Obligations deposited with it pursuant to Section
M, 8._0_2 or _8_._0_3_, and apply the deposited money and the proceeds from deposited U.S.
Government Obligations to the payment of principal of and interest on the Notes in accordance
with the Notes and this lndenture. Such money and U.S. Government Obligations need not be
segregated from other funds except to the extent required by law.

Section 8.05. Repayrnent to Company Subject to Sections 7.07, 8.01, 8.02 and 8.03, the
Trustee shall promptly pay to the Company upon request any excess money held by the Trustee
at any time and thereupon be relieved from all liability with respect to such money. The Trustee
shall pay to the Company upon request any money held for payment with respect to the Notes
that remains unclaimed for two years, provided that before making such payment the Trustee
may at the expense of the Company publish once in a newspaper of general circulation in New
York City, or send to each Holder entitled to such money, notice that the money remains
unclaimed and that after a date specified in the notice (at least 30 days after the date of the
publication or notice) any remaining unclaimed balance of money will be repaid to the
Company. After payment to the Company, Holders entitled to such money must look solely to
the Company for payment, unless applicable law designates another Person and all liability of
the Trustee with respect to such money will cease.

Section 8.06. Reinsrar‘ement. lf and for so long as the Trustee is unable to apply any
money or U.S. Government Obligations held in trust pursuant to Section 8.01, §9_2_ or _8;(_)3 by
reason of any legal proceeding or by reason of any order orjudgment of any court or
governmental authority enjoining, restraining or otherwise prohibiting such application the
Company’s obligations under this Indenture and the Notes will be reinstated as though no such
deposit in trust had been made. If the Company makes any payment of principal of or interest orr
any Notes because of the reinstatement of its obligations, it will be subrogated to the rights of the
Holders of such Notes to receive such payment from the money or U.S. Government Obligations
held in trust.

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ARTICLE 9
AMENDMENTS, SUPPLEMENTS AND WAIVERS

Section 9.01. Amendments Without Conseni of Holders. The Company and the Trustee
(and in the case of the Security Documents, the Collateral Agent) may amend or supplement this
lndenture, the Security Documents and/or the Notes without notice to or the consent of any
Noteholder:

(a) to cure any ambiguity, defect or inconsistency;
(b) to comply with Article 5;

(c) to comply with any requirements of the Commission rn comrectiorr with the
qualification of this Indenture under the Trust Indenture Act;

(d) to evidence and provide for the acceptance of an appointment hereunder by a
successor Trustee;

(e) to provide for uncertificated Notes in addition to or in place of certificated Notes,
provided that the uncertificated Notes are issued in registered form for purposes of Section
163(D of the Code, or in a manner such that the uncertificated Notes are described in Section
163(®(2) (B) ofthe Code;

(f] to provide for any Guarantee of the Notes, to secure the Notes or to confirm and
evidence the release, termination or discharge of any Guarantee of or Lien securing the Notes
when such release, termination or discharge is permitted by this lndenture; or

(g) to make any other change that does not materially and adversely affect the rights
of any Holder.

In addition the Company may amend the Security Documents to secure additional Debt
to be lncurred by the Company or a Guarantor by Liens on the Collateral pursuant to the Security
Docrrments if such Debt is permitted to be lncurred and secured by such Liens under this
lndenture. In formulating its opinion orr such matters, the Trustee shall be entitled to rely on
such evidence as it deems appropriate, including, without limitation solely orr an Opinion of
Counsel.

Section 9 02 Anrendments With Consenr‘ of Holders (a) Except as otherwise provided
in Sections 6. 02, 6. 04 and 6 07 or paragraph f_) the Company and the Trustee (and, in the case
of any Security Document, the Collateral Agent) may amend or supplement this Indenture the
Security Documents and/or the Notes with the written consent of the Holders of a majority in
principal amount of the outstanding Notes and the Holders of a majority in principal amount of
the outstanding Notes may waive future compliance by the Company with any provision of this
Indenture, the Security Documents or the Notes.

 

(b) Notwithstanding the provisions of paragraph (a), without the consent of each
Holder affected, an amendment or waiver may not

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(i) reduce the principal amount of or change the Stated Maturity of any
installment of principal of any Note,

(ii) reduce the rate of or change the Stated Maturity of any interest payment
on any Note,

(iii) reduce the amount payable upon the redemption of any Note or change the
time of any mandatory redemption or, in respect of an optional redemption the times at
which any Note may be redeemed or, once notice of redemption has been given the time
at which it must thereupon be redeemed,

(iv) after the time an Offer to Purchase is required to have been made, reduce
the purchase amount or purchase price, or extend the latest expiration date or purchase
date thereunder, '

(v) make any Note payable in money other than that stated in the Note,

(vi) impair the right of any Holder of Notes to receive any principal payment
or interest payment on such Holder’s Notes, on or after the Stated Maturity thereof, or to
institute suit for the enforcement of any such payment,

(vii) make any change in the percentage of the principal amount of the Notes
required for amendments or waivers,

(viii) modify or change any provision of this Indenture affecting the ranking of
the Notes or any Note Guaranty in a manner adverse to the Holders of the Notes,

(ix) make any change in any Note Guaranty that would adversely affect the
Noteholders, or effect a release of all or substantially all of the Collateral, or

(x) make any change in the provisions of the Security Documents dealing
with the application of the proceeds of Collateral from the Lien under this Indenture and
the Security Documents with respect to the Notes that would adversely affect the
Noteholders;

provided that the provisions of Section 4.12 and Section 4.13 rnay, except as provided above, be
amended or waived with the consent of Holders holding not less than 66-%% in aggregate
principal amount of the Notes.

(c) lt is not necessary for Noteholders to approve the particular form of any proposed
amendment, supplement or waiver, but is Sufficient if their consent approves the substance
thereof

(d) An amendment, supplement or waiver under this Section 9.02 will become
effective on receipt by the Trustee of written consents from the Holders of the requisite
percentage in principal amount of the outstanding Notes. After an amendment, supplement or
waiver under this Section 9.02 becomes effective, the Company will send to the Holders affected
thereby a notice briefly describing the arnendment, supplement or waiver. The Company will

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send supplemental indentures to Holders upon request Any failure of the Company to send such
notice, or any defect therein will not, however, in any way impair or affect the validity of any
such supplemental indenture or waiver.

Section 9.03. Ejj‘ecl' of Consent. (a) After an amendment, supplement or waiver
becomes effective, it will bind every Holder unless it is of the type requiring the consent of each
Holder affected lf the amendment supplement or waiver is of the type requiring the consent of
each Holder affected, the amendment, supplement or waiver will bind each Holder that has
consented to it and every subsequent Holder of a Note that evidences the same debt as the Note
of the consenting Holder.

(b) lf an amend_ment, supplement or waiver changes the terms of a Note, the Trustee
may require the Holder to deliver it to the Trustee so that the Trustee may place an appropriate
notation of the changed terms on the Note and return it to the Holder, or exchange it for a new
Note that reflects the changed terms. The Trustee may also place an appropriate notation on any
Note thereafter authenticated However, the effectiveness of the amendmentj supplement or
waiver is not affected by any failure to annotate or exchange Notes in this fashion

Section 9.04. Trustee ’s Rights and Obligal'ions. The Trustee shall be provided with, and
shall be fully protected in relying upon an Opinion of Counsel stating that the execution of any
amendment, supplement or waiver authorized pursuant to this Article 9 is authorized or
permitted by this Indenture. If the Trustee has received such an Opinion of Counsel, it shall sign
the amendment, supplement or waiver so long as the same does not adversely affect the rights of
the Trustee. The Trustee may, but is not obligated to, execute any amendment supplement or
waiver that affects the Trustee’s own rights, duties or immunities under this Indenture.

Section 9.05. Conforlnily With Trust Indenture Act. Every supplemental indenture
executed pursuant to this Article 9 shall conform to the requirements of the Trust Indenture Act.

Section 9.06. Paynrenr‘s for Consenis. Neither the Company nor any of its Subsidiaries
or Affiliates may, directly or indirectly, pay or cause to be paid any consideration whether by
way of interest, fee or otherwise, to any Holder for or as an inducement to any consent, waiver or
amendment of any of the terms or provisions of this Indenture, the Notes or any Security
Document unless such consideration is offered to be paid or agreed to be paid to all Holders of
the Notes that consent, waive or agree to amend such term or provision within the time period set
forth in the solicitation documents relating to the consent, waiver or amendment

ARTICLE 10
GUARANTIES

Section 10.01. The Guaranties. Subject to the provisions of this Article 10, each
Guarantor hereby irrevocably and unconditionally guarantees, jointly and severally, on a secured
basis, to the Holders and to the Trustee the full and punctual payment (whether at Stated
Maturity, upon redemption purchase pursuant to an Offer to Purchase or acceleration or
otherwise) of the principal of, premiurn if any, and interest on and all other amounts payable
under, each Note, and the full and punctual payment of all other amounts payable by the
Company under this Indenture. Upon failure by the Company to pay punctually any such

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amount, each Guarantor shall forthwith on demand pay the amount not so paid at the place and in
the manner specified in this lrrdenture.

Section 10.02. Guaranty Uncondiiional. The obligations of each Guarantor hereunder
are unconditional and absolute and, without limiting the generality of the foregoing, will not be
released, discharged or otherwise affected by:

(1) any extension renewal, settlement, compromise, waiver or release in respect of
any obligation of the Company under this Indenture, any Security Document or any Note, by
operation of law or otherwise;

(2) y any modification or amendment of or supplement to this Indenture, any Security
Document or any Note; .

(3) any change 111 the corporate existence, structure or ownership of the Company, or
any insolvency, bankruptcy, reorganization or other similar proceeding affecting the Company or
its assets or any resulting release or discharge of any obligation of the Company contained in this
Indenture, any Security Document or any Note;

(4) the existence of any claim, set-off or other rights which the Guarantor may have
at any time against the Company, the Trustee or any other Person whether in connection with
this Indenture or any unrelated transactions, provided that nothing herein prevents the assertion
of any such claim by separate suit or compulsory counterclaim;

(5) any invalidity or unenforceability relating to or against the Company for any
reason of this Indenture, any Security Document or any Note, or any provision of applicable law
or regulation purporting to prohibit the payment by the Company of the principal of or interest
on any Note or any other amount payable by the Company under this Indenture; or

(6) any other act or omission to act or delay of any kind by the Company, the Trustee
or any other Person or any other circumstance whatsoever which might, but for the provisions of
this paragraph, constitute a legal or equitable discharge of or defense to such Guarantor’s
obligations hereunder other than indefeasible payment in full of the obligations.

Section 10.03. Discharge; Reinstatement. Each Guarantor’s obligations hereunder will
remain in full force and effect until the principal of, premium, if any, and interest on the Notes
and all other amounts payable by the Company under this Indenture have been paid in full. lf at
any time any payment of the principal of, premiurn if any, or interest on any Note or any other
amount payable by the Company under this Indenture is rescinded or must be otherwise restored
or returned upon the insolvency, bankruptcy or reorganization of the Company or otherwise,
each Guarantor’s obligations hereunder with respect to such payment will be reinstated as though
such payment had been due but not made at such time.

Section 10.04. Waiver by the Guarantors. Each Guarantor irrevocably waives acceptance
hereof, presentment demand, protest and any notice not provided for herein as well as any
requirement that at any time any action be taken by any Person against the Company or any other
Person.

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Section 10.05. Sabrogation and Coniribation. Upon making any payment with respect to
any obligation of the Company under this Article 10, the Guarantor making such payment will be
subrogated to the rights of the payee against the Company with respect to such obligation
provided that the Guarantor may not enforce either any right of subrogation or any right to
receive payment in the nature of contribution or otherwise, from any other Guarantor, with
respect to such payment so long as any amount payable by the Company hereunder or under the
Notes remains unpaid

Section 10.06. Stay of Acceleraiion. lf acceleration of the time for payment of any
amount payable by the Company under this Indenture or the Notes is stayed upon the insolvency,
bankruptcy or reorganization of the Company, all such amounts otherwise subject to acceleration
under the terms of this lnderrture are nonetheless payable by the Guarantors hereunder forthwith
on demand by the Trustee or the Holders. v

Section 10.07. Lirnii'al‘ion on Arnouni of Guaraniy. Notwithstanding anything to the
contrary in this Article 10, each Guarantor, and by its acceptance of Notes7 each Holder, hereby
confirms that it is the intention of all such parties that the Note Guaranty of such Guarantor not
constitute a fraudulent transfer or conveyance for purposes of any provision of the United States
Bankruptcy Code, the Uniforrrr Fraudulent Conveyance Act, the Uniform Fraudulent Transfer‘
Act or any comparable provision of federal or state law. To effectuate the foregoing intention
the Trustee, the Holders and each Guarantor hereby irrevocably agree that the obligations of each
Guarantor‘ under its Note Guaranty are limited to the maximum amount as will, after giving
effect to any collections from or payments made by or on behalf of any other Guarantor in
respect of the obligations of each other Guarantor under its Note Guaranty, result in the
obligations of each Guarantor under its Note Guaranty not constituting a fraudulent transfer or
conveyance.

Section 10.08. Execul'ion and Delivery of Guaraniy. The execution by each Guarantor of
this Indenture (or a supplemental indenture substantially in the form of Exhibit B) evidences the
Note Guaranty of such Guarantor, whether or not the person signing as an officer of the
Guarantor' still holds that office at the time of authentication of any Note. The delivery of any
Note by the Trustee after authentication constitutes due delivery of the Note Guaranty set forth in
this Indenture orr behalf of each Guarantor.

Section 10.09. Release of Guaraniy. The Note Guaranty of a Guar'antor will terminate
upon

(a) a sale or other disposition (including by way of consolidation or merger) of the
Guarantor or the sale or disposition of all or substantially all the assets of the Guarantor (in each
case other than to the Company or a Restricted Subsidiary) otherwise permitted by this
Indenture,

(b) the designation in accordance With this Indenture of the Guarantor as an
Unrestricted Subsidiary, or (c) defeasance or discharge of the Notes, as provided in Article 8.

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Upon delivery by the Company to the Trustee of an Officers’ Certificate and an Opinion
of Counsel to the foregoing effect, the Trustee shall execute any documents reasonably required
in order to evidence the release of the Guarantor from its obligations under its Note Guaranty.

ARTICLE 11
SECURITY ARRANGEMENTS

Section 11.01. Secririiy. (a) In order to secure the Obligations of the Company under this
Indenture and the Notes, the Company will execute and deliver to the Collateral Agent on or
prior to the Issue Date each Security Document to which it is or is to be a party that is intended
to be effective upon the Issue Date and create the Liens intended to be created thereunder, with
the priority set forth therein and in the Intercreditor Agreement, on the Collater'al. In order to
securethe Obligations of each Guarantor under its Note Guaranty, this Indenture and the Notes,'
each Guarantor will execute and deliver to the Collateral Agent prior to the Issue Date each
Security Document to which it is or is to be a party that is intended to be effective upon the Issue
Date and create the Liens intended to be created thereunder, with the priority set forth therein
and in the Intercreditor Agreement, on the Collateral.

(b) Within 30 days after (i) any Restricted Subsidiary becomes a Guarantor in
accordance with Section 4.11 or (ii) the Company or any Guarantor acquires any material
property that is not automatically subject to a perfected security interest under the Security
Documents, the Company or Guarantor shall notify the Collateral Agent thereof and, in each
case at the sole cost and expense of the Company or Guarantor, execute and deliver to the
Collateral Agent such mortgages, security agreement supplements and other documentation (in
form and scope, and covering such Collateral on such terms, in each case consistent with the
mortgages, security agreements and other security documents in effect on the Issue Date), and
take such additional actions (including any of the actions described in Section 4.19§ bi), as the
Collateral Agent may deem reasonably appropriate or advisable to create and fully perfect in
favor of the secured parties under the Security Documents a valid and enforceable security
interest in (and in the case of real property, mortgage lien on) such Collateral, which shall be free
of any other Liens except for Permitted Liens. Any security interest provided pursuant to this
Section 11.01§bi shall be accompanied with such Opinions of Courrsel to the Company as
customarily given by Company’s counsel in the relevantjurisdiction in form and substance
customary for suchjur'isdiction and substantially consistent with that provided to the lenders
under the Credit Agreements. ln addition the Company shall deliver an Officers’ Certificate to
the Collateral Agent certifying that the necessary measures have been taken to perfect the
security interest in such property.

(c) The Company and the Guarantors shall comply with all covenants and agreements
contained in the Security Documents.

(d) Each Holder, by accepting a Note, agrees to all of the terms and provisions of the
Security Documents, as the same may be amended from time to time pursuant to the provisions
of this Indenture and the Security Documents.

 

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(e) As among the Holders, the Collateral as now or hereafter constituted shall be held
for the equal and ratable benefit of the Holders without preference, priority or distinction of any
thereof over any other by reason of differences in time of issuance, sale or otherwise, as security
for the Obligations under this indenture and the Notes.

(i) To the extent applicable, the Company will comply with Section 313(b) of the
Trust Indenture Act, relating to reports, and Section 314(d) of the Trust lndentrrre Act, relating to
the release of property and to the substitution therefor of any property to be pledged as Collateral
for the Notes. Any certificate or opinion required by Section 314(d) of the Trust indenture Act
may be made by an Officer of the Company except in cases where Section 314(d) requires that
such certificate or opinion be made by an independent engineer, appraiser or other expert, who
shall be reasonably satisfactory to the Trustee. Notwithstanding anything to .the contrary herein
the Company and its Subsidiaries will_not be required to comply with all or any.portion of
Section 314(d) of the Trust Indenture Act if they determine, in good faith based on advice of
outside counsel, that under the terms of that section and/or any interpretation or' guidance as to
the meaning thereof of the Commission and its staff, including “no actiorr” letters or exemptive
orders, all or any portion of Section 314(d) of the Trust Indenture Act is inapplicable to the
released Collateral.

Section 11.02. Cash Collateral Account (a) Subject to the terms of the lntercreditor
Agreement, the Company and the Guarantors shall deposit in the Cash Collateral Account the
Net Cash Proceeds from any sale, lease, transfer or other disposition (or series of related sales,
leases, transfers or other dispositions) of Collateral having an aggregate fair market value of
rrrore than $2.5 million

(b) Subject to the terms of the Intercreditor Agreement, all Casualty Proceeds
received by the Collateral Agent, the Company or any Guarantor in respect of Collateral shall be
applied as follows:

(i) if the amount of such Casualty Proceeds is less than $2,500,000, such
Casualty Proceeds shall be retained by the Company or the relevant Guarantor, as the
case may be, and used to restore, repair', replace (including with an asset of like kind) or
rebuild the asset in respect of which such Casualty Proceeds were received (to the extent
required by the applicable Security Document) or otherwise such Proceeds may be used
in accordance with Section 4.13(0) or Section 4.13(d); and

(ii) if the amount of such Casualty Proceeds is equal to or greater than
$2,500,000, such Casualty Proceeds shall be deposited and held in the Cash Collateral
Account and be released from that account as provided in Section 11.02§0) below.

(c) Arnounts held in the Cash Collateral Account shall be deemed to be “Net Cash
Proceeds” for purposes of Section 4.13 and may only be released to the Company or the
applicable Guarantor for use as permitted by Section 4.13(0) or Section 4.13(d) and, in the case
of Section 4.13(d1, will be released to the Company or the applicable Guarantor if remaining
after the consummation of the Offer to Purchase.

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(d) Notwithstanding the foregoing, the Company will not be required to deposit any
Casualty Proceeds to the extent that it furnishes the Collateral Agent and the Trustee with an
Officer's’ Certificate certifying that it has invested an amount in compliance with Section 4.13§ ci
or Section 4.13td1 equal to, or in excess of, the amount of such proceeds in anticipation of receipt
of such furrds.

(e) The Company and Guarantors will be required to comply with the requirements of
Section 11.05 before any Collateral held in the Cash Collateral Account may be released from
the Lien of the Security Documents.

Section 11.03. Authorizaiion of Aci'ions to be Taken.

(a) Each holder, by its acceptance of the Notes, consents and agrees to the terms of
the Security Documents (including, without limitation the provisions providing for foreclosure
and release of Collateral) as the same may be in effect or may be amended from time to time in
accordance with their terms, authorizes and directs the Trustee and the Collateral Agent to enter
into the Security Documents to which it is a party, authorizes and empowers the Trustee to direct
the Collateral Agent to enter into, and the Collateral Agent to execute and deliver, the
Intercreditor Agreement, and empowers the Trustee and the Collateral Agent to bind the holders
of Notes and other holders of Obligations as set forth in the Security Documents to which it is a
party and the lntercreditor Agreement and to perform its obligations and exercise its rights and
powers thereunder.

(b) The Trustee is authorized and empowered to receive for the benefit of the Holders
of Notes any funds collected or distributed under the Security Documents to which the Trustee is
a party and to make further distributions of such funds to the Holders of Notes according to the
provisions of this lndenture.

(c) Subject to the provisions of Article 7 and the Inter'creditor Agreement, the
Trustee, in its sole discretion and without the consent of the Holders of Notes, may, or at the
direction of the Holders of a majority in principal amount of the Notes then outstanding, the
Trustee shall, direct on behalf of the Holders of Notes, the Collateral Agent to take all actions it
deems necessary or appropriate in order to:

(1) foreclose upon and take possession of all Collateral pursuant to, or take
any other action to enforce, the provisions of the Security Documents;

(2) enforce any of the terms of the Intercreditor Agreement and the Security
Documents to which the Trustee or the Collateral Agent is a party; or

(3) collect and receive payment of all obligations in respect of the Notes, the
Note Guaranties and this Indenture.

Subject to the lntercreditor Agreement and Article 7, the Trustee is authorized and empowered to
institute and maintain such suits and proceedings as it may deem expedient to protect or enforce
the Liens on the Collateral or the other rights under the Security Documents to which the Trustee
or the Collateral Agent is a party or to prevent any impairment of Collateral by any acts that may
be urrlawiiil or in violation of such Security Documents or this Indenture, and such suits and

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proceedings as the Trustee or the Collateral Agent may deem expedient to preserve or protect its
interests and the interests of the Holders in the Collateral, including power to institute and
maintain suits or proceedings to restrain the enforcement of or compliance with any legislative or
other governmental enactment, rule or order that may be unconstitutional or otherwise invalid if
the enforcement of, or compliance with, such enactment, rule or order would impair the Liens or
other rights under such Security Documents or hereunder or be prejudicial to the interests of
Holders or the Trustee.

Section 11.04. Deierlninations Re[aling to Collateral. In the event (i) the Trustee shall
receive any written request from the Company, a Guarantor or the Collateral Agent under any
Security Document for consent or approval with respect to any matter or thing relating to any
Collateral or the Company’s or such Guarantor’s obligations with respect thereto, (ii) there shall
be due to or from the Trustee or the Collateral Agent under the provisions of any Security
Document any material performance or the delivery of any material instrument or (iii) the
Trustee shall become aware of any nonperformance by the Company or a Guarantor of any
covenant or any breach of any representation or warranty of the Company or such Guarantor set
forth in any Security Document, then in each such event, the Trustee shall be entitled to hire
experts, consultants, agents and attorneys to advise the Trustee on the manner in ericlr the
Trustee should respond, or direct the Collateral Agent to respond, to such request or render any
requested performance or resporrd, or direct the Collateral Agent to respond, to such
nonperformance or breach; provided that the Trustee’s right to direct the Collateral Agent to
respond shall be subject to the terms of the Security Documents. The Trustee shall be fully
protected in the taking of any action recommended or approved by any such expert, consultant,
agent or attorney or agreed to by the Holders of a majority in principal amount of the outstanding
Notes.

Section l 1.05. Release ofLienS. (a) The Liens orr the Collateral securing the Notes will
be released:

(i) upon payment in full of principal, interest and all other Obligations on the
Notes issued under this Indenture or discharge or defeasance thereof (in accordance with
Article 8);

(ii) upon release of a Note Guaranty (with respect to the Liens securing such
Note Guaranty granted by such Guarantor); and

(iii) in connection With any disposition of Collateral to any Person other than
the Company or any of its Restricted Subsidiaries (but excluding any transaction subject
to Section 5.01) that is permitted by this Indentrrre (With respect to the Lien on such
Collateral).

(b) Upon delivery to the Trustee of an Officers’ Certificate requesting execution of an
instrument confirming the release of the Liens pursuant to Section 11.05§a), accompanied by:

(1) an Opinion of Counsel confirming that such release is permitted by

Section 11.05ta);

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(2) all instruments requested by the Company to effectuate or confirm such
r'elease; and

(3) such other certificates and documents as the Trustee may reasonably
request to confirm the matters set forth in Section 11.05§ ai,

the Trustee shall, if such instruments and confirmation are reasonably satisfactory to the Trustee,
promptly execute and deliver, such instruments

(c) All instruments effectuating or confirming any release of any Liens will have the
effect solely of releasing such Liens as to the Collateral described therein on customary terms
and without any recourse, representation warranty or liability whatsoever.

(d) The Company Will bear and pay all costs and expenses associated with any
release of Liens pursuant to this Section 11.05, including all reasonable fees and disbursements
of any attorneys or representatives acting for the Trustee or for the Collateral Agent.

(c) Any release of Collateral in accordance with the provisions of this lndenture, the
Security Documents and the Trust Indenture Act will not be deemed to impair the security under
this Indenture, and any engineer or appraiser may rely orr this Section 11.05§ e) in delivering a
certificate requesting release so long as all other provisions of this Indenture and the Trust
Indenture Act With respect to such release have been complied with.

Section 1 1.06. A greelneni for the Benejii of Holders of Priority Liens. The Trustee and
each Holder of Notes by accepting a Note agrees, that:

(a) The Liens on the Collateral are, to the extent and in the manner provided in the
Intercreditor Agreement, subject to and subordinate in ranking to all present and future Priority
Liens; and the Intercreditor Agreement Will be enforceable by the holders of Priority Liens, for
the benefit of the holders of Obligations secured thereby, until the satisfaction pursuant to the
terms thereof of all such Obligations outstanding at the time of such release.

(b) Without the necessity of any consent of the Trustee or any Holder of the Notes,
the holders of the Bank Obligations may change, waive, modify or vary any Security Document
relating to Collateral with respect to Which such holders have a Priority Lien subject to the
limitations set forth in the Intercreditor Agreement; provided, that the Trustee shall be given
notice of any such change, waiver, modification or variance.

(c) As among the agents underter Credit Agreements, the Trustee and the Holders of
the Notes and the holders of the Bank Obligations, the holders of the Bank Obligations and the
agents under the Credit Agreements will have the sole ability to control and obtain remedies with
respect to all Collateral with respect to which such holders have a Priority Lien without the
necessity of any consent or of any notice to the Trustee, or any such Holder, subject to the
limitations set forth in the intercr'editor Agreement

(d) Any or all Liens as set forth in and granted under the Security Documents
relating to the Collateral covered by a Priority Lien for the benefit of the Holders will be
automatically (to the extent permitted by laW) and simultaneously released, without the necessity

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of any consent of the Trustee or any Holders, upon a release of the Priority Liens on such
Collateral, subject to the exceptions set forth in the Intercreditor Agreement

Section 11.07. Notes And Note Guaranties Nor‘ Subordinated The provisions of Sections
11.06 and _1_1_._07 are intended solely to set forth the relative ranking, as Liens, of the Liens orr the
Collateral as against the Priority Liens. The Notes and the Note Guaranties are senior
unsubordinated obligations of the Company and the Guarantors. Neither the Notes and the Note
Guaranties nor the exercise or enforcement of any right or remedy for the payment or collection
thereof (other than the exercise of rights and remedies in respect of the Collateral, which are
subject to the Intercreditor Agreement) are intended to be, or will ever be by reason of the
provisions of Sections 11.06 and 1_1_._0_7, in any respect subordinated deferred postponed
restricted or prejudiced

ARTICLE 12
MISCELLANEOUS

Section 12.01. Trust Indenture Act of ] 939. This Indenture shall incorporate and be
governed by the provisions of the Trust Indenture Act that are required to be part of and to
govern indentures qualified under the Trust Indenture Act.

Section 12.02.Nor‘e/1older Communicaiions,' NoteholderAciions. (a) The rights of
Holders to communicate with other Holders with respect to this Indenture or the Notes are as
provided by the Trust Indenture Act, and the Company and the Trustee shall comply with the
requirements of Sections 312(a) and 312(b) of the Trust Indenture Act. Neither the Company
nor the Trustee shall be held accountable by reason of any disclosure of information as to names
and addresses of Holders made pursuant to the Trust Indenture Act.

(b) Any request, demand authorization direction notice, consent to amendment
supplement or waiver or other action provided by this Indenture to be given or taken by a Holder
(an “act”) may be evidenced by an instrument signed by the Holder delivered to the Trustee
The fact and date of the execution of the instrument or the authority of the person executing it,
may be proved in any manner that the Trustee deems sufficient

(c) The Trustee may make reasonable rules for action by or at a meeting of Holders,
which will be binding on all the Holders.

(d) Any act by the Holder of any Note binds that Holder and every subsequent Holder
of a Note that evidences the same debt as the Note of the acting Holder, even if no notation
thereof appears on the Note Subject to paragraph (d), a Holder may revoke an act as to its
Notes, but only if the Trustee receives the notice of revocation before the date the amendment or
waiver or other consequence of the act becomes effective

(e) The Company may, but is not obligated to, fix a record date (which need not be
within the time limits otherwise prescribed by Section 316(0) of the Trust Indenture Act) for the
purpose of determining the Holders entitled to act With respect to any amendment or Waiver or in
any other regard except that during the continuance of an Event of Default, only the Trustee may
set a record date as to notices of default, any declaration or acceleration or any other remedies or
other consequences of the Event of Default. lf a record date is fixed those Persons that were

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Holders at such record date and only those Persons will be entitled to act, or to revoke any
previous act, whether or not those Persons continue to be Holders after the record date. No act
will be valid or effective for more than 90 days after the record date.

Section 12.03. Notices. (a) Any notice or communication to the Company will be
deemed given if in writing (i) when delivered in person (ii) five days after mailing when mailed
by first class mail, or (iii) when sent by facsimile transmission with transmission confirmed
Notices or communications to a Guarantor will be deemed given if given to the Company. Any
notice to the Trustee shall be effective only upon receipt ln each case the notice or
communication should be addressed as follows:

if to the Company.'

Neenah Foundry Company

2121 Brooks Avenue

P.O. Box 729

Neenah, Wisconsin 5495 7
Attention: Chief Executive Officer
Fax: (920) 729-3633

ifio the Trustee.'

Wilmington Trust Company

Rodney Square North

1100 North Market Street
Wilmington Delaware 19890-1605
Attention: Corporate Capital Markets
Fax: (302) 636-4145

The Company or the Trustee by notice to the other may designate additional or different
addresses for subsequent notices or communications

(b) Except as otherwise expressly provided with respect to published notices, any
notice or communication to a Holder will be deemed given when mailed to the Holder at its
address as it appears on the Register by first class mail or, as to any Global Note registered in the
name of DTC or its nominee, as agreed by the Company, the Trustee and DTC. Copies of any
notice or communication to a Holder, if given by the Company, will be mailed to the Trustee at
the same time Defect in mailing a notice or communication to any particular Holder will not
affect its sufficiency with respect to other Holders

(c) Where this Indenture provides for notice, the notice may be waived in writing by
the Person entitled to receive such notice, either before or after the event, and the waiver will be
the equivalent of the notice. Waivers of notice by Holders must be filed with the Trustee, but
such filing is not a condition precedent to the validity of any action taken in reliance upon such
warvers.

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Section 12.04. Certificate and Opinion as to Conditions Precedeni. Upon any request or
application by the Company to the Trustee to take any action under this lndenture, the Company
will furnish to the Trustee:

(a) an Officers’ Certificate stating that, in the opinion of the si gners, all conditions
precedent, if any, provided for in this Indenture relating to the proposed action have been
complied with; and

(b) an Opinion of Counsel stating that all such conditions precedent have been
complied with.

Section 12.05. Staielnents Reqriired in Certificate or Opinion. Each certificate or opinion
with respect to compliance with a condition or covenant provided for in this Indenture must
include:

(a) a statement that each person signing the certificate or opinion has read the
covenant or condition and the related definitions;

(b) a brief statement as to the nature and scope of the examination or investigation
upon which the statement or opinion contained in the certificate or opinion is based;

(c) a statement that, in the opinion of each such person that person has made such
examination or investigation as is necessary to enable the person to express an informed opinion
as to whether or not such covenant or condition has been complied with; and

(d) a statement as to whether or not, in the opinion of each such person such
condition or covenant has been complied with, provided that an Opinion of Counsel may rely on
an Officers’ Certificate or certificates of public officials with respect to matters of fact

Section 12.06. Payrnent Date Other Than a Business Day. lf any payment with respect to
a payment of any principal of, premium, if any, or interest on any Note (including any payment
to be made on any date fixed for redemption or purchase of any Note) is due on a day which is
not a Business Day, then the payment need not be made on such date, but may be made on the
next Business Day with the same force and effect as if made on such date, and no interest will
accrue for the intervening period

Section 12.07. Governing Law. This lndenture, including any Note Guaranties, and the
Notes shall be governed by, and construed irr accordance with, the laws of the State of New
York, but without giving effect to applicable principles of conflicts of law to the extent that the
application of the law of anotherjurisdiction would be required thereby.

Section 12.08. No Adverse Interpretation of Other Agreements. This Indenture may not
be used to interpret another indenture or loan or debt agreement of the Company or any
Subsidiary of the Company, and no Such indenture or loan or debt agreement may be used to
interpret this Indenture

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Section 12.09. Sriccessors. All agreements of the Company or any Guarantor in this
Indenture and the Notes will bind its successors All agreements of the Trustee in this Indenture
will bind its successor.

Section 12.10. Duplicar‘e Originals. The parties may sign any number of copies of this
Indenture Each signed copy shall be an original, but all of them together represent the same
agreement

Section 12.11. Separabiliiy. ln case any provision in this Indenture or in the Notes is
invalid illegal or unenforceable, the validity, legality and enforceability of the remaining
provisions will not in any way be affected or impaired thereby.

Section 12.12. T able of Contenl's and Headings. The Table of Contents, Cross-Reference
Table and headings of the Articles and Sections of this Indenture have been inserted for
convenience of reference only, are not to be considered a part of this Indenture and in no way
modify or restrict any of the terms and provisions of this Indenture

Section 12.13. No Liability of Directors, Ojj‘icers, Enr.ployees, Incorporar‘ors, Members
and Sl'ockholders. No director, officer, employee, incorporator, member or stockholder of the
Company or any Guarantor, as such, will have any liability for any obligations of the Company
or such Guarantor under the Notes, any Note Guaranty7 this Indenture or any Security Document
or for any claim based on in respect of, or by reason of, such obligations Each Holder of Notes
by accepting a Note waives and releases all such liability. The waiver and release are part of the
consideration for issuance of the Notes.

Section 12.14. Subnrission to Jririsdiction,' Waiver of Jary Trial. EACH OF THE
COl\/IPANY, THE GUARANTORS AND THE TRUSTEE HEREBY IRREVOCABLY
SUBl\/IITS TO THE JURISDICTION OF ANY NEW YORK STATE COURT SITTING l`N
THE BOROUGH OF MANHATTAN IN THE CITY OF NEW YORK OR ANY FEDERAL
COURT SITTING lN THE BOROUGH OF l\/IANHATTAN IN THE CITY OF NEW YORK H\I
RESPECT OF ANY SUIT, ACTION OR PROCEEDING ARISING OUT OF OR RELATING
TO THIS lNDENTURE, THE NOTE GUARANTIES AND THE NOTES, AND
IRREVOCABLY ACCEPTS FOR lTSELF AND IN RESPECT OF ITS PROPERTY,
GENERALLY AND UNCONDITIONALLY, JURISDICTION OF TI-IE AFORESAID
COURTS. EACH OF THE COMPANY, THE GUARANTORS AND THE TRUSTEE
HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
APPLICABLE LAW, ANY AND ALL RIGHT TO TRlAL BY JURY AND ANY OBIECTION
WHICH IT l\/IAY NOW OR HEREAFTER HAVE TO THE LAYlNG OF THE VENUE OF
ANY SUCH SUlT, ACTION OR PROCEEDH\IG H\I ANY LEGAL PROCEEDING ARISING
OUT OF OR RELATING TO THIS INDENTURE, THE NOTES OR THE TRANSACTIONS
CONTEMPLATED HEREBY AND ANY CLAIM THAT ANY SUCH LEGAL PROCEEDING
HAS BEEN BROUGHT lN AN INCONVENIENT FORUM. NOTHING HEREI`N SHALL
AFFECT THE RIGHT OF THE TRUSTEE OR ANY HOLDER OF THE NOTES TO SERVE
PROCESS IN ANY OTHER l\/IANNER PERMITTED BY LAW OR TO COMl\/[ENCE
LEGAL PROCEEDINGS OR OTHERWISE PROCEED AGAINST THE COMPANY OR
ANY GUARANTOR H\I ANY OTHER JURISDICTION.

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Section 12.15. Foree Majerire. In no event shall the Trustee be responsible or liable for
any failure or delay in the performance of its obligations hereunder arising out of or caused by,
directly or indirectly, forces beyond its control, including, without limitation strikes, work
stoppages, accidents, acts of war or terrorisrn civil or military disturbances, nuclear or natural
catastrophes or acts of God and interruptions, loss or malfunctions of utilities, communications
or computer (software and hardware) services; it being understood that the Trustee shall use
reasonable efforts which are consistent with accepted practices in the banking industry to resume
performance as soon as practicable under the circumstances

SIGNATURES

lN WITNESS WHEREOF, the parties hereto have caused this Indenture to be duly executed as
of the date first written above.

NEENAH FOUNDRY COMPANY,

 

as Issuer
By:
Name:
Title:

VVILMINGTON TRUST COMPANY,
as Trustee and Collateral Agent

By:

 

Name:
Title:

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A&M SPECIALTIES, fNC.

ADVANCED CAST PRODUCTS, INC.

DALTON CORPORATION

DALTON CORPORATION, ASHLAND
MANUFACTURING FACILITY

DALTON CORPORATION, KENDALLVILLE
MANUFACTURING FACIL.[TY

DALTON CORPORATION, STRYKER MACHINING
FACILITY CO.

DALTON CORPORATION, WARSAW
MANUFACTURI`NG FACILITY

DEETER FOUNDRY, lNC.

GREGG lNDUSTRlES, INC.

MERCER FORGE CORPORATION

MORGAN’S WELDING, lNC.

NEENAH ENTERPRISES, lNC.

NEENAH TRANSPORT, INC.

NFC CASTINGS, INC.

Acting on behalf of each of the Guarantors

By:

 

Name:
Title:

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EXHIBIT A
[FACE OF NOTE]
NEENAH FOUNDRY COMPANY
15% Senior Secured Note Due 2015

[CUSiP NO.] [CiNS]
No. $

NEENAH FOUNDR_Y'CO_l\/H’ANY, a Delaware corporation (the “Company”, which
term includes any successor under the indenture hereinafter referred to), for value received
promises to pay to Cede & Co., or its registered assigns, the principal sum of [ ] DOLLARS '
($[ ]) [or such other amount as indicated orr the Schedule of Exchange of Notes attached
hereto] on [ ~__, 2015]6.

interest Rate: 15 % per annum.
interest Payment Dates: [ and j, commencing | 1.7
Regular Record Dates: [ and ].8

Reference is hereby made to the further provisions of this Note set forth on the reverse
hereof, Which will for all purposes have the same effect as if set forth at this place.

iN WiiNESS WHEREOF, the Company has caused this Note to be signed manually or by
facsimile by its duly authorized officer. 1

 

Date: NEENAH FOUNDRY COMPANY
By:
Name:
Title:

 

6 [Note: To be determined based on issue Date.]

7 [Note: interest Payrnent Dates to be determined based on Issue Date.]

8 [Note: Regular Record Dates to be determined based on Issue Date.]

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(Form of Trustee’s Certificate of Authentication)

This is one of the 15 % Senior Secured Notes Due 2015 described in the indenture referred to in
this Note.

Wilmington Trust Company,

 

as Trustee
By:
Authorized Signatory
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[REVERSE SIDE OF NOTE]
NEENAH FOUNDRY COMPANY
15% Senior Secured Notes Due 2015

Capitalized terms used herein shall have the meanings assigned to them in the indenture referred
to below unless otherwise indicated

1. Principal and Interesi.
The Company promises to pay the principal of this Note orr | ¥, 2015].

The Company promises to pay interest on the principal amount of this Note orr each
interest Payrnent Date at the rate of 15% per annum. On each Interest Payrnent Date prior to the
Trigger Date (as defined below), interest shall be paid one-third (1/3) 111 cash and two-thirds (2/3)
in PIK Interest. Commencing orr the first Interest Payrnent Date following the Trigger Date and
orr each interest Payrnent Date thereafter, interest shall be paid entirely in cash. The Company
shall provide written notice to the Trustee promptly upon determining that the Consolidated Debt
Ratio is 4.00 to 1.00 or less. As soon as practicable after the end of each month prior to the
Trigger Date, the Company shall test its Consolidated Debt Ratio as of the last day of such
month. For purposes of this Note, “Trigger Date” shall mean the earlier of (i) the eighteenth
(18th) month anniversary of the issue Date, and (ii) the receipt by the Trustee of written notice
from the Company that the Company has achieved a Consolidated Debt Ratio of 4.00 to 1.00 or
less

interest will be payable semiannually (to the holders of record of the Notes at the close of
business on the [o or ¢] immediately preceding the Interest Payrnent Date) on each interest
Payrnent Date, commencing [o].

interest orr this Note will accrue from the most recent date to Which interest has been paid
on this Note (or, if there is no existing default 111 the payment of interest and if this Note is
authenticated between a Regular Record Date and the next interest Payrnent Date from such
interest Payrnent Date) or', if no interest has been paid, from the Issue Date interest will be
computed orr the basis of a 360- day year of twelve 30- -day months.

The Company will pay interest orr overdue principal, premium, if any, and, to the extent
lawful, interest at a rate per annum that is 1% in excess of 15% interest not paid when due and
any interest orr principal premium or interest not paid when due will be paid to the Persons that
are Holders orr a special record date which Will be the 15th day preceding the date fixed by the
Company for the payment of such interest, whether or not such day rs a Business Day At least
15 days before a special record date, the Company will send to each Holder and to the Trustee a
notice that sets forth the special record date, the payment date and the amount of interest to be
paid

All PIK interest payable pursuant to this Note Will be payable by [increasing the principal
amount of this Note by an amount equal to the amount of PlK interest for the applicable semi-
annual interest period (rounded up to the nearest whole dollar) (or, if necessary, pursuant to

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requirements of the Depositary or otherwise, to authenticate a new Global Note executed by the
issuers with such increased principal amount)]9 [issuing additional Notes in an aggregate
principal amount equal to the amount of PiK interest for the applicable interest period (rounded
up to the nearest whole dollar) and the Trustee shall, at the request of the Company, authenticate
and deliver such additional Notes for original issuance to the Holder of this Note orr the relevant
record date] 10. if the Company is required to pay PIK interest 011 any interest Payrnent Date it
must deliver, not less than five (5) Business Days prior to such Interest Payrnent Date, an
authentication order to the Trustee specifying the aggregate amount of PiK interest to be paid
through increases in the Global Note and through the issuance of additional Notes; provided,that
the Company shall deliver an updated authentication order on the day preceding an interest
Payrnent Date to the extent modifications in the amount of PlK interest to be paid are needed in
accordance with the terms of the indenture due to the continuation or cessation of an Event of
Default. On the relevant Interest Payrnent Date, the Trustee shall, at the request of the Company,
record increases in the Global Note and authenticate additional Notes, as appropriate in the
aggregate principal amounts required to pay the PIK interest then due

2. Indenl'rrres; Note Grraranly.

This is one of the Notes issued under an indenture dated as of | _j, 2010 (as
amended supplemented or otherwise modified from time to time, the “Indentur'e”), among the
Company, the guarantors party thereto and Wilmington Trust Company, as trustee and collateral
agent The terms of the Notes include those stated in the indenture and those made part of the
indenture by reference to the Trust indenture Act. The Notes are subject to all such terms, and
Holders are referred to the indenture and the Trust indenture Act for a statement of all such
terms. To the extent permitted by applicable law, in the event of any inconsistency between the
terms of this Note and the terms of the indenture, the terms of the indenture will control.

The Notes are general obligations of the Company, secured by Liens 011 the Collateral
pursuant to the Security Documents The indenture limits the original aggregate principal
amount of the Notes to $50,000,000 (plus any amounts in respect of capitalized interest). This
Note is guaranteed as set forth 111 the indenture

3. Redernption and Reparehase; Discharge Prior to Redernpi'ion or Maturity

This Note is subject to optional redemption and may be the subject of an Offer to
Pur'chase, as further described in the indenture There is 110 sinking fund or mandatory
redemption applicable to this Note

if the Company deposits with the Trustee money or U.S. Government Obligations
sufficient to pay the then outstanding principal of, premium, if any, and accrued and unpaid
interest on the Notes to redemption or maturity, the Company may in certain circumstances be
discharged from the indenture, the Notes and the Security Docrrrnents or may be discharged from
certain of its obligations under certain provisions of the indenture

 

9 For Global Notes only.

10 For Certificated Notes only.

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4. Registered Forni,' Denonrinaz‘ions,' Transfer,' Exchange

The Notes are in registered form without coupons in integral rnultiples of $1.00 (in each
case with a minimum denomination of at least $1.00). A Holder may register the transfer or
exchange of Notes in accordance with the indenture The Trustee may require a Holder to
furnish appropriate endorsements and transfer documents and to pay any taxes and fees required
by law or permitted by the indenture Pursuant to the Indenture, there are certain periods during
which the Trustee shall not be required to-issue, register the transfer of or exchange any Note or
certain portions of a Note *

5. Defaults and Relnedies.

if an Event of Default,` as defined in the indenture, occurs and is continuing, the Trustee
or the»Holders of at least 25% in principal amount of the Notes may declare all the Notes to be
due and payable if a bankruptcy or insolvency default with respect to the Company occurs and
is continuing, the Notes automatically become due and payable Holders may not enforce the
indenture or the Notes except as provided in the indenture The Trustee may require indemnity
satisfactory to it before it enforces the indenture or the Notes Subject to Certain limitations,
Holders of a majority in principal amount of the Notes then outstanding may direct the Trustee in
its exercise of remedies

6. Amendnreni and Waiver.

Subject to certain exceptions, the indenture, the Notes and the Security Documents may
be amended or default may be waived with the consent of the Holders of a majority in principal
amount of the outstanding Notes Without notice to or the consent of any Holder, the Company
and the Trustee (and in the case of the Security Docurnents, the Collateral Agent) may amend or
supplement the indenture the Notes or the Security Documents to, among other things, cure any
ambiguity, defect or inconsistency if such amendment or supplement does not adversely affect
the interests of the Holders in any material respect

7. Authenticaiion.

This Note is not valid until the Trustee (or Authenticating Agent) signs the certificate of
authentication orr the other side of this Note

8. Governing Law.

This Note shall be governed by, and construed in accordance with, the laws of the State
of New York.

9. Abbreviations.

Customary abbreviations may be used in the name of a i-iolder or an assignee such as:
TEN COl\/I (= tenants in common), TEN ENT (= tenants by the entireties), JT TEN (=joint
tenants with right of survivorship and not as tenants in common), CUST (: Custodian) and
U/G/l\/l/A/ (= Uniform Gifts to Minors Act).

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The Company will furnish a copy of the Indenture to any Holder upon written request
and without charge

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[FORM OF TRANSFER NOTICE]

FOR VALUE RECEIVED the undersigned registered holder hereby sell(s), assign(s) and
transfer(s) unto

insert Taxpayer identification No.

 

 

Please print or typewrite name and address including zip code of assignee

 

the within Note and all rights thereunder, hereby irrevocably constituting and appointing

 

attorney to transfer said Note on the books of the Company with full power of substitution in the premises

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Signature Guarantee: l l

 

By
To be executed by an executive officer

 

Signatures must be guaranteed by an “eligible guarantor institution” meeting the requirements of the Registrar,
Which requirements include membership or participation in the Securities Transfer Association Mcdallion
Program (“STAl\/[P”) or such other “signature guarantee program” as may be determined by the Registrar in
addition to, or in substitution for, STAMP, all in accordance With the Securities Exchange Act of 1934, as
amended

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OPTION OF HOLDER TO ELECT PURCHASE

If you wish to have all of this Note purchased by the Company pursuant to Section 4.12
or Section 4.13 of the indenture check the box: |:l

if you Wish to have a portion of this Note purchased by the Company pursuant to Section
4.12 or Section 4.13 of the indenture state the amount (in original principal amount) below:

$

Date:

Your Signature:
(Sign exactly as your name appears orr the other side of this Note)

 

S i gnature
2
Gu arantee: l

 

By
To be executed by an executive officer

 

 

" Signatures must be guaranteed by an “eligible guarantor institution” meeting the requirements of the Trustee,
which requirements include membership or participation in the Securities Transfer Association Medallion
Program (“STAMP”) or such other “signature guarantee program” as may be determined by the Trustee in
addition to, or in substitution for, STAMP, all in accordance with the Securities Exchange Act of 1934, as
amended

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sCHEDULE oF ExCHANGEs oF Norrrs13

The following exchanges of a part of this Global Note for Certificated Notes or a part of another
Global Note or increases for a payment of PIK Interest, have been made:

Principal amount

Amount of Amourrt of increase of this Global Note
decrease in in principal following such Signature of
principal amount amount of this decrease (or authorized officer
Date of Exchange of this Global Note Global Note increase) of Trustee

 

 

13 For Global Notes only.

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EXHIBIT B

 

SUPPLEMENTAL INDENTURE
dated as of
among
NEENAH FOUNDRY COMPANY,
as Issuer,
[The Guarantor(s) Party Hereto]
as Guarantors,
and

WILMINGTON TRUST COMPANY,

as Trustee and Collateral Agent

 

15% Senior Secured Notes due 2015

 

 

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THIS SUPPLEMENTAL iNDENTURE (this “Supplemental Indenture”), entered into
as of , 201___, among NEENAH FOUNDRY COMPANY, a Delaware corporation
(the “Company”), [insert each Guarantor executing this Supplemental indenture and its
jurisdiction of incor'por'ation] (each an c‘Undersigned”) and Wilmington Trust Company, as
trustee (the “Trustee”) and collateral agent

RECITALS

WHEREAS, the Company, the Guarantors party thereto and the Trustee entered into the
indenture dated as of | |, 2010 (the “Indenture”), relating to the Company’s Notes
(as defined in the indenture);

WHEREAS, as a condition to the Trustee entering into the indenture the Company n
agreed that if the Company or any of its Restricted Subsidiaries acquires or creates a Wholly
Owned Domestic Restricted Subsidiary after the date of the indenture or acquires or creates any
other Restricted Subsidiary and such Restricted Subsidiary guarantees any other Debt of the
Company, the new Restricted Subsidiary must provide a Note Guaranty and become a party to
the Security Documents (and pledge its assets to the extent they would constitute Collateral).

AGREEMENT

NOW, THEREFORE, in consideration of the premises and mutual covenants herein
contained and intending to be legally bound the parties to this Supplemental indenture hereby
agree as follows:

Section 1. Capitalized terms used herein and not otherwise defined herein are used as
defined in the indenture

Section 2. Each Undersigned by its execution of this Supplemental indenture agrees to
be a Guarantor under the indenture and to be bound by the terms of the indenture applicable to
Guarantors, including, but not limited to, Article 10 thereof.

Section 3. This Supplemental indenture shall be governed by and construed in
accordance with the laws of the State of New York.

Section 4. This Supplemental Indenture may be signed in various counterparts which
together will constitute one and the same instrument

Section 5. This Supplemental indenture is an amendment supplemental to the indenture
and the indenture and this Supplemental indenture will henceforth be read together.

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lN WITNESS WHEREOF, the parties hereto have caused this Supplemental Indenture to be duly
executed as of the date first above written

NEENAH FOUNDRY COMPANY,

 

 

as issuer
By:
Name:
Title:
[GUARANTOR]
By:
Name:
Title:

WiLl\/HNGTON TRUST COl\/IPANY,
as Trustee and Collateral Agent

By:

 

Name:
Title:

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EXHIBIT C
DTC LEGEND

UNLESS THIS CERTIFICATE iS PRESENTED BY AN AUTHORIZED
REPRESENTATIVE OF THE DEPOSITORY TRUST COMPANY, A NEW YORK
CORPORATION (“DTC”), TO THE COMPANY OR ITS AGENT FOR REGISTRATION OF
TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE iSSUED IS
REGISTERED iN THE NAME OF CEDE & CO. OR lN SUCH OTHER NAME AS iS
REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT
iS MADE TO CEDE & CO. OR TO SUCH OTHER ENTITY AS iS REQUESTED BY AN
AUTHORIZED REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER
USE HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY PERSON iS WRONGFUL
iNASl\/IUCH AS THE REGISTERED OWNER HEREOF, CEDE & CO., HAS A
BENEFICIAL lNTEREST HEREIN.

TRANSFERS OF THIS GLOBAL NOTE ARE Lil\/liTED TO TRANSFERS iN
WHOLE, BUT NOT iN PART, TO NOl\/ilNEES OF CEDE & CO. OR TO A SUCCESSOR
THEREOF OR SUCH SUCCESSOR’S NOl\/iiNEE AND TRANSFERS OF PORTIONS OF
THIS GLOBAL NOTE ARE LIMITED TO TRANSFERS l\/lADE IN ACCORDANCE WITH
THE TRANSFER PROVISIONS OF THE iNDENTURE.

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